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19                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
20                                    WESTERN DIVISION
21    UNITED STATES OF AMERICA ex                 No. CV 16-08697 MWF (SSx)
      rel. BENJAMIN POEHLING,
22                                                UNITED STATES’ AMENDED
                 Plaintiffs,                      COMPLAINT-IN-PARTIAL-
23                                                INTERVENTION AND DEMAND FOR
                        v.                        JURY TRIAL
24
      UNITEDHEALTH GROUP, INC., a
25    Delaware corporation; UNITED
      HEALTHCARE SERVICES, INC., a
26    Minnesota corporation; UNITED
      HEALTHCARE, INC., a Delaware
27    corporation; OVATIONS, INC., a
      Delaware corporation; OPTUM, INC., a
28    Delaware corporation;
      OPTUMINSIGHT, INC., a Delaware
      corporation; AMERICHOICE OF NEW
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 1    JERSEY, INC., a New Jersey
      corporation; ARIZONA PHYSICIANS
 2    IPA, INC., an Arizona corporation;
      CARE IMPROVEMENT PLUS OF
 3    MARYLAND, INC., a Maryland
      corporation; CARE IMPROVEMENT
 4    PLUS OF TEXAS INSURANCE
      COMPANY, a Texas insurance
 5    company; CARE IMPROVEMENT
      PLUS SOUTH CENTRAL
 6    INSURANCE CO., an Arkansas
      insurance company; CARE
 7    IMPROVEMENT PLUS WISCONSIN
      INSURANCE COMPANY, a Wisconsin
 8    insurance company; OPTUM
      INSURANCE CO., an Ohio corporation;
 9    CITRUS HEALTH CARE, INC., a
      Florida corporation; HEALTH PLAN OF
10    NEVADA, INC., a Nevada corporation;
      MEDICA HEALTHCARE PLANS,
11    INC., a Florida corporation; OXFORD
      HEALTH PLANS (CT), INC., a
12    Connecticut corporation; OXFORD
      HEALTH PLANS (NJ), INC., a New
13    Jersey corporation also known as Oxford
      Health Plans of New Jersey, Inc.;
14    OXFORD HEALTH PLANS (NY),
      INC., a New York corporation;
15    PACIFICARE LIFE AND HEALTH
      INSURANCE COMPANY, an Indiana
16    insurance company; PACIFICARE OF
      ARIZONA, INC., an Arizona
17    corporation; PACIFICARE OF
      COLORADO, INC., a Colorado
18    corporation; PACIFICARE OF
      NEVADA, INC., a Nevada corporation
19    also known as PacifiCare/UHC of
      Nevada; PHYSICIANS HEALTH
20    CHOICE OF TEXAS, LLC, a Texas
      limited liability company; PREFERRED
21    CARE PARTNERS, INC., a Florida
      corporation; ROCKY MOUNTAIN
22    HEALTH MAINTENANCE
      ORGANIZATION, INC., a Colorado
23    company; SIERRA HEALTH AND
      LIFE INSURANCE COMPANY, INC.,
24    a Nevada corporation; SYMPHONIX
      HEALTH INSURANCE, INC., an
25    Illinois insurance company;
      UNITEDHEALTHCARE OF
26    CALIFORNIA, INC., a California
      corporation also known as UHC of
27    California, Inc. and formerly known as
      PacifiCare of California, Inc. and
28    PacifiCare of California/Secure
      Horizons; UNISON HEALTH PLAN OF
                                                2
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 1    TENNESSEE, INC., a Tennessee
      corporation; UNITED HEALTH CARE
 2    INS. CO. AND UNITED NEW YORK, a
      New York insurance company;
 3    UNITEDHEALTHCARE BENEFITS
      OF TEXAS, INC., a Texas corporation
 4    formerly known as PacifiCare of Texas,
      Inc.; UNITEDHEALTHCARE
 5    COMMUNITY PLAN OF OHIO, INC.,
      an Ohio corporation formerly known as
 6    Unison Health Plan of Ohio, Inc.;
      UNITEDHEALTHCARE
 7    COMMUNITY PLAN OF TEXAS,
      L.L.C., a Texas limited liability company
 8    formerly known as Evercare of Texas,
      LLC; UNITEDHEALTHCARE
 9    COMMUNITY PLAN, INC., a Michigan
      corporation also known as Great Lakes
10    Health Plan, Inc. and UnitedHealthcare
      of the Great Lakes Health Plan, Inc.;
11    UNITEDHEALTHCARE INSURANCE
      COMPANY, a Connecticut insurance
12    company also known as United
      Healthcare Insurance Company;
13    UNITEDHEALTHCARE INSURANCE
      COMPANY OF NEW YORK, a New
14    York insurance company also known as
      United Healthcare Insurance Company of
15    New York; UNITEDHEALTHCARE OF
      ALABAMA, INC., an Alabama
16    corporation also known as United
      HealthCare of Alabama, Inc.;
17    UNITEDHEALTHCARE OF
      ARIZONA, INC., an Arizona
18    corporation also known as United
      HealthCare of Arizona, Inc.;
19    UNITEDHEALTHCARE OF
      ARKANSAS, INC., an Arkansas
20    corporation also known as United
      Healthcare of Arkansas, Inc.;
21    UNITEDHEALTHCARE OF
      FLORIDA, INC., a Florida corporation
22    also known as United Healthcare of
      Florida, Inc.; UNITEDHEALTHCARE
23    OF GEORGIA, INC., a Georgia
      corporation also known as United
24    Healthcare of Georgia, Inc.;
      UNITEDHEALTHCARE OF NEW
25    ENGLAND, INC., a Rhode Island
      corporation also known as United
26    HealthCare of New England, Inc. and
      United Health Plans of New England,
27    Inc.; UNITEDHEALTHCARE OF NEW
      YORK, INC., a New York corporation
28    also known as AmeriChoice of New
      York, Inc. and United Healthcare of New
                                                  3
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 1    York, Inc.; UNITEDHEALTHCARE OF
      NORTH CAROLINA, INC., a North
 2    Carolina corporation also known as
      United Healthcare of North Carolina,
 3    Inc.; UNITEDHEALTHCARE OF
      OHIO, INC., an Ohio corporation also
 4    known as United Healthcare of Ohio,
      Inc.; UNITEDHEALTHCARE OF
 5    OKLAHOMA, INC., an Oklahoma
      corporation formerly known as
 6    PacifiCare of Oklahoma, Inc.;
      UNITEDHEALTHCARE OF OREGON,
 7    INC., an Oregon corporation formerly
      known as PacifiCare of Oregon, Inc.;
 8    UNITEDHEALTHCARE OF
      PENNSYLVANIA, INC., a
 9    Pennsylvania corporation formerly
      known as Unison Health Plan of
10    Pennsylvania, Inc.;
      UNITEDHEALTHCARE OF
11    TENNESSEE, INC., a Tennessee
      corporation also known as United
12    Healthcare of Tennessee, Inc.;
      UNITEDHEALTHCARE OF THE
13    MIDLANDS, INC., a Nebraska
      corporation also known as United
14    Healthcare of the Midlands, Inc.;
      UNITEDHEALTHCARE OF THE
15    MIDWEST, INC., a Missouri
      corporation also known as United
16    Healthcare of the Midwest, Inc.;
      UNITEDHEALTHCARE OF UTAH,
17    INC., a Utah corporation also known as
      United Healthcare of Utah, Inc.;
18    UNITEDHEALTHCARE OF
      WASHINGTON, INC., a Washington
19    corporation formerly known as
      PacifiCare of Washington, Inc.;
20    UNITEDHEALTHCARE OF
      WISCONSIN, INC., a Wisconsin
21    corporation also known as United
      Healthcare of Wisconsin, Inc.;
22    UNITEDHEALTHCARE PLAN OF
      THE RIVER VALLEY, INC., an Illinois
23    corporation also known as United
      Healthcare Plan of the River Valley, Inc.,
24    UnitedHealth Care Plan of the River
      Valley, Inc., and United HealthCare of
25    the River Valley, Inc.,
26                Defendants.
27
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 1          This is a civil fraud action brought by the United States of America (“United
 2    States” or “Government”) to recover treble damages and civil penalties under the False
 3    Claims Act (“FCA”), 31 U.S.C. §§ 3729-3733, as well as for restitution and common
 4    law damages, for monies unlawfully obtained and retained by Defendant UnitedHealth
 5    Group Inc. and various of its direct and indirect subsidiaries (“Defendants”) involved in
 6    Parts C and D of the Medicare Program. Defendants knowingly submitted false claims
 7    and made false statements to the Medicare Program. Moreover, Defendants have
 8    knowingly and improperly avoided their obligations to repay significant sums of money
 9    to the Medicare Program.
10          Having filed a notice of intervention pursuant to 31 U.S.C. § 3730(b)(4), the
11    United States alleges for its amended complaint-in-partial-intervention (the “Amended
12    Complaint”) as follows:
13                                       INTRODUCTION
14    1.    Millions of elderly and disabled individuals throughout the United States receive
15    their Medicare benefits through Parts C and D of the Medicare Program, hereinafter
16    referred to as the Medicare Advantage (MA) Program, which is administered by the
17    Government agency called the Centers for Medicare and Medicaid Services (“CMS”). A
18    central, distinguishing feature of the MA Program is the provision of Medicare benefits
19    by private healthcare insurance organizations, which are called Medicare Advantage
20    Organizations (“MA Organizations”). Medicare beneficiaries enroll in managed
21    healthcare insurance plans called Medicare Advantage Plans (“MA Plans”) and
22    prescription drug plans (“PD Plans”) that are offered by these MA Organizations. The
23    MA Plans are packages of healthcare insurance benefits and the PD Plans are packages
24    of prescription drug benefits. Hereinafter MA Plans and PD Plans are collectively
25    referred to as “Plans.”
26    2.    The Government pays each MA Organization a fixed monthly payment for each
27    Medicare beneficiary enrolled in its Plans. The Government adjusts these payments for
28    various risk factors that affect expected healthcare expenditures, including the age,
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 1    gender, and health status of each beneficiary. The adjustments are intended to ensure
 2    that MA Organizations are paid more for beneficiaries whose healthcare expenses are
 3    expected to be more and less for beneficiaries whose health care expenses are expected
 4    to be less. However, these adjustments to the fixed monthly payments are made
 5    regardless of the actual services provided to the beneficiaries and, thus, regardless of
 6    whether those beneficiaries expected to need more or more costly services actually
 7    obtain more or more costly services, and whether those beneficiaries expected to need
 8    less or less costly services actually obtain less or less costly services.
 9    3.    To obtain payments based on adjustments for health status, MA Organizations
10    submit diagnosis codes to the Government for the beneficiaries in their Plans. These
11    diagnosis codes are from the beneficiaries’ medical encounters with healthcare providers
12    (e.g., physician office visits and hospital stays) during the year prior to the actual
13    payment year (often referred to as the “data collection” year or the “date of service”
14    year). Payments are based on diagnoses from the prior year because they are used to
15    predict the expected needs of a beneficiary for more or less costly healthcare services
16    during the payment year. Using these diagnosis codes submitted by or on behalf of MA
17    Organizations, the Government calculates a risk score for each beneficiary. The
18    beneficiary’s risk score is then used to calculate monthly payments to the MA
19    Organization for that beneficiary for the payment year. In general, the more numerous
20    and severe the conditions identified by the diagnosis codes, the higher the risk score for a
21    beneficiary and, thus, the greater the risk adjustment payments made to the MA
22    Organization for that beneficiary for the payment year.
23    4.    This payment model creates powerful incentives for MA Organizations and their
24    owners and operators to exaggerate the expected healthcare costs for the beneficiaries in
25    their Plans by submitting invalid diagnosis codes and failing to comply with their
26    obligation to retract invalid diagnoses. In order to combat these incentives and protect
27    the Government from overpaying MA Organizations, the Government requires that
28    submitted diagnoses be unambiguously supported and, thus, validated by the
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 1    beneficiaries’ medical records for medical encounters during the data collection year.
 2    Medical records are the “source of truth” for the purpose of receiving and retaining risk
 3    adjustment payments.
 4    5.    The medical records that must support the diagnosis codes are not provided to the
 5    Government as part of the payment process. Instead, the Government requires that each
 6    MA Organization expressly certify that the diagnosis codes it has submitted for risk
 7    adjustment payments are accurate and truthful based on best knowledge, information,
 8    and belief. 42 C.F.R. § 422.504(l)(2). Each MA Organization must exercise due
 9    diligence in order to make this express certification. Each MA Organization must also
10    “[a]dopt and implement an effective compliance program, which must include measures
11    that prevent, detect, and correct non-compliance with [the Government’s] program
12    requirements as well as measures that prevent, detect, and correct fraud, waste, and
13    abuse.” 42 C.F.R. § 422.503(b)(4)(vi).
14    6.    As explained by the United States Court of Appeals for the Ninth Circuit, CMS, in
15    2000, made clear that
16                 Medicare Advantage organizations have always had “an obligation to take
17                 steps to ensure the accuracy, completeness, and truthfulness of the
18                 [medical] encounter data” [i.e., diagnoses] and “an obligation to undertake
19                 ‘due diligence’ to ensure the accuracy, completeness, and truthfulness of
20                 encounter data submitted to [CMS].” . . . CMS made perfectly clear that
21                 Medicare Advantage organizations would be “held responsible for making
22                 good faith efforts to certify the accuracy, completeness, and truthfulness of
23                 encounter data submitted.”
24    United States ex rel. Swoben v. UnitedHealthcare Ins. Co., 848 F.3d 1161, 1174 (9th Cir.
25    2016) (quoting 65 Fed. Reg. 40,170, 40,268 (June 29, 2000)). The Ninth Circuit further
26    explained that the requirement that MA Organizations take affirmative steps to address
27    errors in their data is further demonstrated by “§ 422.503, which since 2005 has required
28    Medicare Advantage organizations to have effective compliance programs in place,
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 1    including ‘[p]rocedures for internal monitoring and auditing’ and ‘for ensuring prompt
 2    response to detected offenses’.” Id. (quoting 42 C.F.R. § 422.503(b)(4)(vi), (vi)(F),
 3    (vi)(G) (2005)).
 4    7.    For many years, Defendant UnitedHealth Group Inc. (“UHG”) has been the
 5    nation’s largest owner of MA Organizations. These organizations offer MA and PD
 6    Plans throughout the country. Millions of elderly and disabled Medicare beneficiaries
 7    throughout the United States are enrolled in MA and PD Plans that are offered by UHG
 8    and the MA Organizations owned by it. In March 2017, approximately 229,000
 9    Medicare beneficiaries in the Central District of California were enrolled in MA Plans
10    offered by Defendants UnitedHealthcare of California, Inc. (previously known as
11    PacifiCare of California, Inc.) and Sierra Health and Life Insurance Company, Inc.
12    8.    UHG manages and operates the Defendant MA Organizations itself and through
13    its business divisions which, depending on the time period, were or are part of
14    Defendants UnitedHealthcare, Inc.; United HealthCare Services, Inc.; Ovations, Inc.;
15    Optum, Inc.; and OptumInsight, Inc. Hereinafter, UHG, UnitedHealthcare, Inc.; United
16    HealthCare Services, Inc.; Ovations, Inc.; Optum, Inc.; and OptumInsight, Inc. are
17    sometimes collectively referred to as the “UHG Managing Defendants,” based on their
18    roles in managing and operating the Defendant MA Organizations, as described more
19    fully herein. When the term “UHG Managing Defendants” is used in this Amended
20    Complaint in reference to specific facts (e.g., meetings and communications), it refers to
21    those Defendants that managed and operated the Defendant MA Organizations at the
22    time relating to the facts alleged.
23    9.    The Government pays billions of taxpayer dollars each year to the Defendant MA
24    Organizations for the Medicare beneficiaries enrolled in the Defendant MA
25    Organizations’ Plans. Risk adjustment payments account for a substantial percentage of
26    these dollars. The diagnoses submitted to the Government by the UHG Managing
27    Defendants on behalf of the Defendant MA Organizations drive a large percentage of the
28    payments that the Defendant MA Organizations receive from the Government.
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 1    Accordingly, it is not surprising that the UHG Managing Defendants and the Defendant
 2    MA Organizations are not passive conduits of diagnoses from healthcare providers to the
 3    Government. Rather, for many years, the UHG Managing Defendants have conducted
 4    programs and engaged in other activities to increase the amount of risk adjustment
 5    payments from the Government to the Defendant MA Organizations. This includes
 6    programs and other efforts to directly influence both the number of diagnoses and the
 7    severity of the medical conditions reported by providers (such as educating physicians
 8    about diagnoses associated with greater risk adjustment payments). This also includes
 9    programs and efforts that do not involve providers but nonetheless materially increase
10    the number of diagnoses submitted to the Government and, thus, the amount of risk
11    adjustment payments to the Defendant MA Organizations. Since 2005, the UHG
12    Managing Defendants and/or their predecessors have worked jointly to conduct these
13    programs and perform these activities.
14    10.   In particular, since 2005, the UHG Managing Defendants have conducted a very
15    large national Chart Review Program to significantly increase the risk adjustment
16    payments that the Defendant MA Organizations receive from the Government. For
17    many years, this was their biggest effort aimed at increasing risk adjustment payments.
18    During the last ten years, they significantly increased the amount of risk adjustment
19    payments that the Defendant MA Organizations received from the Government by
20    collecting millions of medical records (also known as “charts”) from providers and then
21    employing diagnosis coders (also known as “chart reviewers”) to review the medical
22    records in order to mine them for diagnoses that the providers themselves did not report
23    to the Defendant MA Organizations for the beneficiaries in their Plans. The UHG
24    Managing Defendants then submitted these additional diagnosis codes (“ADDS”) to the
25    Government for billions of dollars of additional risk adjustment payments.
26    11.   The UHG Managing Defendants’ national Chart Review Program was strictly a
27    one-sided revenue-generating program. The UHG Managing Defendants did not review
28    the beneficiaries’ medical records in good faith in order to obtain a true and accurate
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 1    picture of the health status of the beneficiaries in the Defendant MA Organizations’
 2    Plans or to submit truthful and accurate risk adjustment data to the Government. They
 3    used the results of the chart reviews to only increase payments, i.e., to submit additional
 4    diagnoses not reported by the providers. At the same time, they systematically ignored
 5    the results of chart reviews that would have led to decreased payments, i.e., results
 6    showing that diagnoses reported by providers to them and then submitted by them to the
 7    Government were not supported by the beneficiaries’ medical records.
 8    12.   Moreover, since at least 2005, the UHG Managing Defendants and/or their
 9    predecessors have known that a significant percentage of diagnoses reported by
10    providers to them (hereinafter “provider-reported diagnoses”) are invalid because the
11    beneficiaries’ medical records do not substantiate that the beneficiaries had the medical
12    conditions identified by the diagnosis codes reported by the providers. They knew this
13    from audits conducted by the Government and from their own internal medical record
14    reviews. Despite this knowledge, they knowingly avoided “looking both ways” as part
15    of their national Chart Review Program, except for a very limited time period when they
16    “looked both ways” at some of the chart review results as part of their Claims
17    Verification (“CV”) Program. That is, they knowingly and improperly avoided
18    comparing the diagnoses reported by the providers and submitted by them to the
19    Government with the results of the coders’ chart reviews to identify those provider-
20    reported diagnoses that were not supported by the beneficiaries’ medical records. They
21    could and should have done this comparison and withdrawn their prior submission of
22    these unsupported diagnoses, that is, made “DELETES.” If they had done so, the
23    Government would not have made risk adjustment payments based on these unsupported
24    diagnoses or, if it had already made the payments, it would have recovered them from
25    the Defendant MA Organizations or the other Defendants.
26    13.   By failing to “look both ways,” the UHG Managing Defendants generated and
27    reported skewed data artificially inflating beneficiaries’ risk scores, avoided negative
28    payment adjustments, and caused the Defendant MA Organizations to retain payments to
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 1    which they were not entitled. They did this “knowingly,” as that term is defined in the
 2    FCA. The Government has conservatively estimated that, if the UHG Managing
 3    Defendants had “looked both ways,” they would not have submitted on behalf of the
 4    Defendant MA Organizations or, if submitted, they would have withdrawn hundreds of
 5    thousands of invalid diagnoses on behalf of the Defendant MA Organizations, and the
 6    Government would not have erroneously paid or would have recovered substantial sums
 7    of money (e.g., potentially over a billion dollars in risk adjustment payments for four
 8    payment years) to which the Defendant MA Organizations were not entitled.
 9    14.    By failing to “look both ways,” the UHG Managing Defendants and the Defendant
10    MA Organizations knowingly submitted false certifications about the accuracy and
11    truthfulness of their data and knowingly and improperly avoided or decreased
12    obligations to repay (i.e., return) monies owed to the Government in violation of the
13    FCA.
14    15.    In addition, Defendants engaged in other conduct (unrelated to their Chart Review
15    Program) that violated the FCA. Defendants deliberately ignored or recklessly
16    disregarded information from their Risk Adjustment Coding Compliance Review
17    (“RACCR”) Program about invalid diagnoses. This information showed that significant
18    percentages of the diagnoses reported to the UHG Managing Defendants and the
19    Defendant MA Organizations by certain “financially incentivized” providers, including
20    certain capitated and gainsharing providers, were unsubstantiated by their patients’
21    medical records.
22    16.    The UHG Managing Defendants and the Defendant MA Organizations paid
23    providers who cared for the beneficiaries in the Defendant MA Organizations’ MA Plans
24    through a variety of arrangements. They paid some healthcare providers on a fee-for-
25    service basis for each service (e.g., office visit) they provided to a beneficiary. However,
26    they negotiated payment arrangements with large provider groups that were intended to
27    more closely align their financial interests. For example, the UHG Managing
28    Defendants and the Defendant MA Organizations paid many large provider groups a
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 1    “fixed” fee for each beneficiary cared for by these providers. These “capitated” fees
 2    generally were not dependent on the amount of services rendered by these providers.
 3    Instead, the “capitated” fees were often based on a percentage share of the payments that
 4    the Defendant MA Organizations received from the Government for the beneficiaries
 5    cared for by the providers. The UHG Managing Defendants and the Defendant MA
 6    Organizations also entered into “gainsharing” agreements whereby they made incentive
 7    payments to some of their fee-for-service providers. These incentive payments were
 8    based in whole or part on total revenues that the Defendant MA Organizations received
 9    from the Government for the beneficiaries cared for by these gainsharing providers.
10    17.   The UHG Managing Defendants’ and the Defendant MA Organizations’
11    agreements with capitated and gainsharing providers incentivized these providers to
12    increase the number of diagnoses that they reported to the UHG Managing Defendants
13    and the Defendant MA Organizations and to report diagnoses for more severe medical
14    conditions. The more risk adjustment payments obtained by the Defendant MA
15    Organizations for the beneficiaries cared for by these providers, the more money the
16    UHG Managing Defendants and the Defendant MA Organizations paid to these
17    providers pursuant to the capitation and gainsharing agreements.
18    18.   The UHG Managing Defendants knew that these capitated and gainsharing
19    providers had a financial incentive to report invalid diagnoses in order to increase their
20    own revenues. In fact, based on the results of their own data analyses and medical
21    record reviews conducted as part of their RACCR Program, they knew which
22    incentivized providers were actually or likely engaged in over-reporting diagnoses,
23    including a significant number of providers located in this District. But the UHG
24    Managing Defendants knowingly continued to submit diagnoses from these incentivized
25    providers to the Government and knowingly and improperly avoided repaying the
26    Government for risk adjustment payments based on invalid diagnoses from these
27    providers, all in violation of the FCA.
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 1                                 JURISDICTION AND VENUE
 2    19.   This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C.
 3    § 1345 because the United States is the Plaintiff. In addition, the Court has subject
 4    matter jurisdiction over the FCA claims for relief under 28 U.S.C. §§ 1331 and 1345 and
 5    31 U.S.C. § 3732(a)-(b) and supplemental jurisdiction to entertain the common law and
 6    equitable claims for relief under 28 U.S.C. § 1367(a).
 7    20.   This Court has personal jurisdiction over Defendants pursuant to 31 U.S.C.
 8    § 3732(a) because at least one of the Defendants can be found in, resides in, transacts
 9    business in, or has committed the alleged acts in the Central District of California.
10    21.   Venue also lies in this District pursuant to 28 U.S.C. § 1391(b)-(c) and 31 U.S.C.
11    § 3732(a) because at least one of the Defendants can be found in, resides in, and
12    transacts business in this District, a substantial part of the events or omissions giving rise
13    to the claims occurred in this District, and/or all of the Defendants are subject to the
14    Court’s personal jurisdiction under the FCA.
15                                             PARTIES
16          I.     Plaintiffs
17    22.   Plaintiff is the United States of America, suing on behalf of the United States
18    Department of Health and Human Services (“HHS”), which includes its operating
19    division, the Centers for Medicare and Medicaid Services (“CMS”). At all times
20    relevant to this Complaint, CMS administered and supervised the MA Program and
21    made risk adjustment payments to MA Organizations, including the Defendant MA
22    Organizations in this action, under Parts C and D of the Program. The United States
23    filed its notice of partial intervention in this action on February 14, 2017.
24    23.   The qui tam plaintiff (“Relator”) is Benjamin Poehling, a former employee of
25    United HealthCare Services, Inc. who was the Director of Finance for Ovations, the
26    group that managed the Defendant MA Organizations until approximately 2010 and,
27    after that, the Director of Finance for UnitedHealthcare Medicare & Retirement, which
28    was the group at UnitedHealthcare, Inc. that succeeded Ovations in managing the
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 1    Defendant MA Organizations. From mid-2007 until he left at the end of 2012, Poehling
 2    ran the risk adjustment team at Ovations and then at UnitedHealthcare Medicare &
 3    Retirement, where he was one of the management employees responsible for the
 4    submission of claims (i.e., diagnoses) by the UHG Managing Defendants to the
 5    Government for risk adjustment payments to the Defendant MA Organizations. He was
 6    also one of the management employees responsible for risk adjustment revenue-
 7    generating activities, including, but not limited to, the UHG Managing Defendants’
 8    national Chart Review Program. Poehling expressed concerns to fellow executives
 9    about the failure of the UHG Managing Defendants’ Chart Review Program to “look
10    both ways.” In March 2011, Poehling initiated this action by filing a complaint pursuant
11    to the qui tam provisions of the FCA. 31 U.S.C. § 3730(b)(1).
12          II.    Defendants
13    24.   Defendant UnitedHealth Group, Inc. (“UHG”) is a publicly traded Delaware
14    corporation. It is the parent company for all other Defendants in this action. UHG, the
15    other Defendants, and their affiliates have offices in various locations throughout the
16    United States, including in the Central District of California. UHG offers a broad
17    spectrum of products and services through two distinct primary direct corporate
18    subsidiaries (each of which has numerous direct and indirect subsidiaries of its own):
19    (1) UnitedHealthcare, Inc., a health benefits (i.e., insurance) company, and (2) Optum,
20    Inc., a health services company. Accordingly, UHG’s healthcare insurance products,
21    including those under Parts C and D of the Medicare Program, are offered by, and
22    UHG’s MA and PD Plans are managed by, various entities that are UHG’s direct or
23    indirect subsidiaries, including, but not limited to, the other Defendants identified below.
24    UHG controls all of these entities.
25    25.   UHG and its direct and indirect subsidiaries and affiliates operate MA
26    Organizations in all fifty states and the District of Columbia. Each of these MA
27    Organizations offers one or more MA Plans, that is, one or more packages of healthcare
28    insurance benefits under Part C of the Medicare Program. Many, if not all, of these MA
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 1    Organizations also offer PD Plans, that is, drug benefit packages under Part D of the
 2    Medicare Program. As of December 31, 2008, UHG had approximately 1.5 million
 3    Medicare beneficiaries enrolled in its MA Plans under Part C of the Medicare Program
 4    and millions of additional beneficiaries enrolled in its PD Plans. As of December 31,
 5    2009, UHG had approximately 1.8 million Medicare beneficiaries enrolled in its MA and
 6    millions of additional beneficiaries enrolled in its PD Plans. As of December 31, 2010,
 7    UHG had approximately 2.1 million beneficiaries in its MA Plans and millions of
 8    additional beneficiaries in its PD Plans. As of December 31, 2011, UHG had 2.2 million
 9    beneficiaries in its MA Plans and millions of additional beneficiaries in its PD Plans. As
10    of December 31, 2012, UHG had approximately 2.6 million beneficiaries in its MA
11    Plans and millions of additional beneficiaries in its PD Plans. In 2013, 2014, and 2015
12    United had approximately 3 million beneficiaries in its MA Plans and approximately 8
13    million in its PD Plans. In 2016, UHG had approximately 3.6 million beneficiaries in its
14    MA Plans, and approximately 8.6 million beneficiaries in its PD Plans. Annually,
15    UHG’s revenues from the MA Program have been in the tens of billions of dollars.
16    26.    All Defendant MA Organizations entered into one or more agreements with the
17    Government during the relevant time period to offer MA Plans and/or PD Plans to
18    Medicare beneficiaries under Parts C and D of the Medicare Program, presented or had
19    the UHG Managing Defendants present on their behalf claims to the Government for risk
20    adjustment payments under Parts C and D of the Medicare Program, submitted or had
21    the UHG Managing Defendants submit on their behalf one or more Risk Adjustment
22    Attestations to the Government for risk adjustment payments from the Medicare
23    Program, and received risk adjustment payments from the Government. These
24    Defendant MA Organizations include all MA Organizations acquired, owned, and
25    controlled directly or indirectly by UHG after 2005, including:
26                  a.   AmeriChoice of New Jersey, Inc., a New Jersey corporation, doing
27          business as AmeriChoice Personal Care Plus and UnitedHealthcare Community
28          Plan.
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 1                b.    Arizona Physicians IPA, Inc., an Arizona corporation, doing business
 2          as APIPA Personal Care Plus and UnitedHealthcare Community Plan.
 3                c.    Care Improvement Plus of Maryland, Inc., which is or was a
 4          Maryland corporation, doing business as Care Improvement Plus.
 5                d.    Care Improvement Plus of Texas Insurance Company, which is a
 6          Texas insurance company, doing business as Care Improvement Plus.
 7                e.    Care Improvement Plus South Central Insurance Co., which is an
 8          Arkansas insurance company, doing business as Care Improvement Plus and
 9          UnitedHealthcare.
10                f.    Care Improvement Plus Wisconsin Insurance Company, which is a
11          Wisconsin insurance company, doing business as Care Improvement Plus and
12          UnitedHealthcare.
13                g.    Optum Insurance Co., which is an Ohio corporation.
14                h.    Citrus Health Care, Inc., which is or was a Florida corporation.
15                i.    Health Plan of Nevada, Inc., which is a Nevada corporation.
16                j.    Medica HealthCare Plans, Inc., which is a Florida corporation.
17                k.    Oxford Health Plans (CT), Inc., which is a Connecticut corporation,
18          doing business as AARP MedicareComplete from SecureHorizons; Oxford
19          Medicare Advantage; SecureHorizons; SecureHorizons by UnitedHealthCare; and
20          UnitedHealthcare.
21                l.    Oxford Health Plans (NJ), Inc., which is a New Jersey corporation,
22          also known as Oxford Health Plans of New Jersey, Inc., doing business as AARP
23          MedicareComplete from SecureHorizons; AARP MedicareComplete provided by
24          SecureHorizons; Evercare; Evercare by UnitedHealthcare; Evercare Health Plans;
25          Evercare Plan H; SecureHorizons; SecureHorizons by UnitedHealthCare; and
26          UnitedHealthcare.
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 1                m.    Oxford Health Plans (NY), Inc. which is a New York corporation,
 2          doing business as Oxford Medicare Advantage; SecureHorizons; SecureHorizons
 3          by UnitedHealthcare; and UnitedHealthcare.
 4                n.    PacifiCare Life and Health Insurance Company, which is an Indiana
 5          insurance company, doing business as SecureHorizons Direct and SecureHorizons
 6          MedicareDirect.
 7                o.    PacifiCare of Arizona, Inc., which is an Arizona corporation doing
 8          business as SecureHorizons Medicare Advantage Plan; SecureHorizons by
 9          UnitedHealthcare; and UnitedHealthcare.
10                p.    PacifiCare of Colorado, Inc., which is a Colorado corporation doing
11          business as AARP MedicareComplete from Secure Horizons; AARP
12          MedicareComplete provided by SecureHorizons; Secure Horizons Medicare
13          Advantage Plan; SecureHorizons by UnitedHealthcare; and UnitedHealthcare.
14                q.    PacifiCare of Nevada, Inc., which is a Nevada corporation, also
15          known as PacifiCare/UHC of Nevada, doing business as AARP
16          MedicareComplete provided by SecureHorizons; PacifiCare/UHC of Nevada;
17          Secure Horizons Medicare Advantage Plan; SecureHorizons by UnitedHealthcare;
18          and UnitedHealthcare.
19                r.    Physicians Health Choice of Texas, LLC, which is a Texas limited
20          liability company doing business as Physicians Health Choice.
21                s.    Preferred Care Partners, Inc., which is a Florida corporation doing
22          business as UnitedHealthcare.
23                t.    Rocky Mountain Health Maintenance Organization, Inc., which is a
24          Colorado company.
25                u.    Sierra Health and Life Insurance Company, Inc., which is a Nevada
26          corporation doing business as Erickson Advantage and UnitedHealthcare.
27                v.    Symphonix Health Insurance, Inc., which is an Illinois insurance
28          company doing business as Symphonix Health.
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 1                w.    UnitedHealthcare of California, Inc., which is a California
 2          corporation, also known as UHC of California, Inc. and formerly known as
 3          PacifiCare of California, Inc. and PacifiCare of California/Secure Horizons, doing
 4          business as SecureHorizons by UnitedHealthcare, Secure Horizons Medicare
 5          Advantage Plan, and UnitedHealthcare.
 6                x.    Unison Health Plan of Tennessee, Inc., which is a Tennessee
 7          corporation doing business as Unison Advantage and UnitedHealthcare
 8          Community Plan.
 9                y.    United Health Care Ins. Co. and United New York, which is a New
10          York insurance company doing business as UnitedHealthcare.
11                z.    UnitedHealthcare Benefits of Texas, Inc., which is a Texas
12          corporation, formerly known as PacifiCare of Texas, Inc., doing business as
13          SecureHorizons Medicare Advantage Plan; SecureHorizons by UnitedHealthcare;
14          and UnitedHealthcare.
15                aa.   UnitedHealthcare Community Plan of Ohio, Inc., which is an Ohio
16          corporation, formerly known as Unison Health Plan of Ohio, Inc., doing business
17          as Unison Advantage and UnitedHealthcare Community Plan.
18                bb.   UnitedHealthcare Community Plan of Texas, L.L.C., which is a
19          Texas limited liability company, formerly known as Evercare of Texas, LLC,
20          doing business as Evercare by UnitedHealthcare and Evercare Health Plans; and
21          UnitedHealthcare.
22                cc.   UnitedHealthcare Community Plan, Inc., which is a Michigan
23          corporation, also known as Great Lakes Health Plan, Inc. and UnitedHealthcare of
24          the Great Lakes Health Plan, Inc., doing business as Great Lakes Personal Care
25          Plus and UnitedHealthcare Community Plan.
26                dd.   UnitedHealthcare Insurance Company, which is a Connecticut
27          insurance company, also known as United Healthcare Insurance Company, doing
28          business as AARP MedicareComplete from SecureHorizons; Erickson Advantage;
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 1          Evercare by UnitedHealthcare; Evercare Health Plans; Evercare Senior Care
 2          Options; SecureHorizons; SecureHorizons by UnitedHealthcare; SecureHorizons
 3          MedicareDirect; United Health Group; UnitedHealthcare; and UnitedHealthcare
 4          Community Plan.
 5                ee.   UnitedHealthcare Insurance Company of New York, which is a New
 6          York insurance company, also known as United Healthcare Insurance Company of
 7          New York, doing business as SecureHorizons; SecureHorizons MedicareDirect;
 8          SecureHorizons by UnitedHealthcare; and UnitedHealthcare.
 9                ff.   UnitedHealthcare of Alabama, Inc., which is an Alabama
10          corporation, also known as United HealthCare of Alabama, Inc., doing business as
11          SecureHorizons; SecureHorizons by UnitedHealthcare; and UnitedHealthcare.
12                gg.   UnitedHealthcare of Arizona, Inc., which is an Arizona corporation,
13          also known as United HealthCare of Arizona, Inc., doing business as
14          SecureHorizons; SecureHorizons by UnitedHealthcare; and UnitedHealthcare.
15                hh.   UnitedHealthcare of Arkansas, Inc., which is an Arkansas
16          corporation, also known as United Healthcare of Arkansas, Inc., doing business as
17          SecureHorizons; SecureHorizons by UnitedHealthcare; and UnitedHealthcare.
18                ii.   UnitedHealthcare of Florida, Inc., which is a Florida corporation, also
19          known as United Healthcare of Florida, Inc. doing business as AmeriChoice;
20          Evercare at Home; SecureHorizons; SecureHorizons by UnitedHealthcare; and
21          UnitedHealthcare.
22                jj.   UnitedHealthcare of Georgia, Inc., which is a Georgia corporation,
23          also known as United Healthcare of Georgia, Inc., doing business as
24          SecureHorizons; SecureHorizons by UnitedHealthcare; and UnitedHealthcare.
25                kk.   UnitedHealthcare of New England, Inc., which is a Rhode Island
26          corporation, also known as United HealthCare of New England, Inc. and United
27          Health Plans of New England, Inc., doing business as AARP MedicareComplete
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 1          provided by SecureHorizons; AARP MedicareComplete from SecureHorizons;
 2          SecureHorizons by UnitedHealthcare; and UnitedHealthcare.
 3                ll.   UnitedHealthcare of New York, Inc., which is a New York
 4          corporation, also known as AmeriChoice of New York, Inc. and United
 5          Healthcare of New York, Inc. doing business as AmeriChoice Personal Care Plus;
 6          SecureHorizons; SecureHorizons by UnitedHealthcare; UnitedHealthcare; and
 7          UnitedHealthcare Community Plan.
 8                mm. UnitedHealthcare of North Carolina, Inc., which is a North Carolina
 9          corporation, also known as United Healthcare of North Carolina, Inc., doing
10          business as SecureHorizons; SecureHorizons by UnitedHealthcare, and
11          UnitedHealthcare.
12                nn.   UnitedHealthcare of Ohio, Inc., which is an Ohio corporation, also
13          known as United Healthcare of Ohio, Inc., doing business as SecureHorizons,
14          SecureHorizons by UnitedHealthcare, and UnitedHealthcare.
15                oo.   UnitedHealthcare of Oklahoma, Inc., which is an Oklahoma
16          corporation, formerly known as PacifiCare of Oklahoma, Inc., doing business as
17          Secure Horizons Medicare Advantage Plan; SecureHorizons by UnitedHealthcare,
18          and UnitedHealthcare.
19                pp.   UnitedHealthcare of Oregon, Inc., which is an Oregon corporation,
20          formerly known as PacifiCare of Oregon, Inc., doing business as AARP
21          MedicareComplete from SecureHorizons; AARP MedicareComplete provided by
22          SecureHorizons; SecureHorizons Medicare Advantage Plan; SecureHorizons by
23          UnitedHealthCare; and UnitedHealthcare.
24                qq.   UnitedHealthcare of Pennsylvania, Inc., which is a Pennsylvania
25          corporation, formerly known as Unison Health Plan of Pennsylvania, Inc., doing
26          business as Unison Advantage; UnitedHealthcare Community Plan; and
27          UnitedHealthcare.
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 1                rr.   UnitedHealthcare of Tennessee, Inc., which is a Tennessee
 2          corporation, also known as United Healthcare of Tennessee, Inc., doing business
 3          as AARP MedicareComplete from SecureHorizons; AARP MedicareComplete
 4          provided by SecureHorizons; SecureHorizons; and SecureHorizons by
 5          UnitedHealthcare.
 6                ss.   UnitedHealthcare of the Midlands, Inc., which is a Nebraska
 7          corporation, also known as United Healthcare of the Midlands, Inc., doing
 8          business as SecureHorizons by UnitedHealthcare and UnitedHealthcare.
 9                tt.   UnitedHealthcare of the Midwest, Inc., which is a Missouri
10          corporation, also known as United Healthcare of the Midwest, Inc., doing business
11          as SecureHorizons; SecureHorizons by UnitedHealthcare; and UnitedHealthcare.
12                uu.   UnitedHealthcare of Utah, Inc., which is a Utah corporation, also
13          known as United Healthcare of Utah, Inc., doing business as SecureHorizons;
14          SecureHorizons by UnitedHealthcare; and UnitedHealthcare.
15                vv.   UnitedHealthcare of Washington, Inc., which is a Washington
16          corporation, formerly known as PacifiCare of Washington, Inc., doing business as
17          AARP MedicareComplete from SecureHorizons; Secure Horizons Medicare
18          Advantage Plan; SecureHorizons by UnitedHealthcare; and UnitedHealthcare.
19                ww. UnitedHealthcare of Wisconsin, Inc., which is a Wisconsin
20          corporation, also known as United Healthcare of Wisconsin, Inc. doing business as
21          SecureHorizons; SecureHorizons by UnitedHealthcare; UnitedHealthcare
22          Community Plan; UnitedHealthcare Personal Care Plus; and UnitedHealthcare.
23                xx.   UnitedHealthcare Plan of the River Valley, Inc., which is an Illinois
24          corporation, also known as United Healthcare Plan of the River Valley, Inc.,
25          UnitedHealth Care Plan of the River Valley, Inc., and United HealthCare of the
26          River Valley, Inc., doing business as AmeriChoice Secure Plus Complete;
27          SecureHorizons by UnitedHealthcare; UnitedHealthcare; and UnitedHealthcare
28          Community Plan.
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 1                yy.     Any other MA Organizations acquired, owned, or controlled by UHG
 2          since 2005.
 3    27.   Defendant United HealthCare Services, Inc. (“United HealthCare Services”) is a
 4    Minnesota corporation. It is a direct subsidiary of Defendant UHG. United HealthCare
 5    Services is the successor to PacifiCare Health Systems and PacifiCare Health Plan
 6    Administrators, Inc., which managed some of the Defendant MA Organizations. See
 7    infra paragraph 37. As previously stated, United HealthCare Services also employed
 8    Relator Poehling and, on information and belief, employed other individuals who held
 9    titles and positions within the other UHG Managing Defendants and who performed
10    work on behalf of the Defendant MA Organizations.
11    28.   Defendant Ovations, Inc. (“Ovations”) is a Delaware corporation. It is a direct
12    subsidiary of Defendant United HealthCare Services and an indirect subsidiary of
13    Defendant UHG. Until approximately 2010, one or more of the groups that managed
14    some of the Defendant MA Organizations were located within Defendant Ovations.
15    29.   Defendant UnitedHealthcare, Inc. (“UnitedHealthcare”) is a Delaware corporation,
16    and a direct subsidiary of Defendant UHG. UnitedHealthcare is the UHG business entity
17    which owns, operates, and offers health insurance plans to governmental customers.
18    Various UnitedHealthcare subsidiaries operate health benefit plans and provide
19    healthcare benefits to millions of Medicare beneficiaries under the MA Program.
20    UnitedHealthcare also is the UHG subsidiary which contracts (through its subsidiaries)
21    with the Government to provide insurance benefits to MA beneficiaries, submits the
22    annual Risk Adjustment Attestations to the Government, submits claims for payment to
23    the Government, and receives payment from the Government.
24    30.   Defendants Optum, Inc. and OptumInsight, Inc. are health services companies.
25    They are Delaware corporations. They are direct or indirect subsidiaries of Defendant
26    UHG. In 2011, OptumInsight became the successor to Ingenix, Inc. (“Ingenix”).
27    Thereafter, OptumInsight operated as part of Optum. For the purposes of this Amended
28    Complaint, Optum, Inc. and OptumInsight, Inc. will be referred to as “Optum.”
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 1    Furthermore, to the extent that the United States is uncertain whether an act or statement
 2    is attributable to Ingenix or its successor, Optum, the United States will refer to the entity
 3    as “Ingenix/Optum.” Since 2007, the group within Ingenix and then Optum that
 4    performed risk adjustment-related work had various names. For purposes of this
 5    Amended Complaint, it is referred to as the “Risk Adjustment Group.”
 6    31.     Defendants United HealthCare Services, Ovations, UnitedHealthcare, and Optum
 7    (and Optum’s predecessor, Ingenix) are or were “Related Entities” under the federal
 8    regulations that govern the MA Program. As explained more fully below, each of them
 9    has or had its own legal obligations to the MA Program relating to, among other things,
10    the submission of valid risk adjustment data and the deletion or withdrawal of invalid
11    data.
12    32.     The Defendant MA Organizations were not autonomous and do not appear to have
13    had any management or any other employees who ran them or had any decision-making
14    authority (if they had any of their own management or employees at all). Instead, UHG
15    had various groups that managed and had oversight responsibilities and decision-making
16    authority for the Defendant MA Organizations. At various times relevant to this
17    Amended Complaint, these groups were located within Defendants United HealthCare
18    Services (and/or its predecessors), Ovations, and UnitedHealthcare. Depending on the
19    time period, the groups were known by the names Secure Horizons, Evercare, the Public
20    & Senior Markets Group (“PSMG”), the Public Sector Market Group (also “PSMG”),
21    Ovations, Ovations Part D, and AmeriChoice. Prior to approximately 2010, these groups
22    were located in Defendants United HealthCare Services (and/or its predecessors) and
23    Ovations. Since approximately 2010, these groups have been located within Defendant
24    UnitedHealthcare and are referred to as UnitedHealthcare Medicare & Retirement and
25    UnitedHealthcare Community & State. Among other things, these groups oversaw risk
26    adjustment-related activities such as the submission of risk adjustment data (including
27    diagnoses) to the Government on behalf of the Defendant MA Organizations, the
28    retraction of invalid data that they had submitted to the Government on behalf of the
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 1    Defendant MA Organizations, and the Chart Review, Claims Verification, and RACCR
 2    Programs that they had conducted on behalf of the Defendant MA Organizations. As
 3    explained more fully below, Defendants United HealthCare Services (and/or its
 4    predecessors), Ovations, UnitedHealthcare, and any other UHG entities in which these
 5    groups may have been located are “Related Entities” with their own legal obligations
 6    relating to, among other things, the submission of valid risk adjustment data to the
 7    Government and the deletion or withdrawal of invalid data.
 8    33.   Starting in 2007, the actual risk adjustment data submission work was performed
 9    by the Risk Adjustment Group within Ingenix and then within Ingenix’s successor,
10    Optum. First Ingenix and then Optum operated a computer system called the Internal
11    Risk Adjustment Data System (“IRADS”) that electronically submitted risk adjustment
12    data (that is, diagnoses) to CMS’ Risk Adjustment Processing System (“RAPS”) in order
13    for the Defendant MA Organizations to claim and receive risk adjustment payments. In
14    addition, Ingenix and then Optum helped to manage the Chart Review, Claims
15    Verification, and RACCR Programs and performed the day-to-day activities necessary to
16    conduct these programs. Ingenix and then Optum performed activities relating to the
17    submission of risk adjustment data and operated the various risk adjustment-related
18    programs from offices in this District and elsewhere.
19    34.   Similar to the other UHG Managing Defendants, Ingenix was and Optum is a
20    “Related Entity” because Ingenix was and Optum is related to the Defendant MA
21    Organizations by common ownership or control through Defendant UHG and performed
22    some or all of the management functions for the Defendant MA Organizations. As
23    previously explained, Optum is one of the “UHG Managing Defendants” because of the
24    role that it (and its predecessor, Ingenix) played in managing the Defendant MA
25    Organizations during the relevant time period. Any reference in this Amended
26    Complaint to the predecessors of the UHG Managing Defendants includes Ingenix.
27    35.   Ingenix and then Optum also performed risk adjustment-related services for third-
28    parties which owned and operated their own MA Organizations and offered their own
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 1    Plans. The UHG Managing Defendants referred to these third-parties as Ingenix’s and
 2    then Optum’s commercial clients. Ingenix and then Optum submitted risk adjustment
 3    data to the Government on behalf of these commercial clients and conducted Chart
 4    Review and other programs for them. Ingenix and then Optum performed this risk
 5    adjustment-related work for commercial clients from offices in this District and
 6    elsewhere.
 7    36.   UHG became the largest owner of MA Organizations in large part by acquiring
 8    them. For example, in 2005, UHG (directly or through a subsidiary) acquired PacifiCare
 9    Health Systems (“PacifiCare”) and PacifiCare’s and its affiliates’ MA Organizations and
10    MA Plans, including the following MA Organization Defendants: PacifiCare of
11    Arizona, Inc., incorporated in Arizona; PacifiCare of California, incorporated in
12    California; PacifiCare of Colorado, Inc., incorporated in Colorado; PacifiCare of
13    Nevada, Inc., incorporated in Nevada; PacifiCare of Oklahoma, Inc., incorporated in
14    Oklahoma; PacifiCare of Oregon, Inc., incorporated in Oregon; PacifiCare of Texas, Inc.
15    incorporated in Texas; and PacifiCare of Washington, incorporated in Washington. Both
16    before and after the acquisition, PacifiCare of California and possibly other PacifiCare
17    MA Organizations and MA Plans referred to themselves or to their brand of MA Plans as
18    Secure Horizons. Since 2005, these PacifiCare MA Organizations have been indirect
19    subsidiaries of and controlled by UHG. Several years after the acquisition, these
20    PacifiCare plans were renamed or rebranded as UnitedHealthcare MA Organizations or
21    merged into other UHG MA Organizations. For instance, in 2011, PacifiCare of
22    California became Defendant UnitedHealthcare of California.
23    37.   Defendant United HealthCare Services is the successor of PacifiCare Health
24    Systems and PacifiCare Health Plan Administrators, Inc., which were the direct or
25    indirect parents of the PacifiCare MA Organizations acquired by UHG in 2005. United
26    HealthCare Services became their successor sometime after the acquisition. For a short
27    period of time after the acquisition, PacifiCare Health Systems (and possibly also
28    PacifiCare Health Plan Administrators) was involved in the management of the
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 1    PacifiCare MA Organizations and perhaps other Defendant MA Organizations, including
 2    the management of risk adjustment-related activities. All PacifiCare MA Organizations
 3    and other entities and their successors were direct or indirect subsidiaries of Defendant
 4    UHG. Any reference in this Amended Complaint to United HealthCare Services or the
 5    UHG Managing Defendants includes PacifiCare Health Systems and PacifiCare Health
 6    Plan Administrators.
 7    38.   Before UHG’s acquisition of PacifiCare, the PacifiCare employees with
 8    responsibilities relating to the submission of risk adjustment data to the Government and
 9    responsibilities relating to other risk adjustment-related activities worked at a PacifiCare
10    office in Cypress, California, within this District. Sometime after the acquisition, this
11    office moved to Santa Ana, California, within this District, and continued to submit
12    claims and perform other risk adjustment-related activities. In 2007, the employees in
13    this Risk Adjustment Group in this District became employees of Ingenix and then they
14    became employees of Optum in 2011. A substantial part of the events or omissions
15    relevant to this litigation occurred at these and other locations within this District.
16    39.   As an example of UHG’s other acquisitions, UHG (directly or through a
17    subsidiary) acquired WellMed Medical Management, Inc. (“WMMI”) in 2011. UHG’s
18    acquisition of WMMI included its subsidiaries and affiliates, including, but not limited
19    to, WMMI’s MA Organizations and MA Plans, Physician’s Health Choice of Texas,
20    LLC and Citrus Health Care, Inc., which operated in Texas, Florida, New Mexico and
21    Arkansas. Citrus Health Care, Inc. was a Florida corporation and a subsidiary of PHC
22    Holdings of Florida, Inc. Sometime after the acquisition, UHG renamed or rebranded
23    these MA Organizations and MA Plans as UHG MA Organizations or MA Plans or
24    merged them with or into UHG’s other MA Organizations or MA Plans in these states.
25    40.   Over the last decade, UHG and its subsidiaries have also sought to vertically
26    integrate in the health care market by acquiring and/or operating large groups or
27    networks of direct providers of healthcare services and other entities that manage the
28    provision of such services to beneficiaries enrolled in the Defendant MA Organizations’
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 1    MA Plans. For example, UHG vertically integrated in several States when it acquired
 2    WMMI in 2011. For many years, WMMI had subsidiaries and other affiliates that
 3    directly managed the provision of or directly provided healthcare services. These
 4    affiliates included WellMed Networks, Inc., WellMed Networks Inc. of Florida,
 5    WellMed Medical Management of Florida Inc., and WellMed Medical Group, PA. After
 6    the acquisition, WellMed became part of the group called OptumCare. After the
 7    acquisition, WellMed also significantly expanded by acquiring more than 50 medical
 8    practices in Texas and Florida. WellMed included more than 10,000 physicians that
 9    provided healthcare to hundreds of thousands of Medicare beneficiaries in Texas and
10    Florida, including beneficiaries enrolled in Plans owned or operated by one or more
11    Defendant MA Organizations.
12    41.   All references to “Defendants” in this Complaint include all of the Defendants
13    identified above.
14               DEFENDANTS’ EXECUTIVES AND OTHER EMPLOYEES
15    42.   When the job titles of Defendants’ executives and other employees are provided in
16    this Amended Complaint, the United States, based on its best knowledge and belief, has
17    provided their titles at the time relating to the facts alleged. As a reference, the United
18    States also provides, based on its best knowledge and belief, the following list of the job
19    titles of Defendants’ executives and other employees who are referenced in this
20    Amended Complaint and the names of the specific business divisions or entities for
21    which they worked during the time period that they were involved in matters relevant to
22    this action (in alphabetical order by last name):
23          Kyle Anderson – From 2009 to 2015, Anderson was the Director of Financial
24          Planning and Analysis at UnitedHealthcare.
25          Jason Bainbridge – Bainbridge worked for UnitedHealthcare Community & State
26          in 2012.
27          Paul Balthazor – From 2011 through 2015, Balthazor was the Chief Financial
28          Officer of UnitedHealthcare Community & State.
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 1          Marc Beckmann – Beckmann worked for UnitedHealthcare Medicare &
 2          Retirement in the Finance-Risk Adjustment Analysis Section.
 3          Paul Bihm – At PacifiCare, Bihm was a Vice President and Chief of Staff. After
 4          the acquisition, he worked for Ingenix as Chief Financial Officer and Chief
 5          Operating Officer from 2007 to 2010 and then for Optum’s Risk Adjustment
 6          Group as a Senior Vice President of Client Management.
 7          Jon Bird – In 2008, Bird was hired to work for Ingenix’s Risk Adjustment Group.
 8          In 2010, he became the Director of Revenue Projections for this group. In or
 9          about 2011, when the Risk Adjustment Group was moved to Optum, Bird became
10          an employee of Optum. In or about 2013, Bird assumed significant responsibility
11          for the Chart Review and Claims Verification Programs. He was also a “decision
12          maker” for the Claims Verification and RACCR Programs and a member of
13          United’s Risk Adjustment Advisory Board/Council, which was chaired by
14          Defendant UHG’s Chief Executive Officer Steve Hemsley. By at least March
15          2014, Bird was the Senior Vice President of Risk and Quality Analytics at Optum.
16          Gail Boudreaux – In 2008, Boudreaux became the Executive Vice President of
17          UnitedHealthcare. From 2011 to 2014, she was the Chief Executive Officer of
18          UnitedHealthcare. During Boudreaux’s time as Chief Executive Officer of
19          UnitedHealthcare, Steve Nelson, John Larsen, and Daniel Schumacher reported to
20          her. She reported to Steve Hemsley. According to a 2011 document, Boudreaux
21          was “significantly involved in the oversight and management of”
22          UnitedHealthcare’s “Medicare business.”
23          Tracey Bradberry – From 2008 through 2012, Bradberry was an Operations
24          Manager at Ingenix. Since 2012, she has been an Associate Director of
25          Operations at Optum. In that role, she leads diagnosis coding teams for the Chart
26          Review Program.
27          Patty Brennan – In 2008, Brennan was hired to work for Ingenix’s Risk
28          Adjustment Group. She was hired as Ingenix’s Compliance Manager for Risk
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 1          Adjustment Programs. In 2009, Brennan became the Ingenix Director of
 2          Retrospective Services relating to risk adjustment. In or about 2011, when the
 3          Risk Adjustment Group was moved to Optum, Brennan became an employee of
 4          Optum. From 2009 to 2013, Brennan oversaw the Chart Review Program. In
 5          2013, she became the Vice President of Retrospective Services. Brennan, along
 6          with other individuals, was responsible for the development and execution of the
 7          Internal Data Validation Program, the RACCR Program, and the Claims
 8          Verification Program. She was also the Program Manager for the Claims
 9          Verification Program for several years and had strategic oversight over the
10          RACCR Program from 2009 to 2013.
11          Jonathon Bunker – In 2009, Bunker was the President of Sierra Health and Life
12          Insurance Company, Inc. and the President of Health Plan of Nevada, Inc. Upon
13          the close of the merger between UHG and Sierra Health Services, Bunker was the
14          Chief Executive Officer of the southwest region of UnitedHealthcare.
15          Barbara Carlson – In 2011, Carlson was a Senior Regulatory Affairs Analyst at the
16          Regulatory Affairs Department at UnitedHealthcare Medicare & Retirement.
17          Shelly Cranley – Cranley served as the Director of Regulatory Affairs for
18          UnitedHealthcare.
19          Keith Dobbins – Since 2006, Dobbins has been UnitedHealthcare’s Deputy
20          General Counsel.
21          Juliet Domb – From 2012 to 2015, Domb was a Strategic Relationship Analyst at
22          Optum. She has also served as an administrative assistant to Larry Renfro.
23          Jeffrey Dumcum – At PacifiCare, Dumcum was the Chief Financial Officer. After
24          the acquisition, he became a Vice President of Finance for Ovations. In 2007,
25          Dumcum became a Senior Vice President at Ingenix and oversaw the Risk
26          Adjustment Group at Ingenix and then Optum until approximately 2014.
27          Karen Erickson – Since 2011, Erickson has been an Executive Vice President and
28          the Chief Quality Officer at Optum. In this role, Erickson has reported to the
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 1          Chief Executive Officer of Optum, Larry Renfro. Also in 2011, Erickson was the
 2          Chief Administrative Officer of Optum, and prior to that she worked for Optum
 3          for 12 years in various financial and administrative roles.
 4          Ronnie Grower – From 2008 to 2010 Grower was a Vice President of Market
 5          Consultation and a Vice President of Account Management at Ingenix.
 6          Joseph Haferman – Haferman was the Chief Financial Officer of Ovations in 2005
 7          and the Chief Financial Officer of Secure Horizons in 2007 and possibly for some
 8          time thereafter. Relator Poehling reported to Haferman from early 2007 to late
 9          2008.
10          Kimberly Halva – In 2009, Halva was an attorney for UnitedHealthcare Medicare
11          & Retirement. From 2010 to 2013, Halva was the UnitedHealthcare Medicare &
12          Retirement’s Finance Compliance Officer. She also had the title Director of
13          Compliance. From 2010 to 2103, she reported to Jennifer O’Brien.
14          Mary Hammond – From 2010 to 2013, Hammond was an Associate Director of
15          Strategy and Support who worked for the risk adjustment team at
16          UnitedHealthcare Medicare & Retirement. She reported to Relator Poehling until
17          he left at the end of 2012.
18          Charles Hanson – From 2008 to 2013, Hanson was a Vice President of
19          Underwriting and Finance at UnitedHealthcare Medicare & Retirement.
20          Steve Hemsley – Hemsley is currently the Executive Chairman of UHG’s Board
21          of Directors. He was the Chief Executive Officer of UHG from 2006 to 2017.
22          According to a 2011 document, Hemsley was “significantly involved in the
23          oversight and management of” UHG’s “Medicare business.”
24          James Higgins – Higgins was the Finance Director at PacifiCare. After the
25          acquisition, Higgins became a Director for Revenue Analytics.
26          William Hnath – Hnath was the financial controller for UnitedHealthcare
27          Medicare & Retirement.
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 1          Pam Holt – Holt was a Project Manager for Network Management Operations at
 2          PacifiCare. After the acquisition, she became a Manager of Provider Outreach for
 3          the Risk Adjustment Program.
 4          Scott Hughes – Starting in mid-2012, Hughes was a Senior Project Manager at
 5          Optum.
 6          Michael Jacobson – Jacobson was a Program Business Analyst/Project Manager at
 7          Optum.
 8          Donald James – James was a Director of Program Strategy at Optum from 2012 to
 9          2015.
10          Thad Johnson – Johnson is an attorney for UnitedHealthcare and is the current
11          Chief Legal Officer for the company.
12          Joseph Keen – Keen was a Vice President and Chief Compliance Audit Officer for
13          UnitedHealthcare Medicare & Retirement in 2011.
14          Gerald (Jerry) Knutson – Knutson was the Chief Financial Officer of Ovations
15          from 2003 to 2009 and the Chief Financial Officer of OptumInsight from 2009 to
16          2012.
17          John Larsen – Larsen was the Chief Financial Officer of UnitedHealthcare
18          Medicare & Retirement (previously called Ovations-PSMG) until 2010, when
19          Scott Theisen succeeded him in that position. Larsen reported to Larry Renfro
20          when Renfro was the Chief Executive Officer of Ovations-PSMG. Relator
21          Poehling reported to Larsen in 2010. In August 2012, Larsen became the Chief
22          Executive Officer of UnitedHealthcare Medicare & Retirement. In early 2014,
23          Steve Nelson took over that position.
24          Pam Leal – Leal was the Executive Director of Provider Training and
25          Development at PacifiCare. After the acquisition, she became a Regional Vice
26          President for Market Consultation at Ingenix.
27          Rebecca Martin – In 2010, Martin became the Director of Encounter Operations at
28          Ingenix. From 2011 to 2015, Martin was the Director of Data Remediation at
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 1          Optum. In 2015, she became the Director of Data Management Strategies at
 2          Optum.
 3          Jay Matushak – From 2013 to 2015, Matushak was a Vice President of Financial
 4          Planning and Analysis for UnitedHealthcare Medicare & Retirement. He reported
 5          to Brian Thompson.
 6          Michael McCarthy – Starting in November 2011, McCarthy was the Executive
 7          Director of UnitedHealthcare Medicare & Retirement. In 2013, he also served as
 8          a Regional Vice President for Southern California for UnitedHealthcare Medicare
 9          Solutions.
10          Marybeth Meyer – Since 2013, Meyer has been a Vice President of Operations at
11          UnitedHealthcare Medicare & Retirement where she oversees risk adjustment
12          programs and activities. Meyer reported to Theisen and then to Brian Thompson.
13          Bill Miller – Miller was the Chief Executive Officer of OptumInsight from 2012
14          to 2017.
15          Eric Murphy – Murphy was the President of Payer Solutions at Optum.
16          Randall Myers – Myers worked for PacifiCare and, after the acquisition, for
17          Ingenix and then Optum as a Director of Encounter Operations.
18          Timothy Noel – Noel was the Vice President of Finance for Ovations and then
19          UnitedHealthcare Medicare & Retirement from 2007 to 2013 and reported to the
20          Chief Financial Officers of those groups. Poehling reported to Noel from the fall
21          of 2010 until his departure in December 2012.
22          Steve Nelson – Since 2017, Nelson has been the Chief Executive Officer of
23          UnitedHealthcare. From 2014 to 2017, he was the Chief Executive Officer of
24          UnitedHealthcare Medicare & Retirement.
25          Jennifer O’Brien – O’Brien was the Chief Medicare Compliance Officer of
26          Ovations and then UnitedHealthcare Medicare & Retirement. She reported to
27          David Orbuch. She was part of the UnitedHealthcare Medicare & Retirement
28          “Executive Leadership Team.”
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 1          Karin O’Hara – O’Hara worked at UnitedHealthcare Community & State.
 2          David Orbuch – Orbuch was the Chief Compliance Office for PSMG and
 3          UnitedHealthcare Medicare & Retirement.
 4          Thomas Paul – In the 2009 to mid-2010 time period, Paul was the Chief Executive
 5          Officer and Chief Operating Office of Ovations and, in the mid-2010 to August
 6          2012 time period, Paul was the Chief Executive Officer of UnitedHealthcare
 7          Medicare & Retirement. He reported to Renfro and then to Gail Boudreaux. He
 8          was part of the UnitedHealthcare Medicare & Retirement “Executive Leadership
 9          Team.”
10          Karen Petroff – Petroff was the Senior Vice President of Business Development at
11          Optum.
12          Cindy Polich – Polich was the President of Ovations and then UnitedHealthcare
13          Medicare & Retirement. She reported to Larry Renfro and Thomas Paul. She was
14          part of the UnitedHealthcare Medicare & Retirement “Executive Leadership
15          Team.”
16          Patricia Rasmussen – Rasmussen was Manager of Encounter Submissions at
17          Ingenix.
18          Janice Redmond – Prior to 2012, Redmond was Senior Vice President of Provider
19          Outreach at Optum. Since 2012, Redmond has been a Vice President of Market
20          Consultation for Optum’s Western Region.
21          Anne Reis – In 2013, Reis was an Associate Director of Revenue for
22          UnitedHealthcare Medicare & Retirement.
23          Larry Renfro – During the 2009 to 2011 time period, Renfro served in various
24          roles, including the Executive Vice President of Defendant UHG, the Chief
25          Executive Officer of Defendant Ovations, and the Chief Executive Officer of the
26          Public & Senior Markets Group. Since July 2011, Renfro has been the current
27          Chief Executive Officer of Defendant Optum. Since November 2014, he has also
28          been Vice Chairman of Defendant UHG.
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 1          Sandy Rick – Rick was a Senior Regulatory Affairs Analyst at UnitedHealthcare
 2          Medicare & Retirement.
 3          Kara Rios – Rios was the Chief Financial Officer of AmeriChoice, one of the
 4          groups that managed some of the Defendant MA Organizations.
 5          Justin Roth – Roth was the Chief Financial Officer of Evercare, one of the groups
 6          that managed some of the Defendant MA Organizations.
 7          Daniel Schumacher – Since 2017, Schumacher has been the President and Chief
 8          Operating Officer of UnitedHealthcare. Prior to that, he was the Chief Financial
 9          Officer of UnitedHealthcare.
10          Melissa Sedor – Sedor worked in UnitedHealthcare’s controller’s office, in the
11          area of revenue accounting. Sedor was an accounting manager and reported to
12          Bill Hnath, the controller for UnitedHealthcare Medicare & Retirement.
13          Matt Shors – Shors is UHG’s Senior Deputy General Counsel.
14          Marianne Short – Short is UHG’s Executive Vice President and Chief Legal
15          Officer.
16          Andy Slavitt – Slavitt was the Chief Executive Officer for OptumInsight and an
17          Executive Vice President for Optum.
18          Scott Theisen – From 2010 to 2013, Theisen was the Chief Financial Officer of
19          UnitedHealthcare Medicare & Retirement. In 2011, he was part of the
20          UnitedHealthcare Medicare & Retirement “Executive Leadership Team” reporting
21          to Tom Paul. In 2014, Theisen moved to Optum, but, during that year, his
22          responsibilities continued to include the risk adjustment-related work that Optum
23          performed for UnitedHealthcare Medicare & Retirement.
24          Brian Thompson – Since 2017, Brian Thompson has been the Chief Executive
25          Officer of UnitedHealthcare Medicare & Retirement. From 2013 to 2017, he was
26          the Chief Financial Officer of UnitedHealthcare Medicare & Retirement. He was
27          also previously the Chief Financial Officer of UnitedHealthcare Community &
28          State.
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 1          Carol Thompson – Until 2009, Carol Thompson was a National Manager for Risk
 2          Adjustment Programs at Ingenix. From 2009 to 2011, she was a Manager of the
 3          ChartSync operations (part of the Chart Review Program) at Ingenix. From 2011
 4          to 2014, she was a Manager and Analyst of Encounter Operations at Optum.
 5          Pam Thomsen – Thomsen worked for Optum in Data Validation Operations and
 6          Clinical Performance & Compliance.
 7          Lee Valenta – At various times, Valenta was the Chief Financial Officer, the Chief
 8          Operating Officer, the President of Life Sciences, and an Executive Vice President
 9          at Ingenix and then OptumInsight.
10          Emily Vue – From 2009 to 2014, Vue was a Senior Regulatory Analyst and later a
11          Manager of Regulatory Affairs at Ovations-PSMG and then UnitedHealthcare.
12          Karen Wagor – Wagor was the Manager of the National Medical Coder Team and
13          the National Coding Trainer at Ingenix and then Optum. She previously worked
14          at PacifiCare.
15          David Walsh – In 2011, Walsh was the Director for Regulatory Affairs for and, in
16          2012, became the Senior Director of Regulatory Affairs for UnitedHealthcare
17          Medicare & Retirement.
18          John Way – Way was Chief Financial Officer of Secure Horizons. Relator
19          Poehling reported to Way from late 2008 to early 2010.
20          Christopher Webb – Webb worked with Payer Operations at Optum in 2014.
21          Timothy Wicks – Wicks served in a senior management position at Optum.
22          Stephanie Will – Will had been a Principal Analyst at PacifiCare. After the
23          acquisition, she joined Ovations as the Program Manager for the national Chart
24          Review Program. In 2007, she became the Vice President of Risk Adjustment
25          Programs at Ingenix.
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 1                                     THE MEDICARE PROGRAM
 2          I.     The Medicare Statute
 3    43.   Medicare is a federally-operated health insurance program administered by CMS.
 4    Medicare benefits individuals age 65 and older and the disabled. 42 U.S.C. § 1395c et
 5    seq. Parts A and B of the Medicare Program are known as “traditional” Medicare.
 6    Medicare Part A covers inpatient and institutional care. Medicare Part B covers
 7    physician, hospital outpatient, and ancillary services and durable medical equipment.
 8    44.   Under Medicare Parts A and B, CMS reimburses healthcare providers (e.g.,
 9    hospitals and physicians) using what is known as a “fee-for-service” (“FFS”) payment
10    system. Under an FFS payment system, healthcare providers submit claims to CMS for
11    reimbursement for each service actually rendered, such as a physician office visit or a
12    hospital stay. CMS then pays the providers directly for each service based on payment
13    rates pre-determined by the Government.
14    45.   Under Medicare Part C, Medicare beneficiaries can opt out of the traditional
15    Medicare Program (Parts A and B) and instead enroll in MA Plans and receive health
16    care services managed by those MA Plans. MA Plans must provide Medicare
17    beneficiaries all the services that they are entitled to receive from the traditional
18    Medicare Program.
19    46.   Under Medicare Part D, Medicare beneficiaries can elect to enroll in either a
20    Prescription Drug plan (known as a PD Plan) or an MA Plan that provides prescription
21    drug coverage in addition to the physician office visit and hospital outpatient and
22    inpatient coverage provided under Part C (known as an MAPD Plan). For simplicity, in
23    this Amended Complaint, the Government refers to Parts C and D collectively as the MA
24    Program and refers collectively to MA, PD, and MAPD Plans as Plans.
25    47.   MA Organizations are “risk-bearing” entities that must be licensed by the State in
26    which they are located. 42 C.F.R. §§ 422.2 & 422.503(b)(2). Each MA Organization
27    agrees to bear the risk that the amount that it pays providers for the health services for a
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 1    particular beneficiary in one of its Plans may exceed the amount that it was paid to
 2    insure the beneficiary.
 3    48.   Medicare beneficiaries who enroll in an MA, PD or MAPD Plan are considered
 4    members of and enrollees in that Plan. In this Amended Complaint, the terms
 5    beneficiaries, members, enrollees, and patients are used interchangeably, but mean the
 6    same thing, that is, individuals enrolled in Plans.
 7    49.   MA Organizations’ obligations to the MA Program and the requirements for them
 8    to participate in the Program are set forth in federal regulations and, each year, the MA
 9    Organizations must agree in writing to comply with those regulations and to other terms
10    and conditions in order to participate in the MA Program. 42 C.F.R. §§ 422.504 &
11    422.505 (Part C); 42 C.F.R. §§ 423.504 & 423.505 (Part D). In addition, MA
12    Organizations must comply with requirements set forth in statutes, such as the FCA, and
13    guidance documents, such as the Medicare Managed Care Manual, the Medicare
14    Prescription Drug Benefit Manual, the Risk Adjustment Participant Guides, and
15    Medicare Advantage operating instructions.
16    50.   Related Entities include those entities that are related to an MA Organization by
17    common ownership or control and perform at least some of the MA Organization’s
18    management functions. 42 C.F.R. §§ 422.2 & 422.500. As previously explained, the
19    UHG Managing Defendants are or were Related Entities.
20    51.   First Tier Entities include those providers or provider groups that enter into a
21    written arrangement with an MA Organization to provide healthcare services to the
22    beneficiaries in the organization’s Plan(s). 42 C.F.R. §§ 422.2 & 422.500. The capitated
23    providers in the RACCR Program were First Tier Entities.
24    52.   The obligations of Related Entities and First Tier Entities to the MA Program are
25    also set forth in the MA Program regulations. Related Entities and First Tier Entities
26    must, among other things, (i) perform their services in a manner that complies with the
27    MA Organization’s contractual obligations to the Government, id. at 422.504(i)(3)(iii);
28    agree to “comply with all applicable Medicare laws, regulations, and CMS instructions,”
                                                   37
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 1    id. at 422.504(i)(4)(v); and receive effective compliance training and education relating
 2    to preventing fraud, waste, and abuse. Id. at § 422.503(b)(4)(vi)(C)(1). Furthermore, if
 3    a Related Entity or First Tier Entity generates data relating to an MA Organization’s
 4    claims for payments from the MA Program, it (as well as the MA Organization) must
 5    certify the accuracy and truthfulness of the data. Id. at § 422.504(l)(3).
 6    53.   An MA Organization, however, cannot evade its legal and contractual obligations
 7    to the Government by using Related Entities to manage it or by contracting with First
 8    Tier Entities to provide services to its beneficiaries. An MA Organization “maintains
 9    ultimate responsibility for adhering to and otherwise fully complying with all terms and
10    conditions of its contract with CMS.” 42 C.F.R. § 422.504(i)(1). Thus, an MA
11    Organization cannot delegate away its ultimate responsibility for its obligations to the
12    Government.
13          II.    Medicare Parts C and D Risk Adjustment Payments
14    54.   Under Part C, the Government pays each MA Organization a predetermined base
15    monthly amount for each Medicare beneficiary in its MA Plans. This monthly payment
16    is known as a “per-member, per-month” payment. This predetermined base payment
17    varies for each MA Plan depending on various factors, including amounts set forth in the
18    MA Plan’s bid submitted to the Government, the scope of medical services covered by
19    the Plan’s benefit package (all packages must cover at least those services offered by
20    Parts A and B of the Medicare Program), and the amount of premiums, deductibles, and
21    co-pays for which an enrollee in the Plan is responsible (Plans have different premiums,
22    deductibles and co-pays such that Plans with higher deductibles and co-pays may have
23    lower premiums).
24    55.   Since 2000, Congress has also required that the payments be risk adjusted for each
25    beneficiary based on “such risk factors as age, disability status, gender, institutional
26    status, and such other factors as [the Secretary of the United States Department of
27    Health and Human Services] determines to be appropriate, including adjustment for
28    health status . . . to ensure actuarial equivalence.” 42 U.S.C. § 1395w-23(a)(1)(C)
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 1    (emphasis added). By risk adjusting for health status, the Government pays MA
 2    Organizations more for beneficiaries with certain serious chronic medical conditions
 3    and, thus, higher risk scores than for beneficiaries who do not have those conditions and,
 4    thus, have lower risk scores.
 5    56.   Pursuant to 42 U.S.C. § 1395w-23(a)(1)(C), the Secretary has the authority to
 6    determine how to adjust for health status. For example, the Secretary has the authority to
 7    decide to risk adjust only for serious chronic medical conditions and to risk adjust by
 8    requiring the submission of diagnoses from medical encounters that occurred the year
 9    preceding each payment year and projecting the possibility of additional costs for each
10    payment year. The Secretary also has authority to decide what historical cost and/or
11    utilization data it should consider in projecting how much more it may cost an MA
12    Organization to provide services to a beneficiary who has been assigned a diagnosis
13    relating to a serious chronic medical condition.
14    57.   From 2000 to 2004, the Secretary employed a Principal Inpatient Diagnostic Cost
15    Group (“PIP-DCG”) model that took into account diagnoses from inpatient hospital
16    stays to determine the risk scores of beneficiaries in MA Plans. The PIP-DCG model
17    was prospective. Diagnoses for one year were used to determine each beneficiary’s risk
18    score for the following payment year. During the 2000 to 2004 time period, MA
19    Organizations (which were then called Medicare + Choice Organizations) had many of
20    the same obligations that they have had since 2004. For instance, they had the obligation
21    to design and implement effective systems to monitor and review the accuracy and
22    truthfulness of the diagnoses they submitted for risk adjustment payments in order to
23    certify the accuracy and truthfulness of that data. See Medicare Managed Care Manual,
24    Chapter 7, Section 110.2 (entitled “Certification of Data Accuracy, Completeness, and
25    Truthfulness”) (Rev. 2, 10-01-01).
26    58.   Since 2004, the Secretary has employed the Hierarchical Conditions Category
27    (“HCC”) model, which takes into account both demographic factors (such as age and
28    gender) and health status to determine the risk scores for beneficiaries in MA Plans.
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 1    With respect to health status, the model takes into account diagnoses from physician
 2    office visits and hospital outpatient encounters as well as hospital inpatient stays. Like
 3    the PIP-DCG model, the HCC model is prospective, meaning that it relies on diagnoses
 4    assigned to a beneficiary in one year (referred to by CMS as the “data collection” year
 5    but also generally known as the “date of service” or “DOS” year) to determine the risk
 6    score for the beneficiary for the following year (often referred to as the “payment year”
 7    or “PY”). The medical conditions included in the model are grouped into HCCs, which
 8    are categories of clinically-related medical diagnoses. See 42 C.F.R. § 422.2. The
 9    diagnoses grouped into HCCs include major, severe, and/or chronic illnesses. Related
10    groups of diagnoses are ranked on the basis of disease severity and the cost associated
11    with their treatment. Between 2004 and 2013, the CMS-HCC model included 70 HCCs.
12    Starting in 2014, the CMS-HCC model included 79 HCCs.
13    59.   Under Medicare Part D, payments to PD or MAPD Plans for prescription drug
14    benefits are also risk-adjusted based on health status. As with Part C, Part D employs a
15    health-based risk adjustment model known as the Rx Hierarchical Condition Categories
16    (“RxHCC”) model. Like HCCs, RxHCCs are also groups of clinically-related medical
17    diagnoses that are ranked by disease severity and the cost associated with the
18    pharmaceutical drugs used to treat them.
19    60.   The Government assigns a relative numerical value (also known as a relative
20    factor, multiplier, or coefficient) to each HCC and RxHCC group that correlates to the
21    predicted incremental costs of care associated with treating the medical conditions in
22    each category. It currently determines the relative values based on an analysis of the
23    additional amounts that it paid on average for the treatment of these major, severe, and
24    chronic medical conditions under Parts A and B of the Medicare Program. Higher
25    relative values are assigned to HCCs and RxHCCs that include diagnoses with greater
26    disease severity and greater costs associated with their treatment.
27    61.   As previously stated, the HCC and RxHCC risk adjustment models are
28    prospective and a beneficiary’s risk score for a particular payment year is determined by
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 1    his or her medical conditions during the previous year (i.e., the date of service year). For
 2    risk adjustment payment purposes, these medical conditions must be documented by a
 3    qualified healthcare provider (e.g., a doctor) in the beneficiary’s medical record during
 4    the previous year. Accordingly, for risk adjustment payment purposes, the diagnosis
 5    codes that the healthcare provider, his or her administrative or billing support staff, or
 6    anyone else (such as the MA Organization or a Related Entity) assigns to a beneficiary
 7    must be supported by the beneficiary’s medical record.
 8    62.    Each beneficiary’s risk score is calculated anew for each payment year. For
 9    example, a beneficiary’s risk score for payment year 2012 is determined by the
10    diagnoses that his or her qualified healthcare providers documented in his or her medical
11    records during medical encounters during date of service year 2011.
12    63.    MA Organizations obtain diagnosis data from the healthcare providers that treat
13    the beneficiaries in their plans (as well as through other means and sources such as the
14    MA Organizations’ own medical record reviews). Healthcare providers can transmit
15    diagnosis codes to MA Organizations with claims for payment for services rendered, in
16    encounter records reporting the services rendered, or by alternative means. In this
17    Amended Complaint, the United States refers to diagnosis codes reported by providers
18    through any means as “provider-reported diagnoses.”
19    64.    MA Organizations submit risk adjustment data, including diagnoses, to CMS
20    using CMS’ Risk Adjustment Processing System (“RAPS”). Each RAPS submission
21    must include the following information: the Medicare beneficiary’s identification
22    number (called a “HIC number” or “HICN”); the date(s) of the medical encounter (the
23    physician office visit, hospital outpatient visit, or hospital inpatient stay); the type of
24    provider (physician or hospital); and the diagnosis code(s) reported by the provider for
25    the encounter. Each RAPS submission is a claim for payment. If the data submitted is
26    invalid, the claim is false.
27    65.    RAPS also has a field that is called a “Delete Indicator” and allows MA
28    Organizations and Related Entities to comply with their obligation to delete invalid
                                                     41
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 1    diagnoses that they previously submitted in order to withdraw or retract the invalid
 2    diagnoses. That is, the RAPS system enables MA Organizations and Related Entities to
 3    withdraw or retract their false claims for risk adjustment payments.
 4                               DEFENDANTS’ AGREEMENTS
 5           I.    The Annual Parts C and D Agreements
 6    66.    As previously explained, in order to participate in the MA Program, the Defendant
 7    MA Organizations were required to agree in writing to comply with the Part C and D
 8    regulations and any other terms and conditions CMS deemed appropriate. 42 C.F.R.
 9    §§ 422.504 & 422.505 (Part C); 42 C.F.R. §§ 423.504 & 423.505 (Part D). Each year
10    during the relevant time period, one or more executives of one or more of the UHG
11    Managing Defendants or their predecessors executed these written agreements or
12    renewals of these written agreements between the Defendant MA Organizations and
13    CMS.
14    67.    The regulations specifying the terms and conditions of the contractual relationship
15    between MA Organizations and CMS have remained the same for many years.
16    Accordingly, from year to year, the terms and conditions of these written agreements
17    between the Defendant MA Organizations and CMS remained very similar, if not
18    identical.
19    68.    The terms and conditions of the Part C agreements are exemplified by the attached
20    contract that Defendant UnitedHealthcare Plan of River Valley, Inc. entered into with
21    CMS relating to its participation in Medicare Part C in 2010. See Exhibit 1, attached
22    hereto. The terms and conditions of these Part C contracts include, among many other
23    things, that each of the MA Organizations agrees to (i) operate its Plans “in compliance
24    with the requirements of [the] contract and applicable Federal statutes, regulations, and
25    policies (e.g., policies as described in the Call Letter, Medicare Managed Care Manual,
26    etc.)” (Article II, Section A); (ii) “implement a compliance plan in accordance with the
27    requirements of § 422.503(b)(4)(vi)” (Article III, Section F); (iii) “[a]s a condition of
28    receiving a monthly payment under” the contract, “request payment under the contract
                                                   42
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 1    on the forms attached” to the contract, including “Attachment B (risk adjustment data)
 2    which attest[s] to (based on best knowledge, information and belief, as of the date
 3    specified on the attestation form) the accuracy, completeness, and truthfulness of the
 4    data identified on” Attachment B (Article IV, Section C) (emphasis in the original); (iv)
 5    ensure that related entities, contractors, and subcontractors that generated risk adjustment
 6    data also attest to the accuracy and truthfulness of the data (Article IV, Section C.2); (v)
 7    ensure that all agreements with related entities, contractors, and subcontractors specify
 8    that the related entities, contractors, and subcontractors “must comply with all applicable
 9    Medicare laws, regulations, and CMS instructions” (Article V, Section D(5)); and (vi)
10    comply with “Federal laws and regulations designed to prevent or ameliorate fraud,
11    waste, and abuse, including, but not limited to, applicable provisions of the Federal
12    criminal law [and] the False Claims Act (31 USC 3729 et seq.)” (Article IX, Section
13    A.1). In accordance with 42 C.F.R. § 422.510, the agreements also provided that CMS
14    may terminate the MA Organization’s participation in the MA Program if it determines
15    that the organization has submitted false data to it or “fail[ed] to provide CMS with valid
16    risk adjustment data.” Article VIII, Section B.1(a)(iv) & (vii).
17    69.   The agreements for other years were very similar, if not identical. For example, in
18    September 2010, Tom Paul, the Chief Executive Office of UnitedHealthcare Medicare &
19    Retirement, executed a new agreement between Defendant UnitedHealthcare of
20    California (the successor to PacifiCare of California) and CMS relating to this MA
21    Organization’s participation in Medicare Part C in 2011. See Exhibit 2, attached hereto.
22    By executing this contract, UnitedHealthcare of California agreed to, among many other
23    things, (i) operate its Plans “in compliance with the requirements of [the] contract and
24    applicable Federal statutes, regulations, and policies (e.g., policies as described in the
25    Call Letter, Medicare Managed Care Manual, etc.)” (Article II, Section A); (ii)
26    “implement a compliance plan in accordance with the requirements of §
27    422.503(b)(4)(vi)” (Article III, Section F); (iii) “[a]s a condition of receiving a monthly
28    payment under” the contract, “request payment under the contract on the forms attached”
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 1    to the contract, including “Attachment B (risk adjustment data) which attest[s] to (based
 2    on best knowledge, information and belief, as of the date specified on the attestation
 3    form) the accuracy, completeness, and truthfulness of the data identified on” Attachment
 4    B (Article IV, Section D); (iv) ensure that related entities, contractors, and
 5    subcontractors that generated risk adjustment data also attest to the accuracy and
 6    truthfulness of the data (Article IV, Section D.2); (v) ensure that all agreements with
 7    related entities, contractors, and subcontractors specify that the related entities,
 8    contractors, and subcontractors “must comply with all applicable Medicare laws,
 9    regulations, and CMS instructions” (Article V, Section D.5); and (vi) comply with
10    “Federal laws and regulations designed to prevent or ameliorate fraud, waste, and abuse,
11    including, but not limited to, applicable provisions of the Federal criminal law [and] the
12    False Claims Act (31 USC 3729 et seq.)” (Article IX, Section A.1). The agreement also
13    provided that CMS had the right to terminate the agreement with the MA Organization if
14    it determined that the organization had submitted false data to it or “fail[ed] to provide
15    CMS with valid risk adjustment data.” Article VIII, Section B.1(a)(iv) & (vii). In
16    September 2010, Paul also executed an agreement with CMS relating to
17    UnitedHealthcare of California’s offering of prescription drug benefits under Medicare
18    Part D. This Part D agreement was, in all respects relevant to this Amended Complaint,
19    very similar to the one described above for the offering of healthcare insurance benefit
20    packages under Part C. Furthermore, in September 2010, Tom Paul executed the same
21    Part C and D agreements on behalf of other of the Defendant MA Organizations. All
22    these agreements were very similar, if not identical, to the ones he executed for
23    UnitedHealthcare of California.
24    70.   In September 2011, August 2012, and August 2013, Scott Theisen, the Chief
25    Financial Officer of UnitedHealthcare Medicare & Retirement, executed agreements for
26    many of the Defendant MA Organizations relating to their participation in Medicare
27    Parts C and D for 2012, 2013, and 2014, respectively. See, e.g., Exhibits 3, 4, & 5,
28    attached hereto (Defendant UnitedHealthcare of California’s Parts C agreements for
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 1    these years). In August 2014 and 2015, Brian Thompson, the Chief Financial Officer of
 2    UnitedHealthcare Medicare & Retirement, executed agreements for many of the
 3    Defendant MA Organizations relating to their participation in Medicare Parts C and D
 4    for 2015 and 2016. See, e.g., Exhibits 6 & 7, attached hereto (Defendant
 5    UnitedHealthcare of California’s Part C agreements for these years). These agreements
 6    were, in all respects relevant to this Amended Complaint, very similar, if not identical, to
 7    the agreements described in the preceding paragraphs relating to the agreements for 2010
 8    and 2011 and imposed the same contractual obligations on the Defendant MA
 9    Organizations as the earlier agreements.
10    71.   The annual Attestations executed in order to renew existing contracts were also
11    very similar as shown by the following: In the fall of 2006, Jerry Knutson, the Chief
12    Financial Officer of Ovations and Jeff Putnam, the Chief Financial Officer of Secure
13    Horizons, executed Attestations renewing (for calendar year 2007) the existing contract
14    between PacifiCare of California (the predecessor of Defendant UnitedHealthcare of
15    California) and CMS. Knutson and Putnam attested that PacifiCare of California would
16    “comply with all applicable program guidance that CMS has issued to date and will issue
17    during the remainder of 2006 and 2007 pursuant to Medicare program authorizing
18    statutes and regulations, including but not limited to, . . . the CMS memoranda issued
19    through the Health Plan Management System (HPMS).” (HPMS is one of the web-
20    based systems used by CMS to provide program information to MA Organizations and is
21    used to communicate program requirements.) In September 2007, Joseph Haferman, the
22    Chief Financial Officer of Secure Horizons, executed another Attestation renewing the
23    existing contract for PacifiCare of California (this time for calendar year 2008).
24    Haferman thereby attested that PacifiCare of California would comply “with all
25    applicable program authorizing statutes and regulations and program guidance that CMS
26    has issued to date and will issue during the remainder of 2007 and 2008, including but
27    not limited to, . . . the Medicare Managed Care Manual, and CMS memoranda issued
28    through the Health Plan Management System (HPMS).” In September 2008, Kenneth
                                                   45
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 1    Burdick, the Chief Executive Officer of Secure Horizons at the time, executed another
 2    Attestation renewing the existing contract for PacifiCare of California (this time for
 3    calendar year 2009). Burdick thereby attested that PacifiCare of California would
 4    comply “with all applicable Medicare program authorizing statutes and regulations and
 5    program guidance that CMS has issued to date and will issue during the remainder of
 6    2008 and 2009, including but not limited to, . . . the Medicare Managed Care Manual,
 7    and the CMS memoranda issued through the Health Plan Management System
 8    (HPMS).” In September 2009, both Tom Paul, the Chief Executive Officer of Ovations,
 9    and John Way, the Chief Financial Officer of Secure Horizons, executed an Attestation
10    renewing the existing contract for PacifiCare of California (this time for calendar year
11    2010). They thereby attested that PacifiCare of California would comply “with all
12    applicable Medicare program authorizing statutes and regulations and program guidance
13    that CMS has issued to date or will issue during the remainder of 2009 and 2010,
14    including but not limited to, . . . the Medicare Managed Care Manual, and the CMS
15    memoranda issued through the Health Plan Management System (HPMS).”
16    72.   The United States hereby incorporates by reference as if they were recited herein
17    and attached hereto all of the agreements that all of the Defendant MA Organizations
18    entered into with CMS relating to their participation in Medicare Parts C and D for 2007
19    to present date. All of these agreements were, in all respects relevant to this Amended
20    Complaint, very similar, if not identical, to the agreements described in the preceding
21    paragraphs.
22          II.     The Electronic Data Interchange Agreements
23    73.   In addition, since at least 2003, MA Organizations and entities that submit risk
24    adjustment data on their behalf have been required to execute Electronic Data
25    Interchange (“EDI”) agreements prior to submitting risk adjustment data. These EDI
26    agreements are considered contracts by which the MA Organizations attest to the
27    accuracy of the data submitted. Even if another entity submits the data, the MA
28    Organizations are still responsible for the content of the submissions. See 2003 Regional
                                                  46
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 1    Risk Adjustment Training for Medicare+Choice Organizations Participant Guide, §
 2    6.1; 2004 Regional Risk Adjustment Training for Medicare+Choice Organizations
 3    Participant Guide, § 4.1; 2005 Risk Adjustment Data Basic Training for Medicare
 4    Advantage Organizations Participant Guide § 4.1; 2006 Risk Adjustment Data Basic
 5    Training for Medicare Advantage Organizations Participant Guide § 4.1; 2007 Risk
 6    Adjustment Data Training for Medicare Advantage Organizations Participant Guide §
 7    4.1; 2008 Risk Adjustment Technical Assistance for Medicare Advantage Organizations
 8    Participant Guide § 4.1; Risk Adjustment 101 Participant Guide § 2.1 (2013). See also
 9    Medicare Managed Care Manual, Chapter 7, § 111.6.1 (Rev. 57, 08-13-04); id. § 120.2.1
10    (Rev. 114, 06-07-13). By executing these EDI forms, the MA Organizations agree that
11    (i) they will be responsible for all risk adjustment data submitted to CMS by themselves,
12    their employees, and their agents; (ii) they will submit risk adjustment data that is
13    accurate, complete, and truthful based on best knowledge, information, and belief; (iii)
14    they will research and correct risk adjustment data discrepancies; and (iv) CMS has the
15    right to audit and confirm the risk adjustment data, including diagnoses, submitted by the
16    MA Organization and the right of access to the beneficiaries’ medical records to conduct
17    such audits.
18    74.   Each of the Defendant MA Organizations and Defendants Optum (and its
19    predecessor, Ingenix) and Ovations executed these EDI agreements and submitted them
20    to the MA Program in order to submit risk adjustment data to and receive risk adjustment
21    payments from the MA Program. Pursuant to the express terms of these EDI
22    agreements, these Defendants promised to submit valid risk adjustment data to the MA
23    Program and to research and correct any data discrepancies.
24    75.   For instance, in 2005, Joseph Haferman, the Chief Financial Officer of Defendant
25    Ovations, executed and submitted to CMS an EDI agreement in order to obtain a
26    “submitter ID” permitting Ovations to submit risk adjustment data on behalf of various
27    of the Defendant MA Organizations. See Exhibit 8, attached hereto. By executing this
28    agreement and submitting it to CMS on behalf of the “eligible organization,” which was
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 1    identified as “United Health Group – Ovations” on the form, Defendants UHG and
 2    Ovations and the Defendant MA Organizations each agreed that they would (i) be
 3    responsible for all risk adjustment data submitted to CMS by themselves, their
 4    employees, or their agents; (ii) submit accurate and truthful risk adjustment data; and
 5    (iii) research and correct discrepancies with its risk adjustment data. In addition, each
 6    of them agreed that CMS could audit the data and have access to medical records to
 7    conduct such audits.
 8    76.   Additional examples include the EDI agreements that James Higgins, the Finance
 9    Director of PacifiCare Health Systems, executed on behalf of the following Defendant
10    MA Organizations or their predecessors: On September 14, 2006, Higgins signed EDI
11    agreements for UnitedHealthcare Insurance Company of New York (contract numbers
12    H5515 and R5342); UnitedHealthcare Insurance Company (the name for a number of
13    different MA Organizations with contract numbers R3175, R5287, H1717, H2803,
14    H2001, H2003, H2111, H2408, H0624, H0620, H1303, H1509, H3921, H0319, H5500,
15    H2406, H4106, H3812, H3209, H5918, H5697, H5754, H0315, H2228, H1108, H4522,
16    H5532, H5516, H5507, H5440, H5417, H5424, H5008, H5527, H2226 and H5518);
17    PacifiCare of Nevada, Inc. (contract number H2949); PacifiCare of Arizona, Inc.
18    (contract number H0303); UnitedHealthcare of Alabama, Inc. (contract number H0151);
19    UnitedHealthcare of the Midwest, Inc. (contract number H2654); Oxford Health Plans
20    (CT), Inc. (contract number H0752); Oxford Health Plans (NJ), Inc. (contract numbers
21    H3113 and H3107); UnitedHealthcare of Ohio, Inc. (contract numbers H3659 and
22    H5678); UHC of California, then known as PacifiCare of California (contract number
23    H0543); UnitedHealthcare of Florida, Inc. (contract number H1080 and H9011);
24    UnitedHealthcare Benefits of Texas, Inc. (contract number H4590); UnitedHealthcare of
25    Utah, Inc. (contract number H4604); UnitedHealthcare of Arizona, Inc. (contract number
26    H0316); UnitedHealthcare of Arkansas, Inc. (contract number H0401); UnitedHealthcare
27    of Georgia, Inc. (contract number H1111); UnitedHealthcare of Tennessee, Inc. (contract
28    number H4406); UnitedHealthcare of New England, Inc. (contract number H4102);
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 1    UnitedHealthcare of Oregon, Inc. (contract number H3805); UnitedHealthcare of
 2    Oklahoma, Inc. (contract number H3749); UnitedHealthcare of New York, Inc. (contract
 3    number H3379); Oxford Health Plans (NY), Inc. (contract number H3307);
 4    UnitedHealthcare of the Midlands, Inc. (contract number H2802); UnitedHealthcare of
 5    North Carolina, Inc. (contract number H3456); PacifiCare of Colorado, Inc. (contract
 6    number H0609); Sierra Health and Life Insurance Company, Inc. (contract number
 7    H5652); UnitedHealthcare of Washington, Inc. (contract number H5005);
 8    UnitedHealthcare of Wisconsin, Inc. (contract number H5253); and UnitedHealthcare
 9    Community Plan of Texas, L.L.C. (contract number H4514). On November 2, 2006,
10    Higgins signed EDI agreements for UnitedHealthcare of the Midwest, Inc. (contract
11    number H3887), UnitedHealthcare Insurance Company of New York (contract number
12    H4720), and UnitedHealthcare Insurance Company (contract numbers H9418, H8000,
13    and H4779). On December 13, 2006, Higgins signed EDI agreements for
14    UnitedHealthcare Insurance Company (the name for a number of MA Organizations
15    with contract numbers H0408, H1286, H3435, H7274, H7254, H0410, and H6717) and
16    UnitedHealthcare of Wisconsin, Inc. (contract number H7187). On January 1, 2007,
17    Higgins signed an EDI agreement for UnitedHealthcare Insurance Company (contract
18    number H5435). On January 14, 2008, Higgins signed an EDI agreement for
19    UnitedHealthcare Insurance Company (contract numbers H3912 and H0710). See, e.g.,
20    Exhibit 9, attached hereto (September 14, 2006 EDI for PacifiCare of California).
21    Pursuant to these EDI agreements, each of these MA Organizations agreed that it would
22    (i) be responsible for all risk adjustment data submitted to CMS by itself, its employees,
23    or its agents; (ii) submit accurate and truthful risk adjustment data; and (iii) research and
24    correct discrepancies with its risk adjustment data. In addition, each of them agreed that
25    CMS could audit the data and have access to medical records to conduct such audits.
26    77.   In addition, on January 14, 2008, Patricia Rasmussen, who worked as a manager
27    for Ingenix, signed EDI agreements for UnitedHealthcare Insurance Company (contract
28    numbers H4971, H0710, H3912, H7698, H4971, H0710, H6793, H5749, and H6228),
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 1    UnitedHealthcare of New England, Inc. (contract number H1944), and UnitedHealthcare
 2    Insurance Company of New York (contract number H4720). On June 18, 2008,
 3    Rasmussen signed an EDI agreement for PacifiCare of Nevada, Inc. (contract number
 4    H7949). In January 2009, Rasmussen signed additional EDI agreements for
 5    UnitedHealthcare Insurance Company (contract numbers H7444, H8748, H2182, and
 6    H1949). Pursuant to these EDI agreements, each of these MA Organizations agreed that
 7    it would (i) be responsible for all risk adjustment data submitted to CMS by itself, its
 8    employees, or its agents; (ii) submit accurate and truthful risk adjustment data; and (iii)
 9    research and correct discrepancies with its risk adjustment data. In addition, each of
10    them agreed that CMS could audit the data and have access to medical records to
11    conduct such audits.
12    78.   On December 15, 2010, Timothy Noel, who was Vice President of Finance for
13    UnitedHealthcare Medicare & Retirement, signed an EDI agreement for Oxford Health
14    Plans (CT), Inc. (contract number H0755). On September 22, 2011, Noel signed an EDI
15    agreement for UnitedHealthcare Insurance Company of New York (contract number
16    H1537). Pursuant to these EDI agreements, each of these MA Organizations agreed that
17    it would (i) be responsible for all risk adjustment data submitted to CMS by itself, its
18    employees, or its agents; (ii) submit accurate and truthful risk adjustment data; and (iii)
19    research and correct discrepancies with its risk adjustment data. In addition, each of
20    them agreed that CMS could audit the data and have access to medical records to
21    conduct such audits.
22    79.   On April 27, 2011, Scott Theisen, the Chief Financial Officer of UnitedHealthcare
23    Medicare & Retirement, submitted an EDI agreement for PacifiCare of California, which
24    included all the same promises. On October 21, 2013, Theisen also signed EDI
25    agreements for Care Improvement Plus Wisconsin Insurance Company (contract number
26    H3794) and Care Improvement Plus South Central Insurance Co. (contract number
27    H5322). Accordingly, each of these Defendant MA Organizations also agreed that it
28    would (i) be responsible for all risk adjustment data (which includes encounter data)
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 1    submitted to CMS by itself, its employees, or its agents; (ii) submit accurate and truthful
 2    risk adjustment data; and (iii) research and correct discrepancies with its risk adjustment
 3    data. In addition, each of them agreed that CMS could audit the data and have access to
 4    medical records to conduct such audits.
 5    80.   Patricia Rasmussen also executed and submitted an EDI agreement so that Ingenix
 6    could submit risk adjustment data on behalf of the Defendant MA Organizations. See
 7    Exhibit 10, attached hereto. By doing this, Ingenix also agreed that it would (i) be
 8    responsible for all risk adjustment data submitted to CMS by itself, its employees, or its
 9    agents; (ii) submit accurate and truthful risk adjustment data; and (iii) research and
10    correct discrepancies with its risk adjustment data. In addition, it agreed that CMS
11    could audit the data and have access to medical records to conduct such audits. When
12    Ingenix became OptumInsight, Rasmussen also notified CMS (that is, CMS’ contractor
13    Palmetto, which helped operate RAPS) that its records should be updated to reflect that
14    OptumInsight was making the risk adjustment submissions for the Defendant MA
15    Organizations. Rasmussen identified OptumInsight as “part of Optum.” See Exhibit 11,
16    attached hereto.
17    81.   Jeffrey Dumcum, a Senior Vice President at Optum, also executed an EDI
18    agreement in May 2011 in order to submit risk adjustment data (also known as encounter
19    data) to the MA Program on behalf of many of the Defendant MA Organizations,
20    including those MA Organizations listed in a letter sent by Theisen to CMS’ contractor
21    in April 2011. By doing this, Dumcum agreed that Optum would be responsible for the
22    data it submitted, submit valid data, and research and correct data discrepancies. See
23    Exhibit 12, attached hereto.
24    82.   All EDI agreements executed by the UHG Managing Defendants on their own
25    behalf and on behalf of the Defendant MA Organizations are incorporated by reference
26    in this Amended Complaint as if they were recited in full and attached hereto.
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 1          III.   The Ingenix/Optum Service Agreements
 2    83.   Depending on the time period, Ingenix or Optum entered into internal agreements
 3    with Ovations or UnitedHealthcare regarding the risk adjustment-related services that
 4    Ingenix or Optum would provide to the Defendant MA Organizations. These services
 5    included, among other things, the submission of risk adjustment data to CMS and the
 6    management of the Chart Review, Claims Verification, and RACCR Programs. These
 7    internal agreements further confirm the parties’ joint and several obligations to the MA
 8    Program to submit accurate and truthful risk adjustment data and to investigate and
 9    correct any data discrepancies. These agreements also exemplify the UHG Managing
10    Defendants’ understanding of their joint and several obligations to the MA Program. All
11    of these agreements are incorporated herein by reference.
12    84.   By way of example, the Memorandum of Understanding (“MOU”) entered into
13    between Optum and UnitedHealthcare for risk adjustment-related services rendered by
14    Optum in 2011 exemplifies the obligations undertaken by Optum not only to
15    UnitedHealthcare but to the MA Program. That MOU was executed by Jerry Knutson,
16    Chief Financial Officer of Optum, and Scott Theisen, Chief Financial Officer of
17    UnitedHealthcare Medicare & Retirement. Paul Bihm at Optum, Relator Poehling at
18    UnitedHealthcare Medicare & Retirement, and Jason Bainbridge at UnitedHealthcare
19    Community & State were copied on the MOU. (The MOU referred to UnitedHealthcare
20    Medicare & Retirement and UnitedHealthcare Community & State collectively as
21    “UnitedHealth Group’s Public and Senior Markets Group (“PSMG”).” This is but one
22    of many examples of the confusion that Defendants have created by the way they used
23    names of groups and entities interchangeably.) Pursuant to the MOU, Optum was
24    compensated for its services through an “intercompany allocation of fees paid pursuant
25    to [a separate] Management Agreement.”
26    85.   Pursuant to this 2011 MOU, Optum provided many risk adjustment-related
27    services to the Defendant MA Organizations, including, but not limited to the
28    submission of risk adjustment data to CMS “pursuant to CMS risk adjustment rules and
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 1    requirements” and conducting the Chart Review, Claims Verification, and RACCR
 2    Programs. Importantly, Optum also agreed to (i) conduct “[p]rovider engagement and
 3    education regarding accurate and complete diagnostic coding and documentation”; (ii)
 4    “[c]ontribute (along with PSMG) to the level of accuracy and completeness of diagnostic
 5    coding for a respective population by identifying opportunities to improve
 6    documentation and coding for accuracy, facilitating improvement in accuracy by
 7    working directly with providers to improve documentation and coding practices, and
 8    executing the timely and accurate submission of claim coding information to CMS,
 9    thereby ensuring appropriate revenues are being paid by CMS for the underlying risk
10    inherent within the member population;” (iii) “[m]onitor[] the appropriateness and
11    accuracy of provider coding;” and (iv) conduct “[i]nternal validation testing of outlier
12    providers, internal validation testing of other sample populations and support CMS
13    validation requirements.”
14    86.   The 2011 MOU also included a “Medicare Advantage Regulatory Requirements
15    Appendix.” This Appendix included Optum’s agreement to (i) “comply with all
16    applicable federal and Medicare laws, regulations, and CMS instructions, including but
17    not limited to . . . federal laws and regulations designed to prevent or ameliorate fraud,
18    waste, and abuse, including but not limited to, applicable provisions of federal criminal
19    law [and] the False Claims Act (31 U.S.C. § 3729 et seq.);” (ii) “perform services and
20    provide the products set forth in the MOU in a manner consistent with and in compliance
21    with [the Defendant MA Organizations’] obligations under the CMS Contact[s]; “ and
22    (iii) certify in writing that the risk adjustment data it submitted to CMS was “accurate,
23    complete, and truthful, based on [its] best knowledge, information and belief.” The
24    Appendix further specified that UnitedHealthcare and the Defendant MA Organizations
25    were accountable to CMS for fulfilling their regulatory and contractual obligations under
26    the MA Program, including those that they had delegated to Optum under the MOU and,
27    thus, that they were responsible for overseeing and monitoring Optum’s performance
28    under the MOU.
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 1                    DEFENDANTS’ DATA INTEGRITY OBLIGATIONS
 2          I.     Obligation to Submit Valid Diagnoses
 3    87.   MA Organizations are entitled to risk adjustment payments based on the diagnosis
 4    codes that they submit to CMS only if the codes are from face-to-face medical
 5    encounters between the Medicare beneficiary and provider, the encounter occurred
 6    during the relevant date of service year, the provider was of a type and specialty
 7    acceptable for risk adjustment purposes, and at the time of the encounter, the provider
 8    documented the medical conditions identified by the diagnosis codes in the medical
 9    record based on acceptable documentation. In addition, codes should be based on
10    documented conditions that require or affect patient care treatment or management. See
11    Medicare Managed Care Manual, Chapter 7, Exhibit 30 (August 13, 2004) (stating that
12    diagnosis codes submitted for risk adjustment payments should be for documented
13    conditions that “require or affect patient care treatment or management”). See also 2008
14    Risk Adjustment Data Technical Assistance for Medicare Advantage Organizations
15    Participant Guide (“2008 RA Participation Guide”) at § 6.4.1.
16    88.   Risk adjustment claims are valid, and the resulting risk adjustment payments are
17    therefore proper and justified, only to the extent that the diagnosis codes submitted by
18    the MA Organizations are valid. The diagnoses must be coded according to the
19    International Classification of Diseases (ICD) Clinical Modification Guidelines for
20    Coding and Reporting (“ICD-9-CM” & “ICD-10-CM”) and documented with sufficient
21    clinical specificity. See Medicare Managed Care Manual, Chapter 7, Exhibit 30 (August
22    13, 2004). In addition, codes cannot be submitted for diagnoses that are only probable or
23    suspected, for diagnoses that are questionable, or for a condition that the provider is
24    trying to rule out. Id.
25    89.   Moreover, all diagnosis codes submitted by MA Organizations must be supported
26    by medical record documentation. The 2004 Medicare Managed Care Manual stated that
27    “M+C organizations [now known as MA Organizations] must submit risk adjustment
28    data that are substantiated by the physician or provider’s full medical record.” Medicare
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 1    Managed Care Manual, Chapter 7, § 111.8 (August 13, 2004). A later version of the
 2    Manual similarly states that MA Organizations “must . . . [e]nsure the accuracy and
 3    integrity of risk adjustment data to CMS. All diagnosis codes submitted must be
 4    documented in the medical record . . . .” Medicare Managed Care Manual, Chapter 7, §
 5    40 (June 2013). Also similarly, the 2003 Participant Guide stated that MA
 6    Organizations “must submit risk adjustment data that are substantiated by the patient’s
 7    medical record.” 2003 Regional Risk Adjustment Training for Medicare+Choice
 8    Organizations Participant Guide, § 4.1. This requirement was reiterated in the following
 9    CMS training guides and materials since 2003: 2003 Regional Risk Adjustment
10    Training for Medicare+Choice Organizations Participant Guide, §§ 12.3, 12.6; 2004
11    Regional Risk Adjustment Training for Medicare+Choice Organizations Participant
12    Guide, §§ 5.1, 5.5, 6.1.3; 2005 Risk Adjustment Data Basic Training for Medicare
13    Advantage Organizations Participant Guide §§ 4.1, 5, 5.1, 5.5, 8.7.3, 9.1, 9.2; 2006 Risk
14    Adjustment Data Basic Training for Medicare Advantage Organizations Participant
15    Guide §§ 5.1, 5.4, 5.5, 7.7.3, 8.1, 8.2; 2007 Risk Adjustment Data Training for Medicare
16    Advantage Organizations Participant Guide §§ 6.1, 6.4, 7.1, 7.2, 8.7.3; 2008 Risk
17    Adjustment Technical Assistance for Medicare Advantage Organizations Participant
18    Guide §§ 5.6, 6, 6.1, 6.4, 6.5, 7.1, 7.2; 2012 Regional Technical Assistance Participant
19    Guide § 2.2; Risk Adjustment 101 Participant Guide §§ 3.2.4; 4.3 (2013); Risk
20    Adjustment Webinar at p. 48 (July 1, 2014). Furthermore, in a 2003 Regional Risk
21    Adjustment Training for Medicare+Choice Organizations presentation, organizations
22    were advised to “[t]ake steps to ensure that medical documentation supports submitted
23    diagnoses.” Id. at §8-19.
24    90.   In connection with the requirement that the patient’s medical record support the
25    diagnosis(es) reported for him or her, the 2004 Medicare Managed Care Manual also
26    provided that “M+C organizations must maintain sufficient information to trace the
27    submitted diagnosis back to the hospital or physician that originally reported the
28    diagnosis. Since M+C organizations may submit summary level transactions without a
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 1    link to a specific encounter or claim, establishing an appropriate audit trail to the original
 2    source of the data requires diligent information management on the part of the M+C.”
 3    Medicare Managed Care Manual, Chapter 7, § 111.8 (August 13, 2004). Again, in the
 4    2005 Risk Adjustment Data Basic Training for Medicare Advantage Organizations
 5    Participant Guide § 8.7.3, CMS advised that “MA organizations should take steps to
 6    ensure that they have, or have access to, the proper medical documentation to support
 7    diagnoses being submitted for risk adjustment. MA organizations are responsible for the
 8    accuracy of the data they submit to CMS. Where necessary, they should obtain the
 9    proper documentation to support diagnoses and maintain an efficient system for tracking
10    diagnoses back to medical records.” This requirement was also reiterated in the
11    following CMS training guides: 2003 Regional Risk Adjustment Training for
12    Medicare+Choice Organizations Participant Guide, § 12.2; 2004 Regional Risk
13    Adjustment Training for Medicare+Choice Organizations Participant Guide, § 6.1.3;
14    2004 Regional Risk Adjustment Training for Medicare+Choice Organizations Resource
15    Guide at p. 20; 2005 Risk Adjustment Data Basic Training for Medicare Advantage
16    Organizations Participant Guide §§ 5.1, 9.1.3; 2006 Risk Adjustment Data Basic
17    Training for Medicare Advantage Organizations Participant Guide §§ 5.1, 7.7.3, 8.7.3;
18    2007 Risk Adjustment Data Training for Medicare Advantage Organizations Participant
19    Guide §§ 6.1, 7.1.4, 8.7.3; 2008 Risk Adjustment Technical Assistance for Medicare
20    Advantage Organizations Participant Guide §§ 5.6.3, 6.1; 2012 Regional Technical
21    Assistance Participant Guide § 2.2.
22    91.   Furthermore, the medical record relied on by an MA Organization to support
23    payment cannot be ambiguous. See 2008 RA Participation Guide at § 7.2.4.1 (stating
24    that risk adjustment claims and payments cannot be based on questionable diagnoses).
25    92.   CMS recognizes that risk adjusting based on health status creates a strong
26    incentive for MA Organizations to report invalid diagnoses. Thus, CMS engages in a
27    variety of program integrity activities, including training MA Organizations about their
28    obligations to submit valid data and withdraw invalid data. For example, in a 2003
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 1    Regional Risk Adjustment Training for Medicare+Choice Organization Questions &
 2    Answers document, CMS stated all information that is submitted must be correct. “If a
 3    plan identifies incorrect or invalid information that has been submitted, it must delete
 4    that information.” Likewise, in an August 9, 2005 Regional Training presentation made
 5    jointly by CMS and its contractor, Aspen Systems Corporation, called “Risk Adjustment
 6    Data Basic Training,” MA Organizations were told that they “must . . . Delete a
 7    diagnosis cluster [that is, a RAPS submission] when any data in that cluster are in error.”
 8    93.   In addition, for many years, CMS has conducted audits of diagnoses submitted by
 9    MA Organizations, known as Risk Adjustment Data Validation (“RADV”) audits. In
10    2001, when the old PIP-DCG model was in place, CMS alerted M+C organizations that
11    they were “required to submit medical records for validating encounter data” and that
12    “[m]edical record reviews of a sample of hospital encounters may be audited to ensure
13    the accuracy of diagnostic information.” Medicare Managed Care Manual, Chapter 7, §
14    110.3 (October 2001). In 2004, CMS revised the Manual to provide that “[a] sample of
15    risk adjustment data used for making payments may be validated against hospital
16    inpatient, hospital outpatient, and physician medical records to ensure the accuracy of
17    medical information. Risk adjustment data will be validated to the extent that the
18    diagnostic information justifies appropriate payment under the risk adjustment model.”
19    Medicare Managed Care Manual, Chapter 7, § 111.8 (August 13, 2004). The Manual
20    further explained that the MA Organizations must be prepared to locate and produce the
21    medical records to support the diagnoses codes that they submitted. Id. Federal
22    regulations also require MA Organizations and their providers to provide medical
23    records to CMS to validate the diagnoses they submitted for risk adjustment payments.
24    See 42 C.F.R. § 422.310(e).
25    94.   When making risk adjustment payments, CMS relies on MA Organizations to
26    exercise due diligence to ensure that provider-reported diagnoses are supported by
27    beneficiaries’ medical records and are otherwise accurate and truthful. This is why
28    insurance companies that want to participate in the MA Program must agree, through
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 1    their Part C and D agreements and their EDI agreements, to provide valid diagnostic data
 2    and investigate and delete invalid data. Moreover, this is why insurance companies that
 3    want to participate in the MA Program must (i) establish and implement effective
 4    compliance programs to ensure the integrity of their payment data, 42 CFR
 5    § 422.503(b)(4)(vi) (Part C compliance program regulation); 42 C.F.R.
 6    § 423.504(b)(4)(vi) (Part D compliance program regulation); (ii) annually attest to the
 7    accuracy and truthfulness of the diagnosis data that they submit for risk adjustment
 8    payments, 42 C.F.R. § 422.504(l) (Part C regulation); 42 C.F.R. § 423.505(k) (Part D
 9    regulation); and (iii) “comply with . . . Federal laws and regulations designed to prevent
10    or ameliorate fraud, waste, and abuse, including, but not limited to, applicable provisions
11    of Federal criminal law [and] the False Claims Act (31 USC §§ 3729 et seq.).” 42
12    C.F.R. § 422 (Part C regulation); 42 C.F.R. § 423 (Part D regulation).
13          II.    Obligation to Implement an Effective Compliance Program
14    95.   The implementation of an effective compliance program is a prerequisite to an
15    MA Organization’s obtaining and retaining payments under both Parts C and D of the
16    Medicare Program. Id. §§ 422.503(a) (Part C) & 423.504(b)(4)(vi) (Part D). One
17    purpose of requiring a compliance program is to ensure that MA Organizations submit
18    accurate and truthful information to CMS. 65 Fed. Reg. 40170-01 at 40264 (June 29,
19    2000).
20    96.   Specifically, each MA Organization must “[a]dopt and implement an effective
21    compliance program, which must include measures that prevent, detect, and correct non-
22    compliance with CMS’ program requirements as well as measures that prevent, detect,
23    and correct fraud, waste, and abuse.” 42 C.F.R. § 422.503(b)(4)(vi) (Part C); 42 C.F.R.
24    § 423.504(b)(4)(vi) (Part D). The compliance program “must, at a minimum, include
25    [certain] core requirements,” including (but not limited to):
26          (F)    Establishment and implementation of an effective system for routine
27                 monitoring and identification of compliance risks. The system
28                 should include internal monitoring and audits and, as appropriate,
                                                   58
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 1                 external audits, to evaluate the MA organization[’s], including first
 2                 tier entities’, compliance with CMS requirements and the overall
 3                 effectiveness of the compliance program.
 4          (G)    Establishment and implementation of procedures and a system for
 5                 promptly responding to compliance issues as they are raised,
 6                 investigating potential compliance problems as identified in the
 7                 course of self-evaluations and audits, correcting such problems
 8                 promptly and thoroughly to reduce the potential for recurrence, and
 9                 ensuring ongoing compliance with CMS requirements.
10                       (1)     If the MA organization discovers evidence of
11                       misconduct related to payment or delivery of items or services
12                       under the contract, it must conduct a timely, reasonable inquiry
13                       into that conduct.
14                       (2) The MA organization must conduct appropriate corrective
15                       actions (for example, repayment of overpayments, disciplinary
16                       actions against responsible employees) in response to the
17                       potential violation referenced in paragraph (b)(4)(G)(1) of this
18                       section.
19                       (3) The MA organization should have procedures to voluntarily
20                       self-report potential fraud or misconduct related to the MA
21                       program to CMS or its designee.
22    97.   A compliance program is not effective unless the MA Organization devotes
23    adequate resources to the program.
24          III.   Obligation to Attest to Validity of Risk Adjustment Data
25    98.   After the final deadline for their submission of risk adjustment data but before
26    their receipt of their final reconciliation payments for a given payment year, MA
27    Organizations must attest to the validity of their risk adjustment data, including
28    diagnoses, in a Risk Adjustment Attestation submitted to CMS. Specifically, the chief
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 1    executive officer, chief financial officer, or another individual with delegated authority
 2    to sign on behalf of one of these officers, and who reports directly to such an officer,
 3    must certify that the risk adjustment data that the MA Organization submitted to CMS
 4    was accurate, complete, and truthful.
 5    99.    An MA Organization must request payment on a document that contains this
 6    Attestation and the submission of this Attestation to CMS is a condition of receiving
 7    Risk Adjustment payments.
 8    100. The Part D regulations include a similar attestation for risk adjustment data,
 9    including diagnoses, submitted for risk adjustment payments under the prescription drug
10    program. Under the applicable Part D regulation, these attestations are referred to as
11    certifications. 42 C.F.R. § 423.505(k).
12    101. Every year, each MA Organization agrees in writing that:
13          [a]s a condition for receiving a monthly payment under paragraph B of this
14          article, and 42 CFR Part 422 Subpart G, the MA Organization agrees that its
15          chief executive officer (CEO), chief financial officer (CFO), or an
16          individual delegated with the authority to sign on behalf of one of these
17          officers, and who reports directly to such officer, must request payment
18          under the contract on the form[] attached hereto as . . . Attachment B (risk
19          adjustment data) which attest to (based on best knowledge, information and
20          belief, as of the date specified on the attestation form) the accuracy,
21          completeness and truthfulness of the data identified on these attachments.
22          ...
23          2. Attachment B requires the CEO, CFO, or an individual delegated with
24          the authority to sign on behalf of one of these officers, and who reports
25          directly to such officer, must attest to (based on best knowledge,
26          information and belief, as of the date specified on the attestation form) that
27          the risk adjustment data it submits to CMS under 42 CFR § 422.310 are
28          accurate, complete, and truthful. The MA Organization shall make annual
                                                   60
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 1          attestations to this effect for risk adjustment data on Attachment B and
 2          according to a schedule to be published by CMS. If such risk adjustment
 3          data are generated by a related entity, contractor, or subcontractor, then such
 4          related entity, contractor, or subcontractor must also attest to (based on best
 5          knowledge, information, and belief, as of the date specified on the
 6          attestation form) the accuracy, completeness, and truthfulness of the data.
 7          [422.504(l).]
 8    102. MA Organizations have an obligation to acquire knowledge, information, and
 9    belief about their risk adjustment data, including diagnoses, in order to both submit such
10    data and attest to the accuracy and truthfulness of the data. Nearly 17 years ago, CMS
11    put MA Organizations on notice that they were “responsible for making good faith
12    efforts to certify the accuracy, completeness, and truthfulness of the encounter [i.e., risk
13    adjustment] data submitted” for payments from the Medicare Program. 65 Fed. Reg.
14    40,170, 40,268 (June 29, 2000) (emphasis added); see also Medicare Managed Care
15    Manual, Chapter 7, § 110.2 (October 2001) (stating, under section titled “Certification of
16    Data Accuracy, Completeness, and Truthfulness,” that “CMS expects M+C
17    organizations [now known as MA Organizations] to design and implement effective
18    systems to monitor the accuracy, completeness, and truthfulness of encounter data [that
19    is, diagnoses from hospital inpatient stays under the old PIP-DCG risk adjustment
20    model] and to exercise due diligence in reviewing the information provided to CMS”);
21    Medicare Managed Care Manual, Chapter 7, § 111.7 (August 2004) (stating, under
22    section titled “Certification of Data Accuracy, Completeness, and Truthfulness,” that
23    “CMS expects M+C organizations [now known as MA Organizations] to design and
24    implement effective systems to monitor the accuracy, completeness, and truthfulness of
25    risk adjustment data and to exercise due diligence in reviewing the information provided
26    to CMS”). When MA Organizations fail to act in good faith and deliberately ignore or
27    recklessly disregard information about their submission of inaccurate or untruthful data,
28    their Risk Adjustment Attestations are false.
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 1          IV.    Obligation to Delete Invalid Diagnoses
 2    103. MA Organizations are obligated to delete invalid diagnoses previously submitted
 3    by them to RAPS or to use other available means to return risk adjustment payments
 4    based on invalid diagnoses. Their deletion of invalid diagnoses is the principal
 5    mechanism by which CMS is able to recalculate beneficiaries’ risk scores and ensure
 6    that the Government does not make improper risk adjustment payments to MA
 7    Organizations or that it recovers improper payments that were already made. In
 8    particular, the submission of diagnoses that are not supported by the beneficiaries’
 9    medical records and, thus, are invalid directly and necessarily causes CMS to make risk-
10    adjustment payments that it would not have made but for the submission of that false
11    data. Conversely, the “deletion” of previously-submitted diagnoses that are invalid
12    because they are not supported by the beneficiaries’ medical records directly and
13    necessarily causes CMS either to avoid paying for previously-submitted false diagnoses
14    or to recover payments it made for those false diagnoses. As a result, an MA
15    Organization’s failure to “DELETE” invalid diagnoses results in that MA Organization’s
16    retention of payments to which it was not entitled. Thus, both the submission of false
17    diagnostic data and the failure to correct false diagnosis data influence CMS’ payment,
18    including the amount of the risk-adjustment payment, if any, that it makes for any given
19    beneficiary based on his or her health status.
20    104. The obligation to delete invalid diagnoses previously submitted to RAPS or to
21    otherwise return risk adjustment payments based on invalid diagnoses arises from the
22    contractual relationship between MA Organizations and the Government, from
23    regulation, and from the retention of an overpayment and, thus, constitutes an
24    “obligation to pay . . . the Government” under the reverse false claims act provision of
25    the FCA. 31 U.S.C. §§ 3729(a)(1)(G) & (b)(3). The obligation is imposed on MA
26    Organizations by the following, among other things:
27          The MA Organizations’ execution of EDI agreements pursuant to which they
28          agree to “research and correct risk adjustment data discrepancies.” See supra
                                                   62
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 1          paragraphs 73-82 (describing these agreements). See also Exhibits 8-11, attached
 2          hereto (examples of EDI agreements that the Defendant MA Organizations
 3          executed).
 4          Regulations requiring MA Organizations to implement effective compliance
 5          programs and to “detect and correct non-compliance with CMS’ program
 6          requirements as well as . . . [to] prevent, detect, and correct fraud, waste, and
 7          abuse.” See supra paragraphs 95-97 (describing these regulations). Plus, the MA
 8          Organizations’ execution of agreements with CMS under Parts C and D pursuant
 9          to which they agree to implement effective compliance programs. See 42 C.F.R.
10          § 422.504(a) (stating that the agreement between an MA Organization and CMS
11          must include a provision by which the MA Organizations agree to comply with
12          the Part C regulatory requirements and general instructions issued by CMS). See
13          also supra paragraphs 66-72 (describing the Part C and D agreements); Exhibits 1-
14          7, attached hereto (examples of Part C agreements between the Defendant MA
15          Organizations and CMS by which the Defendant MA Organizations agreed to
16          implement effective compliance programs).
17          The regulations requiring the submission of the Risk Adjustment Attestations. See
18          supra paragraphs 98-102 (describing those regulations). Plus, the requirements set
19          forth in the Medicare Managed Care Manual and elsewhere that MA
20          Organizations exercise both good faith and due diligence in order to submit
21          truthful Risk Adjustment Attestations to the Government certifying that their risk
22          adjustment data is accurate and truthful. See supra paragraph 102. In addition,
23          the separate contractual requirement to submit Risk Adjustment Attestations and
24          to comply with the Medicare Managed Care Manual. See, e.g., Exhibits 1-7,
25          attached hereto (examples of the Defendant MA Organizations’ Parts C
26          agreements with CMS by which they agree to submit such Attestations and to
27          comply with the Medicare Managed Care Manual).
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 1          The requirement in the CMS’ Participant Guides that MA Organizations delete
 2          erroneous diagnosis data submitted to CMS. See 2003 Regional Risk Adjustment
 3          Training for Medicare+Choice Organizations Participant Guide, § 6.1;
 4          2004 Regional Risk Adjustment Training for Medicare+Choice Organizations
 5          Participant Guide, §§ 4.12 to 4.16; 2005 Risk Adjustment Data Basic Training for
 6          Medicare Advantage Organizations Participant Guide §§ 4.12 to 4.16; 2006 Risk
 7          Adjustment Data Basic Training for Medicare Advantage Organizations
 8          Participant Guide §§ 4.12 to 4.16; 2007 Risk Adjustment Data Training for
 9          Medicare Advantage Organizations Participant Guide §§ 4.12 to 4.16; 2008 Risk
10          Adjustment Technical Assistance for Medicare Advantage Organizations
11          Participant Guide §§ 4.12 to 4.16. This requirement is also included in 2014 and
12          2016 CMS training presentations. See infra paragraph 108. Plus, the regulatory
13          and contractual requirement that MA Organizations’ comply with CMS’
14          instructions and policies. See 42 C.F.R. § 422.504(a) (stating that the agreement
15          between an MA Organization and CMS must include a provision by which the
16          MA Organizations agree to comply with the Part C regulatory requirements and
17          general instructions issued by CMS) (emphasis added). See also, e.g., Exhibits 1-
18          7 hereto (examples of the Defendant MA Organization’s agreements to comply
19          with the CMS instructions and policies).
20          The requirement in the Medicare Managed Care Manual that “[i]f upon
21          conducting an internal review of submitted diagnosis codes, the [MA
22          Organization] determines that any ICD-9-CM diagnosis codes that have been
23          submitted do not meet risk adjustment submission requirements [which includes
24          medical record support for all diagnoses], the [MA Organization] is responsible
25          for deleting the submitted ICD-9-CM diagnosis codes as soon as possible.”
26          Medicare Managed Care Manual, Chapter 7, § 40 (June 2013). Plus, the
27          regulatory requirement that MA Organizations’ comply with the Manual and MA
28          Organizations’ contractual agreements to comply with the Manual. See 42 C.F.R.
                                                 64
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 1          § 422.504(a) (stating that the agreement between an MA Organization and CMS
 2          must include a provision by which the MA Organizations agree to comply with
 3          the Part C regulatory requirements and general instructions issued by CMS). See
 4          also, e.g., Exhibits 1-7 hereto (examples of the Defendant MA Organization’s
 5          agreements to comply with the Medicare Managed Care Manual).
 6    105. Related Entities are also obligated to delete invalid diagnoses previously
 7    submitted by them to RAPS or to use other available means to return risk adjustment
 8    payments based on invalid diagnoses. Like the MA Organizations to which they are
 9    related, they are required to comply with the Part C and D regulations, the Medicare
10    Managed Care Manual, the Participant Guides, and the other general instructions issued
11    by CMS. In addition, when they submit risk adjustment data to the MA Program on
12    behalf of their related MA Organizations, they are obligated to execute separate EDI
13    agreements and Risk Adjustment Attestations, both of which impose an obligation to
14    delete invalid diagnoses.
15    106. As previously explained, RAPS provides a means for MA Organizations and
16    others submitting data on their behalf (such as Ingenix and then Optum) to withdraw or
17    retract invalid diagnoses that they previously submitted to RAPS for risk adjustment
18    payments. The process of withdrawing or retracting invalid diagnosis codes is often
19    referred to as making “DELETES” because the field in RAPS that enables this to be
20    accomplished is called a “Delete Indicator.” The withdrawal or retraction of a diagnosis
21    codes is also often referred to as a “DELETE.”
22    107. CMS began instructing MA Organizations on the use of RAPS in the early 2000s
23    in order to facilitate the phase in, during the 2004 to 2007 time period, of the use of
24    diagnoses from physician office visits and hospital outpatient encounters to risk adjust
25    for health status using the HCC model. It issued Risk Adjustment Training Participant
26    Guides in order to provide instructions relating to, among other things, the use of RAPS
27    to submit and delete data. The 2003 Risk Adjustment Training Participant Guide stated:
28    “Now that the RAPS system is operational, effective October 1, 2002, the new system
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 1    allows for correction of risk adjustment data via the deletion process.” 2003 Regional
 2    Risk Adjustment Training for Medicare+Choice Organizations Participant Guide, § 6.11
 3    (titled “Modifying Risk Adjustment Data”). The 2003 Guide listed various reasons why
 4    risk adjustment data may need to be deleted, including in order to withdraw an erroneous
 5    diagnoses code. Id. at § 6.12.1. Finally, it stated that M+C organizations “must submit
 6    delete records” to correct erroneous diagnosis data. Id. at § 6.12.3. The Guide made
 7    very clear that deleting erroneous diagnoses was mandatory. Subsequent versions of the
 8    Guide have included the same mandatory deletion requirement and instructions. See
 9    2004 Regional Risk Adjustment Training for Medicare+Choice Organizations
10    Participant Guide, §§ 4.12 to 4.16; 2005 Risk Adjustment Data Basic Training for
11    Medicare Advantage Organizations Participant Guide §§ 4.12 to 4.16; 2006 Risk
12    Adjustment Data Basic Training for Medicare Advantage Organizations Participant
13    Guide §§ 4.12 to 4.16; 2007 Risk Adjustment Data Training for Medicare Advantage
14    Organizations Participant Guide §§ 4.12 to 4.16; 2008 Risk Adjustment Technical
15    Assistance for Medicare Advantage Organizations Participant Guide §§ 4.12 to 4.16.
16    108. The same mandatory requirement and instructions about deletions of invalid
17    diagnoses were also set forth in other CMS instructional materials used to train MA
18    Organizations. For instance, a 2003 presentation titled “Regional Risk Adjustment
19    Training for Medicare+Choice Organization Questions & Answers” instructed that “all
20    information that is submitted must be correct. If a plan identifies incorrect or invalid
21    information that has been submitted, it must delete that information.” These instructions
22    were also provided in CMS’ presentation slides for a July 1, 2014 Risk Adjustment
23    Webinar used to provide training to MA Organizations and others about how risk
24    adjustment operates. A training presentation that CMS made to MA Organizations and
25    others on June 23, 2016, also stated that it was the responsibility of each MA
26    Organization to “delete each instance of unsupported diagnoses from” RAPS. All of the
27    above-mentioned Participant Guides and other instructional materials also describe an
28    alternative method for deleting erroneous data using a Direct Data Entry system.
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 1    109. All of the above-mentioned Participant Guides and other instructional materials
 2    have been and continue to be available to all MA Organizations and others on a website
 3    hosted by a CMS contractor. See www.csscoperations.com. The 2003 to 2011 material
 4    is in the Training subsection under Risk Adjustment Processing System in the Archives
 5    and the 2012 to 2016 material is in the Training subsection under Risk Adjustment
 6    Processing System on the Home page.
 7    110. MA Organizations can delete invalid diagnoses both before and after the final
 8    deadline for RAPS data submissions, which is sometime during the year following the
 9    payment year at issue. The final deadline is only a submission deadline; it does not
10    pertain to deleting invalid diagnoses in order to withdraw them. See 42 C.F.R.
11    § 422.310(g)(2)(ii) (codifying pre-existing process permitting, after the final deadline,
12    only corrections to delete diagnoses from previously-submitted risk adjustment data).
13    Diagnoses deleted before the deadline for RAPS data submissions for a payment year are
14    known as “open-period deletes” and diagnoses deleted after the deadline for RAPS data
15    submissions for a payment year are known as “closed-period deletes.”
16    111. Because the final submission deadline is after the completion of the payment year,
17    monthly payments made during the payment year are interim payments. After the final
18    submission deadline, CMS determines if any adjustments to these interim monthly
19    payments are necessary based on all diagnoses submitted (and not deleted) for each
20    beneficiary up until the final submission deadline and re-calculates each beneficiary’s
21    risk score for the payment year to determine if it has changed and whether a plus or
22    minus adjustment to the payment for the beneficiary is necessary. If the beneficiary’s
23    risk score is higher because of the submission of additional diagnoses for that
24    beneficiary, CMS makes a final reconciliation payment of any additional payment owed
25    to the Plan for that beneficiary for that payment year. Conversely, if the beneficiary’s
26    risk score is lower because of the deletion of diagnoses for that beneficiary prior to the
27    final submission deadline, CMS recovers the payments associated with the deleted
28    diagnoses as part of this final reconciliation payment process.
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 1    112. Accordingly, if, prior to the final submission deadline, an MA Organization is in
 2    possession of or has access to information about invalid diagnoses, it should delete
 3    invalid diagnoses prior to that deadline to ensure that the final reconciliation payment
 4    that it is claiming is correct. If, however, an MA Organization comes into possession or
 5    otherwise gains access to information about invalid diagnoses after the final submission
 6    deadline, it must still delete the invalid diagnoses, and CMS will still recover the risk
 7    adjustment payments associated with the deleted diagnoses as part of additional risk
 8    score rerun and reconciliation processes it has in place to recover overpayments.
 9    113. The UHG Managing Defendants knew how to make deletes in RAPS. They also
10    knew the difference in making “open-period” and “closed-period” deletes. The
11    individuals who knew about the delete process and the difference between “open-period”
12    and “closed-period” deletes included, but were not limited to: Rebecca Martin, the
13    Director of Encounter Operations for Ingenix and then the Director of Data Remediation
14    for Optum; Jon Bird at Optum; and Scott Theisen and Brian Thompson at
15    UnitedHealthcare Medicare & Retirement.
16    114. However, Defendants violated the FCA by knowingly and improperly failing to
17    delete many invalid diagnoses and, thus, failing to repay risk adjustment payments to
18    which they were not entitled.
19                                    THE FALSE CLAIMS ACT
20    115. The FCA reflects Congress’s objective to “enhance the Government’s ability to
21    recover losses as a result of fraud against the Government.” S. Rep. No. 99-345, at 1
22    (1986), available at 1986 U.S.C.C.A.N. 5266. First, a defendant violates the FCA when
23    it “knowingly presents, or causes to be presented, a false or fraudulent claim for payment
24    or approval.” 31 U.S.C. § 3729(a)(1)(A). Under the FCA, a claim includes a request for
25    money. Id., § 3729(b)(2). Further, a claim is “false or fraudulent” under the FCA if the
26    entity or person submitting the claim was not entitled to payment.
27    116. Second, after the 2009 amendments to the FCA by the Fraud Enforcement and
28    Recovery Act of 2009 (“FERA”), Pub.L. 111-21 (May 20, 2009), a defendant violates
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 1    the FCA when it “knowingly makes, uses, or causes to be made or used, a false record or
 2    statement material to a false or fraudulent claim.” 31 U.S.C. § 3729(a)(1)(B). Prior to
 3    FERA, a defendant violated this provision of the FCA when it “knowingly [made],
 4    use[d], or cause[d] to be made or used, a false record or statement to get a false or
 5    fraudulent claim paid or approved by the Government.”
 6    117. Third, in May 2009, Congress amended the “reverse false claims act” provision of
 7    the FCA to provide that a defendant violates the FCA when it “knowingly conceals or
 8    knowingly and improperly avoids or decreases an obligation to pay or transmit money or
 9    property to the Government.” 31 U.S.C. § 3729(a)(1)(G) (emphasis added). Prior to
10    FERA, this provision of the FCA provided that a defendant violates the FCA when it
11    “knowingly makes, uses, or causes to be made or used, a false record or statement to
12    conceal, avoid, or decrease an obligation to pay or transmit money or property to the
13    Government.” After FERA, a defendant violates this provision of the FCA when it
14    “knowingly makes, uses, or causes to be made or used, a false record or statement
15    material to an obligation to pay or transmit money or property to the Government, or
16    knowingly conceals or knowingly and improperly avoids or decreases an obligation to
17    pay or transmit money or property to the Government.” 31 U.S.C. § 3729(a)(1)(G)
18    (emphasis added).
19    118. Under the FCA, the terms “knowing” and “knowingly” mean that the defendant
20    had actual knowledge of or acted in deliberate ignorance or reckless disregard of
21    information relating to the truth or falsity of its claims for payment or its false records or
22    statements. Id. § 3729(b)(1)(A). Proof that the defendant had specific intent to defraud
23    the Government is not required. Id. § 3729(b)(1)(B). Congress included “deliberate
24    ignorance” in its definition of the terms “knowing” and “knowingly” to hold a defendant
25    accountable for failing to make the inquiry that a reasonable and prudent person or entity
26    would have made under the circumstances to be reasonably certain that he, she, or it was
27    entitled to the money that he, she, or it sought from the Government. S. Rep. No. 99-
28    345, at 21 (1986), as reprinted in 1986 U.S.C.A.N. 5266, 5286. The terms “knowing”
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 1    and “knowingly” used in this Amended Complaint have the meaning ascribed to them by
 2    the FCA. Similarly, the terms “knowledge,” “knows” and “knew” are used in this
 3    Amended Complaint to have the same meaning.
 4    119. In 2009, Congress also amended the FCA to provide a definition of the term
 5    “obligation” for the purpose of the new “reverse false claims act” provision of the
 6    statute, section 3729(a)(1)(G). See FERA, Pub. L. 111-21, 123 Stat. 1617, 1621-25
 7    (2009). It defined the term to mean “an established duty, whether or not fixed, arising
 8    from an express or implied contractual … relationship, from a fee-based or similar
 9    relationship, from statute or regulation, or from the retention of any overpayment.” 31
10    U.S.C. § 3729(b)(3) (emphasis added). Congress promulgated this definition to reflect
11    its long-held view that an “obligation” under the FCA’s reverse FCA provision, 31
12    U.S.C. § 3729(a)(1)(G), encompasses non-fixed and contingent duties to pay or repay
13    monies to the Government. S. Rep. 111-10, 14, 2009 U.S.C.C.A.N. 430, 441.
14    120. Under the FCA, “material” means “having a natural tendency to influence, or
15    capable of influencing, the payment or receipt of money or property.” Id. § 3729(b)(4).
16    121. Under the FCA, the Government is entitled to recover three times the amount of
17    damages which it sustained because of a defendant’s violation of the statute and, for each
18    act by the defendant violating the statute, a civil penalty. For violations that occurred
19    before November 2, 2015, the FCA imposes a penalty for each violation of not less than
20    $5,500 and not more than $11,000. For violations occurring after November 2, 2015, all
21    civil statutory penalties, including the FCA, are subject to an annual adjustment for
22    inflation pursuant to Section 701 of the Bipartisan Budget Act of 2015, Public Law 114-
23    74 (No. 2, 2015) (“BBA”). At this time, by operation of the BBA, for violations that
24    occurred after November 2, 2015, the FCA imposes a penalty of not less than $10,957
25    and not more than $21,916 per violation, and these amounts are subject to annual
26    adjustment for inflation in future years. See 28 C.R.F. § 85.5 (identifying applicable
27    inflation adjustments on an annual basis).
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 1                                          THE FACTS
 2    122. Since at least 2005, Defendants knew that diagnoses submitted to Medicare for
 3    risk adjustment payments had to satisfy various criteria and be supported and validated
 4    by the medical records of the beneficiaries in their MA Plans. Defendants also knew that
 5    many provider-reported diagnoses were not supported and validated by the beneficiaries’
 6    medical records and that they were obliged to undertake good faith efforts to identify and
 7    delete those unsupported and invalid diagnoses. Moreover, Defendants knew that they
 8    were obligated to “look both ways” at the results of their chart reviews and delete
 9    unsupported provider-reported diagnoses. Nonetheless, Defendants conducted millions
10    of medical record reviews as part of their revenue-generating national Chart Review
11    Program, turned a blind eye to the negative results of those reviews showing hundreds of
12    thousands of unsupported diagnoses that the UHG Managing Defendants had previously
13    submitted to Medicare on behalf of the Defendant MA Organizations, and knowingly
14    and improperly avoided repaying Medicare for at least over a billion dollars in risk
15    adjustment payments to which they were not entitled. Similarly, Defendants disregarded
16    information from their RACCR Program about invalid coding practices by their
17    incentivized capitated and gain-sharing providers and failed to repay Medicare for
18    additional erroneous payments based on their invalid diagnoses.
19          I.     Defendants Knew That Many Provider-Reported Diagnoses
20                 Were Invalid And That They Were Obligated To Undertake
21                 Good Faith Efforts To Identify And Delete Them
22    123. As part of its 2005 acquisition of PacifiCare, UHG retained the PacifiCare
23    employees with knowledge about the requirements for the submission of valid
24    diagnoses, the obligation to delete invalid diagnoses, and the various problems relating
25    to the invalidity of provider-reported diagnoses. UHG retained these PacifiCare
26    employees to continue performing work relating to risk adjustment.
27    124. For example, Jeffrey Dumcum, Stephanie Will, Pam Holt, and Pam Leal were all
28    former PacifiCare employees knowledgeable about risk adjustment and were retained by
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 1    UHG to run its risk adjustment programs. Dumcum had been PacifiCare’s Chief
 2    Financial Officer and, after the acquisition, became Vice President of Finance for
 3    Ovations. Will had been a Principal Analyst at PacifiCare who designed risk adjustment
 4    programs and, after the acquisition, joined Ovations as the Program Manager for the
 5    national Chart Review Program. Holt had been a Project Manager for Network
 6    Management Operations at PacifiCare and, after the acquisition, became the Manager of
 7    Provider Outreach for the Risk Adjustment Program. Leal had been an Executive
 8    Director of Provider Training and Development for PacifiCare and, after the acquisition,
 9    became a Regional Vice President for Market Consultation.
10    125. From 2005 to 2007, Dumcum, Will, Holt, and Leal worked at the PacifiCare
11    office in the Central District of California. Thereafter, Holt and Leal continued to work
12    for Ingenix at its office in the Central District of California.
13    126. The PacifiCare employees obtained their knowledge about risk adjustment from
14    various sources, including CMS. Will attended CMS training programs focused on the
15    Risk Adjustment Participant Guide and was also familiar with the content of this
16    document based on her reading of it. Prior to the acquisition, PacifiCare also conducted
17    various risk adjustment programs, including a chart review program, and provided
18    training to healthcare professionals concerning medical record documentation and
19    diagnosis coding.
20    127. In addition, PacifiCare had been a member of an industry association called the
21    Industry Collaboration Effort (“ICE”) and ICE’s Risk Adjustment Data Acquisition &
22    Reporting (“RADAR”) team. ICE was an association of MA Organizations and provider
23    groups in California that served beneficiaries in MA Plans. ICE focused on risk
24    adjustment issues and other matters of particular importance to the managed care
25    industry. After PacifiCare became part of UHG, the PacifiCare employees continued to
26    participate in ICE and its RADAR team. During the 2006 and 2007 time period (perhaps
27    longer), Leal was the President and a member of the Board of Directors of ICE. Leal
28    continued in a leadership role at ICE until 2013. During that time period, she worked for
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 1    Ingenix and then Optum. At the ICE Annual Conferences in 2006 and 2007, Leal made
 2    presentations about “[p]rovider coding [being] highly inaccurate and incomplete,” CMS
 3    reviews showing that 30 percent of the provider-reported diagnoses were not supported
 4    by medical records, and the use of chart reviews to generate larger risk adjustment
 5    payments. Furthermore, throughout the time period relevant to this Amended
 6    Complaint, one or more of the Defendants were members of ICE and, at various times,
 7    employees of Ingenix, Optum, UnitedHealthcare of California, and UnitedHealthcare
 8    participated in the activities of the RADAR team. As reflected in the meeting minutes of
 9    the RADAR team, these Defendants included Ingenix (e.g., August 2011),
10    UnitedHealthcare of California (e.g., March 2014), Optum (e.g., November 2014, June
11    2015, and March 2016), and UnitedHealthcare (e.g., June 2015 and March 2016).
12    128. The former PacifiCare employees knew that a beneficiary’s medical record was
13    the “source of truth” for purposes of submitting valid diagnostic data to the MA Program
14    for risk adjustment payments. For example, in a March 2006 email, Will acknowledged
15    that diagnosis data had to be “fully supported by medical record documentation.” As
16    another example, in 2008, Ingenix sent notices to capitated provider groups in California
17    instructing them that they should only report to Ingenix “diagnosis codes that can be
18    supported by the documentation in the medical record.” Furthermore, according to
19    Randall Myers at Ingenix, these providers, when they submitted diagnoses through a
20    web portal referred to as the Alternate Submission Method, were required to attest that
21    their diagnostic data complied with CMS requirements for the submission of valid data.
22    Other employees of the UHG Managing Defendants also understood these requirements,
23    including Patty Brennan who, when she was Director of Retrospective Services
24    (including chart review services) at Ingenix and then Optum, acknowledged that CMS’
25    Risk Adjustment Participant Guide established that the medical record was the “one
26    source of truth” for MA Organizations to ensure that they were submitting accurate data
27    to CMS for risk adjustment payments. In addition, Kimberly Halva, the Compliance
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 1    Officer for UnitedHealthcare Medicare & Retirement from 2010 to 2013, was aware that
 2    “[a] medical record must substantiate all diagnostic information provided to CMS.”
 3    129. In addition, those Defendants and their employees involved in ICE and its
 4    RADAR team knew or should have known that enrollees’ medical records are the
 5    “source of truth” based on guidance documents issued by the RADAR team about this
 6    fundamental payment requirement. In 2010, ICE’s RADAR team issued a guidance
 7    document highlighting that CMS requires complete and accurate documentation of
 8    medical conditions for the submission of diagnoses, that only diagnoses depicting
 9    documented medical conditions which required or affected patient care are valid, and
10    that diagnosis codes cannot be submitted “until [the provider] is sure the patient has the
11    condition.” The ICE RADAR Physician Education Work Group also issued a similar
12    document called “Best Practices for Risk Adjustment,” which advised that “ICD-9-CM
13    coding requires documentation of the diagnosis in the medical record as well as
14    evaluation and management. Documentation should indicate how this diagnosis
15    impacted this episode of care.” In 2012, ICE also issued a Medical Record
16    Documentation Tips sheet, which once again warned MA Organizations and providers
17    not to code diagnoses that are probable, suspected, questionable, or “working
18    diagnoses,” and also not to code diagnoses when medical records use “other similar
19    terms indicating uncertainty.” More recently, in 2013, ICE issued a “Documentation
20    Newsletter” that repeated earlier advice and also cautioned that “[c]oding guidelines
21    prohibit coders from making assumptions” regarding whether a diagnosis is or is not
22    substantiated by a patient’s medical record. (Emphasis in the original.) That is, the
23    medical record must “clearly reflect” the medical condition.
24    130. The former PacifiCare employees also were aware that provider-reported
25    diagnoses often did not comply with CMS requirements and were often inconsistent with
26    the information in their patients’ medical records. According to Dumcum, when he was
27    the Chief Financial Officer of PacifiCare, he and others there knew “in Medicare
28    Advantage that the claims did not always match the medical record documentation. So
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 1    … we were concerned that it should be a place that we try to improve, that we try to
 2    educate and try to identify things to make that better.” In addition, Will, Holt and other
 3    former PacifiCare employees were aware of common diagnosis coding errors made by
 4    providers. They learned of these problems from PacifiCare employees working in the
 5    field with physicians, reports of physician-coding trends, and reports from PacifiCare-
 6    employed certified coders. For example, a June 2003 PacifiCare PowerPoint
 7    Presentation by Will, Holt, and other PacifiCare employees identified diabetes as a
 8    medical condition that was often miscoded.
 9    131. In 2005, the PacifiCare employees, including Dumcum, Will, Leal, and Holt, were
10    also aware of a data validation review conducted by the Government of diagnosis codes
11    previously submitted for medical encounters that occurred in 2003 (i.e., encounters with
12    2003 dates of service). The PacifiCare employees were aware that the results of CMS’
13    medical record reviews showed that approximately 30 percent of the provider-reported
14    diagnoses were invalid and, after UHG acquired PacifiCare, Dumcum, Will, and Leal
15    shared this information with other individuals who worked for various UHG Managing
16    Defendants such as Jerry Knutson, Lee Valenta, Cynthia Polich, Relator Poehling, Paul
17    Bihm, Janice Redmond, and Carol Thompson. Furthermore, the results from this CMS
18    review also put the former PacifiCare employees on notice that providers were reporting
19    codes that were just plain wrong, were coded from laboratory reports, and did not reflect
20    current medical conditions – all of which was in breach of the fundamental rules that the
21    diagnosis codes submitted to Medicare must be accurate and truthful, based on face-to-
22    face visits (e.g., not lab reports), reflect current conditions, and otherwise be valid.
23    132. Moreover, the former PacifiCare employees were aware that MA Organizations
24    are not entitled to risk adjustment payments based on diagnoses that are unsupported by
25    the beneficiaries’ medical records, and that CMS expected health plans to delete
26    incorrect diagnoses submitted for risk adjustment payments. They also knew, based on
27    their experiences at PacifiCare, that CMS could audit the diagnoses MA Organizations
28    submitted for risk adjustment payments.
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 1    133. In fact, in April 2005, Holt participated in a “CMS data validation call” in which
 2    CMS explained that it expected MA Organizations to correct invalid diagnoses
 3    submitted to Medicare for risk adjustment payments. Holt reported this to Will and
 4    suggested creating a spreadsheet to give to providers for providers to use to inform
 5    PacifiCare of invalid diagnoses and allow PacifiCare to delete them. As part of this
 6    discussion, Leal explained to Will that, if provider groups “during their chart audits find
 7    that physicians have documented rule-out or history-of but coded as if the member had
 8    [the medical condition,] they want to be able to fix it so when we get audited again by
 9    CMS it is fixed.” Leal further stated that “[o]bviously, as issues are identified there will
10    need to be education to physician[s] on changing their practice of coding incorrectly (as
11    you remember Dr. Norman mentioned habits doctors have, that we will need to break).”
12    Holt agreed that provider groups
13          need something ‘standardized and formalized’ so they know what fields to report
14          if and when they find any obvious discrepancies. They are the type of thing that
15          Pam [Leal] stated in her email below, the code of the actual disease when the
16          documentation clearly only supports ‘history of’ or ‘suspected’ (and then it was
17          not confirmed), or an obvious miscode; the things that Melissa [Ferron] is finding
18          in the data validation. Provider groups will find this during their own chart audits.
19          and CMS “was very firm that we need to be doing this, so I would expect [CMS]
20          will look for our process when they get around to more formally auditing our
21          oversight of this process.”
22    134. In addition, in August 2006, a year after the April 2005 CMS validation call, Will
23    and Holt knew that CMS had confirmed, in responses to questions about its RADV
24    audits, that it would invalidate diagnoses submitted to Medicare that were not supported
25    by the beneficiaries’ medical records.
26    135. After PacifiCare became part of UHG, the former PacifiCare employees began
27    educating others at the UHG Managing Defendants about risk adjustment. In particular,
28    Dumcum made a series of presentations to various employees, including senior
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 1    management employees of the UHG Managing Defendants such as Ovations’ Jerry
 2    Knutson, where he explained that “[p]rovider coding is highly inaccurate and
 3    incomplete” and that “more than 30% of coded conditions are not supported by CMS
 4    validation findings.” Other senior executives or managers of the UHG Managing
 5    Defendants that were recipients of the slide presentation with this information included
 6    Cynthia Polich at Ovations (who was emailed a copy of the presentation in March 2007),
 7    Lee Valenta at Ingenix (to whom Knutson emailed a copy of the presentation in May
 8    2007), and Relator Poehling.
 9    136. Furthermore, Defendants’ own data revealed and confirmed problems with
10    provider-reported diagnoses. In September 2006, Will, Holt, Leal, and others generated
11    a list of providers that were outliers, which, at that time, they defined as providers with
12    significantly above average patient risk scores. This information made them “question
13    the validity” of these providers’ codes. These provider groups included Healthcare
14    Partners Medical Group, Edinger Medical Group, WellMed, and other incentivized
15    provider groups which, based on subsequent reviews conducted as part of the RACCR
16    Program, submitted significant numbers of invalid diagnoses. After 2006, Ingenix and
17    then Optum continued to track risk scores of beneficiaries cared for by various provider
18    groups and saw risk scores they considered to be outliers. They also generated
19    prevalence reports that identified the provider groups with abnormally high average risk
20    scores. These prevalence reports also identified specific medical conditions (or
21    categories of medical conditions, that is, HCCs) that were reported by various provider
22    groups at rates significantly above average.
23    137. In 2007, Dumcum and other former PacifiCare employees were given the
24    responsibility for creating and then managing a risk adjustment service group within
25    Ingenix, the predecessor to Optum. This enabled UHG to move the risk adjustment
26    operations to Ingenix. Ovations and later UnitedHealthcare became Ingenix’s internal
27    “client.” This move also enabled Ingenix to offer its risk adjustment services to other
28    MA Organizations which it referred to as its “commercial clients.” Dumcum became
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 1    Senior Vice President and Will became Vice President of Risk Adjustment Programs for
 2    this new risk adjustment service group within Ingenix. After 2007, Ingenix hired
 3    additional employees and increased the size of the Ingenix risk adjustment group,
 4    including the size of the group in this District. The Ingenix risk adjustment group in this
 5    District was responsible for, among other things, risk adjustment data/diagnosis codes
 6    submissions, risk adjustment data remediation and the deletion of invalid diagnoses, risk
 7    adjustment data analytics and finance (e.g., tracking the results and financial impact of
 8    the Chart Review and Claims Verification Programs), provider outreach and programs
 9    relating to risk adjustment, and the Chart Review Program operations.
10    138. In January 2007, Dumcum made a presentation in which he stated that the
11    validation of provider-reported diagnosis codes had to improve. Dumcum knew that
12    providers were reporting unsupported diagnoses and that both fee-for-service and
13    capitated providers needed to improve their validation rates.
14    139. Prior to this, in 2006, Dumcum, Will, Holt and others had already participated in
15    discussions about conducting an Internal Data Validation (“IDV”) Program focused on
16    the validity of provider-reported diagnoses. The purpose of the IDV Program was to
17    determine whether the physicians’ medical records supported the diagnoses they
18    reported to the UHG Managing Defendants, who in turn submitted the diagnoses to
19    Medicare for risk adjustment payments.
20    140. In February 2007, Will, Holt, and Patricia Rasmussen, Manager of Encounter
21    Submissions at Ingenix, were informed of specific provider-reported codes that were
22    reported based on “faulty coding.” For example, Sharp Community Medical Group in
23    California submitted a diagnosis tracking to HCC 155 (Major Head Injury) but there was
24    “no documentation to support intracranial injury.” Likewise, Monarch/South Coast,
25    located in this District, submitted a diagnosis tracking to HCC 17 but there was “[n]o
26    documentation of diabetes or diabetic complication[.]” Will, Holt, and Rasmussen were
27    requested to remove, or delete, these codes before the final submission deadline but
28    Rasmussen replied that they did not have resources and could not do this.
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 1    141. In addition, UHG Managing Defendants knew that a significant percentage of
 2    provider-reported diagnoses were invalid based on audits performed by CMS and similar
 3    internal audits or reviews that they performed. For example, one such audit was
 4    performed on diagnoses submitted for 2004 date of service medical encounters (e.g.
 5    physician office visits) that mapped to 1,231 HCCs. The results were reported in a
 6    September 2007 Risk Adjustment Programs presentation sent by Dumcum to Relator
 7    Poehling. The presentation showed that no support was found in the beneficiaries’
 8    medical records for 32 percent of the HCCs at issue. That is, the records did not confirm
 9    the diagnoses mapping to 32 percent of the HCCs under review. The same presentation
10    showed the results of another audit of diagnoses submitted for 2005 date of service
11    medical encounters that mapped to 1,160 HCCs. It showed that, as of the date of the
12    presentation, 18 percent of the HCCs were “NOT supported” and another 8 percent were
13    most likely not supported.
14    142. In October 2007, Ingenix also emphasized the fact that more than 30 percent of
15    provider-reported diagnoses were unsupported by the beneficiaries’ medical records as a
16    selling point for the risk adjustment services, including data validation services, that it
17    marketed to another MA Organization.
18    143. During the 2007 and 2008 time period, Ingenix implemented the IDV Program.
19    The program focused on physicians in California, Missouri, Texas, and Washington who
20    reported more than three times the number of diagnoses than the average. The program
21    was very small in scope, but the results confirmed that providers reported many invalid
22    diagnoses. In January 2008, the results for medical encounters in 2006 showed a 30
23    percent invalidation rate. That is, approximately 30 percent of provider-reported
24    diagnoses were invalid, which was consistent with what the PacifiCare employees had
25    known since at least 2005. In January 2008, these results were sent to Will, Holt, and
26    Rasmussen.
27    144. Accordingly, by at least 2005, the former PacifiCare employees Dumcum, Will,
28    Holt, and Leal knew that at least 30 percent of provider-reported diagnoses were not
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 1    supported by the beneficiaries’ medical records; by at least 2007, Dumcum had imparted
 2    this knowledge to others at the UHG Managing Defendants; and, by at least 2008, the
 3    UHG Managing Defendants’ own medical record reviews had confirmed that fact.
 4    145. Additional evidence demonstrates that, by at least the 2007 and 2008 time period,
 5    the invalidity of provider-reported diagnoses was an ongoing concern. For example, in
 6    September 2008, one of United’s own actuarial consulting subsidiaries, Reden &
 7    Anders, made a presentation that identified unsupported diagnosis codes as a “Potential
 8    Compliance Risk Area” and warned that “[t]here is no such thing as minimally
 9    compliant.” Ovations’ President Cynthia Polich possessed a copy of this presentation.
10    146. In addition, by at least 2008, the former PacifiCare employees, then at Ingenix,
11    had also imparted their knowledge that the UHG Managing Defendants were obligated
12    to identify and delete invalid provider-reported diagnoses. For example, a January 2008
13    training guide entitled “CMS-HCC Risk Adjustment Training Module,” created by
14    Ingenix personnel for provider outreach, recognized that it is the accuracy of medical
15    record documentation and coding that supports entitlement to risk adjusted payments
16    from the Medicare Program. The presentation recognized that accurate medical record
17    documentation is key to accurate risk adjustment payments and necessary to validate
18    payments. In addition, in June 2008 emails, Patty Brennan, the Compliance Manager for
19    Ingenix, and Karen Wagor, a Senior Coder and National Trainer for Ingenix, both of
20    whom worked at Ingenix’s Santa Ana office, recognized that Defendant MA
21    Organizations were not entitled to payment based on diagnoses that were not validated
22    by beneficiaries’ medical records and that those entities risked losing revenue based on
23    invalid diagnoses: “We could be at risk of losing $$ if there isn’t another piece in the
24    documentation before or after this date of service for the HCC if it can’t be verified with
25    the most accurate validation. The medical record must support all diagnoses coded
26    for the date of service and must be able to stand alone for an audit on those reported
27    diagnosis codes.” (Emphasis in the original.)
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 1    147. Moreover, the UHG Managing Defendants knew they were required to effectively
 2    address compliance issues. For example, a presentation from November 2009 entitled
 3    “UnitedHealth Group – Audit Management Overview,” made at a Medicare Compliance
 4    Oversight Committee meeting, expressly acknowledged the legal obligation to
 5    implement an effective compliance program and stated that “[i]n order to have an
 6    effective Compliance Program, an organization must have a robust internal monitoring
 7    and auditing process in place.” In 2009, Jenny O’Brien, the Chief Medicare Compliance
 8    Officer, was a Co-Chair of the Medicare Compliance Oversight Committee, a position
 9    she held until approximately 2015. During this time period, O’Brien worked for
10    Ovations and then UnitedHealthcare Medicare & Retirement. Her Co-Chair was the
11    Chief Executive Officer or another officer of Ovations and then UnitedHealthcare
12    Medicare & Retirement. In the 2010-2011 time frame, the Co-Chair was Tom Paul.
13    And, as another example, in approximately May 2010, Larry Renfro, who was then the
14    Chief Executive Officer of both the Public & Senior Market Group (PSMG) and
15    Defendant Ovations, and David Orbuch, who was then the Executive Vice President and
16    Chief Compliance Officer of PSMG, met with CMS regarding their Medicare
17    compliance program and represented to CMS that they would “meet and exceed” CMS’
18    expectations.
19    148. Kimberly Halva, UnitedHealth Medicare & Retirement’s Finance Compliance
20    Officer from 2010 to 2013, also was keenly aware that the validity of provider-reported
21    diagnoses needed to be addressed. Halva understood that MA Organizations had an
22    obligation to identify and delete diagnoses that were not supported by its beneficiaries’
23    medical records. (Halva was also familiar with the Risk Adjustment Participants Guide.)
24    In November 2010, she sent a memorandum to Relator Poehling with recommendations
25    for compliance problems focused on identifying and deleting invalid provider-reported
26    diagnoses. In January 2011, she sent Relator Poehling “a few suggestions for risk
27    mitigation type programs UnitedHealthcare Medicare and Retirement could take to more
28    equally distribute resources between programs dedicated to improper coding or billing
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 1    and those focused on identifying additional reimbursement opportunities through
 2    improved coding/documentation.” One of Halva’s suggestions was for
 3    UnitedHealthcare to perform “General Coding Accuracy Audits,” which were essentially
 4    “look both ways” medical record reviews that would identify both incomplete coding
 5    (which she referred to as “under-coding”) and inaccurate coding (which she referred to
 6    as “over-coding”). Another of her suggestions was for UnitedHealthcare Medicare &
 7    Retirement to “Specifically Identify Traditionally Over-Coded or Incorrectly Coded
 8    Conditions,” “such as stroke or COPD,” and conduct medical record reviews to
 9    determine if those traditionally over-coded or incorrectly coded conditions could be
10    validated. Halva and Scott Theisen, the Chief Financial Officer for UnitedHealthcare
11    Medicare & Retirement from 2010 to 2013, were Co-Chairs of the UnitedHealthcare
12    Medicare & Retirement Finance Compliance Oversight Committee, which was
13    responsible for risk adjustment compliance issues. Halva also reported to Theisen as
14    well as Jennifer O’Brien.
15    149. In or around early 2009, Deloitte & Touche, which served as the public
16    accounting firm for UHG (which filed a consolidated financial statement for all of its
17    businesses), sent a memo to Ovations regarding an audit it performed to investigate the
18    appropriateness of an accounting treatment used by Ovations. In the audit, Deloitte &
19    Touche “looked both ways” when reviewing MA Program beneficiaries’ medical records
20    because, according to Auditor Bill Nepple, that was the only way to achieve a full and
21    complete picture of a beneficiary’s health status. The results of this “look both ways”
22    audit were communicated to Relator Poehling in February 2009 and he was aware that
23    both ADDS and DELETES resulted from the audit.
24    150. In addition, as part of their compliance efforts, the UHG Managing Defendants
25    had, since at least 2008, required financially-incentivized capitated provider groups to
26    submit attestations to them that certified that the diagnoses that they reported to the UHG
27    Managing Defendants were valid and met CMS’s requirements. For example, in or
28    around 2008, Ingenix sent notices to these providers describing these “CMS DATA
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 1    ACCEPTANCE GUIDELINES,” and stating that “[a]ll diagnoses must be
 2    documented at the time of the patient encounter or after receipt and confirmation
 3    of the diagnosis (i.e. Lab or Radiology report) and must be documented in the
 4    medical record,” and “[o]nly report diagnosis codes that can be supported by the
 5    documentation in the medical record,” and “[a]ll diagnosis codes should be valid . . .
 6    .” (Emphasis in the original.)
 7    151. In 2010, Holt and Leal were a part of an email chain discussing California
 8    provider groups and risk adjustment data validation. Based on Holt’s involvement with
 9    ICE’s RADAR team (and possibly other sources), Holt noted that California provider
10    groups are “acutely aware of the importance of data validation” and that risk adjustment
11    data validation was “a subject discussed frequently at the ICE meetings.” In the same
12    email chain, Holt also assured Relator Poehling that provider groups in California would
13    understand the importance of CMS’s RADV audits.
14    152. In November 2009, the results of an IDV audit for one of Ingenix’s commercial
15    clients, another company that owned and operated MA Plans, further confirmed what the
16    UHG Managing Defendants already knew, that is, that providers were reporting invalid
17    diagnoses at an alarming rate. The results of the audit showed a 45 percent invalidation
18    rate. Providers in that commercial client’s plans were providers for beneficiaries in one
19    or more of the Defendant MA Organizations’ Plans.
20    153. In mid-2010, the results of IDV reviews once again confirmed an ongoing
21    problem with the validity of provider-reported diagnoses. The results showed an
22    invalidation rate of approximately 40 percent for California provider groups which cared
23    for beneficiaries enrolled in one of more UHG MA Plans. Higher than the 30 percent
24    invalidation rate reported in 2005, these results confirmed that a significant percentage of
25    provider-reported diagnoses were invalid. In mid-2010, these results were shared with
26    Relator Poehling, Keith Dobbins (an attorney for one of the UHG Managing
27    Defendants), Stephanie Will, Patty Brennan, Ronnie Grower, among other individuals
28    working for the UHG Managing Defendants.
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 1    154. Also, in June 2010, an Ingenix Health Reform Implementation (HRI) Report
 2    prepared for UHG’s then Chief Executive Officer, Steve Hemsley, and other members of
 3    the “UHG executive team" identified compliance as an important issue of immediate
 4    concern to UHG, particularly compliance with the FCA. This report was sent to
 5    Dumcum, Knutson, Valenta, Andy Slavitt, Timothy Wicks, and other individuals
 6    working for the UHG Managing Defendants at the time.
 7    155. Furthermore, in 2010, additional Government audits confirmed the problem with
 8    invalid provider-reported diagnoses. In March 2010, the HHS Office of Inspector
 9    General (“OIG”) sent Jack Larsen, the Chief Financial Officer of Ovations, a draft report
10    of an audit of the risk adjustment data that one of UHG’s Texas MA Organizations, then
11    called PacifiCare of Texas, submitted for payment year 2007. In July 2010, OIG sent
12    Thomas Paul, the Chief Executive Officer of Ovations, a draft report of an audit of the
13    risk adjustment data that UHG’s California MA Organization, then called PacifiCare of
14    California, submitted for payment year 2007. In the draft reports, the OIG concluded
15    that the diagnoses for half the beneficiaries in the California audit and 44 percent of the
16    beneficiaries in the Texas audit were invalid, and that both plans’ practices were not
17    effective for ensuring that the diagnoses they submitted to CMS complied with CMS
18    requirements. These draft OIG reports were described as a “top issue” in the third
19    quarter 2010 Public & Senior Markets Group Medicare Compliance Program Overview
20    for which Jennifer O’Brien was the Compliance Program Lead and Tom Paul was the
21    Business Lead. In May 2010, Paul sent OIG a response about its draft report relating to
22    PacifiCare of Texas and, in October 2010, Paul (whose job title had then been changed
23    to Chief Executive Officer of UnitedHealthcare Medicare & Retirement) sent OIG a
24    response about its draft report relating to PacifiCare of California. After consideration of
25    Paul’s responses to the draft audit reports, the OIG issued final reports concluding that
26    the health risk scores for 45 percent of the beneficiaries in the California audit and 43
27    percent of the beneficiaries in the Texas audit were invalid because the diagnoses were
28    not supported by the beneficiaries’ medical records or were uncertain or unconfirmed
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 1    diagnoses. In both the draft and final reports, the OIG provided examples of
 2    unsupported diagnoses. The OIG also concluded that the MA Organizations should
 3    refund the overpayments due to these invalid diagnoses. In addition to Larsen and Paul,
 4    other individuals who were aware of the OIG audit reports during the 2010 and 2011
 5    time period included Scott Theisen, Jenny O’Brien, Kimberly Halva, Joseph Keen, and
 6    Jeffrey Dumcum.
 7    156. The results of RADV audits were also of concern to UnitedHealthcare. The third
 8    quarter 2010 Public & Senior Markets Group Medicare Compliance Program Overview
 9    (for which Jennifer O’Brien was the Compliance Program Lead and Tom Paul was the
10    Business Lead) also stated that CMS was conducting RADV audits of three of the
11    Defendant MA Organizations. Then, when CMS announced in February 2011 that it
12    planned to extrapolate the sample audit results, Charles Hanson, the then Vice President
13    of Finance and Underwriting at UnitedHealthcare Medicare & Retirement, left a
14    voicemail message for Relator Poehling stating: “I haven’t been close to this for . . .
15    three or four years now probably, but back that far I know the results of our RADV
16    audits were concerning, to say the least. That we had significant . . . errors or
17    undocumented RAFs [i.e., undocumented diagnoses] in our claim submissions.” He
18    asked Poehling: “I’m sure we’re careful about how we communicate these findings, but
19    can you give me a sense of kind of more recent RADV audits, what impact could this
20    have? So just generally, are we still sort of, I’ll say as bad as we were a few years ago? .
21    . . So, what’s the potential impact on revenue of extrapolating these RADV audit
22    findings . . . ?”
23    157. Because of the problem with provider-reported diagnoses, in 2010, the UHG
24    Managing Defendants started the RACCR Program, as described more fully at
25    paragraphs 239-292 below, and Claims Verification Program, as described more fully at
26    paragraphs 196-234 below. Mary Hammond, one of the UnitedHealthcare Medicare &
27    Retirement employees who oversaw the RACCR Program, described it as “an important
28    part of Medicare & Retirement’s efforts to meet CMS requirements to submit accurate
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 1    risk adjustment data.” The Claims Verification Program was also supposed to satisfy
 2    this basic payment rule.
 3    158. However, the major effect of the Claims Verification and RACCR Programs was
 4    that they highlighted that a significant amount of the risk adjustment payments claimed
 5    by the UHG Managing Defendants on behalf of the Defendant MA Organizations and
 6    paid to the Defendant MA Organizations by the Medicare Program were unsupported
 7    and invalidated by beneficiaries’ medical records. For instance, as explained in more
 8    detail in paragraph 206 below, in December 2010, the results of the first pilot phase
 9    (Phase I) of the CV Program showed that provider-reported diagnoses were unsupported
10    for over 50 percent of the medical records reviewed. Over a year later, as explained in
11    more detail in paragraph 208 below, Optum had completed the second pilot phase (Phase
12    II) of the CV Program on 17,398 charts and the results were even more striking. Phase II
13    identified 4,786 invalid diagnoses to be deleted, which was greater than the number of
14    additional diagnoses (ADDS) identified based reviews of the same medical records. In
15    February 2012, Dumcum, who was responsible for the Claims Verification Program, met
16    with Relator Poehling and Theisen, who was the Chief Financial Officer of
17    UnitedHealthcare Medicare & Retirement at that time, and reported: “I’m deleting as
18    much as I’m adding at the end of the day. And I don’t know if—you know, what I want
19    to do.” He also stated: “we’re getting more and more red here,” and that Claims
20    Verification “eats in very substantially” to the revenue from ADDS from chart reviews.
21    159. In addition, as explained in more detail below, by February 2012, there were
22    “5,519 bad codes” that were “identified and deleted” as the result of RACCR reviews of
23    the medical records for only 13,451 beneficiaries. On a beneficiary basis, the results
24    showed more than a 40 percent invalidation rate.
25    160. Over time, the UHG Managing Defendants also obtained more information about
26    incorrect diagnosis coding by providers, some of which information confirmed what had
27    been known for years. For example, by at least 2013, Tracey Bradberry, an Ingenix and
28    then Optum employee who was a certified coder, was aware of various reasons for
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 1    invalid provider-reported diagnoses, including, for example, the “[c]linical findings
 2    and/or treatment does not support the diagnosis” and “[n]ot a current condition.” In
 3    addition, in March of 2014, Melissa Ferron, a coding consultant, sent Optum employee
 4    Christopher Webb a list identifying various HCC codes and diagnosis codes that were
 5    unlikely to validate based on medical record reviews because providers frequently used
 6    the codes incorrectly. These included HCCs 17 (diabetes with acute complications), 96
 7    (specified heart arrhythmias), 104 (monoplegia, other paralytic syndromes), and 111
 8    (chronic obstructive pulmonary disease).
 9    161. More recently, other employees of the UHG Managing Defendants also have
10    recognized the obligation to ensure the validity of diagnoses submitted for risk
11    adjustment payments. They also understood that the obligation to correct invalid data
12    provided to Medicare for risk adjustment payments. For example, in an April 2013
13    email, Marybeth Meyer, the Vice President of Operations for UnitedHealthcare
14    Medicare & Retirement who succeeded Relator Poehling in managing the risk
15    adjustment team for that group, stated that “as a Medicare Advantage Plan, if we become
16    aware of a coding issue that impacted the revenue received from CMS for risk
17    adjustment, we are obligated to investigate and correct the submissions to CMS.” In
18    response to Meyer’s email, Halva, then Compliance Officer for UnitedHealthcare
19    Medicare & Retirement, agreed. She also stated that “[w]e have an obligation to go back
20    to CMS and correct submissions that impact the revenue received for risk adjustment
21    purposes.” Halva did not think that anything was wrong with the requirement that
22    UnitedHealthcare Medicare & Retirement delete unsupported diagnoses. Moreover, she
23    believed that “arguably” this obligation existed for ten years because of the ten-year
24    statute of limitation for the Government to pursue FCA claims against entities that
25    knowingly fail to delete unsupported diagnoses.
26    162. As another example, in February 2014, Melissa Sedor who worked in
27    UnitedHealthcare Medicare & Retirement’s controller’s office, sent an email stating that
28    “it is our responsibility to submit accurate records to CMS. Even if the provider submits
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 1    bad data to us, the responsibility is on us to be submitting the correct data.” Sedor
 2    further explained that this was the reason United implemented compliance programs like
 3    RACCR and Claims Verification. Sedor’s email was sent to others at UnitedHealthcare,
 4    including Marybeth Meyer and William Hnath.
 5    163. Finally, other employees in addition to Halva were aware of the potential FCA
 6    liability for submitting invalid diagnoses to CMS for risk adjustment payments or for
 7    failing to delete them. For example, in 2010, Carol Thompson, then National Manager
 8    for Ingenix’s Risk Adjustment Programs who worked at the Ingenix office in this
 9    District, provided the following reason as justification for funding for a coding vendor
10    who was assisting the UHG Managing Defendants with a CMS RADV audit: “Politics
11    and Congressional scrutiny put an exclamation point on our need to demonstrate that the
12    data submitted to CMS for risk adjustment payment is valid. Data that drives payment
13    from the government can be reviewed to determine if the claims are ‘valid.’ Improper
14    claims submission can fall under the False Claims Act.” Also, as alleged more fully
15    below, Dumcum informed Relator Poehling that the FCA was a consideration in
16    deciding whether the UHG Managing Defendants should implement the Claims
17    Verification Program and “look both ways” at the results of their Chart Review Program.
18          II.    Chart Reviews and Claims Verification
19                 A.    United’s “Look One Way” Chart Review Program
20    164. Over the last decade, Defendants have obtained billions of dollars of risk
21    adjustment payments from Medicare from its national Chart Review Program because
22    they only looked one way at the results of their coders’ chart reviews. As part of this
23    program, the coders were instructed to perform “blind” reviews of the beneficiaries’
24    medical records. That is, the coders did not know which, if any, diagnoses had been
25    reported by the providers who treated the beneficiaries and created the medical records.
26    Thus, rather than confirming diagnoses already reported by the providers or identifying
27    only additional diagnoses supported by the records, the coders were instructed to look
28    for all medical conditions purportedly documented in the records, record all diagnosis
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 1    codes identifying those conditions, and give all of those codes to the UHG Managing
 2    Defendants. But, the UHG Managing Defendants selectively utilized results of these
 3    chart reviews – that is, the coders’ list of diagnosis codes – for the sole purpose of
 4    identifying diagnosis codes that the providers had not reported and submitting ADDS for
 5    additional risk adjustment payments. They did not utilize the coders’ lists of diagnosis
 6    codes to determine if the providers had reported codes that were not supported by their
 7    own medical records. If the UHG Managing Defendants had looked both ways and
 8    deleted these unsupported and, thus, invalid provider-reported codes, their national Chart
 9    Review Program would have been far less lucrative.
10    165. The UHG Managing Defendants’ national Chart Review Program was their largest
11    risk adjustment revenue-generating program. This program was started in 2005 as an
12    outgrowth of the chart review program that PacifiCare was already conducting.
13    Dumcum, Will, and other former PacifiCare employees became key participants in
14    designing, implementing, and managing the United Managing Defendants’ revenue-
15    generating national Chart Review Program. Will was the Program Manager for the
16    program.
17    166. During the first few years of the program, hundreds of thousands of charts were
18    reviewed each year in order to mine them for additional diagnosis codes. In 2008, The
19    Coding Source (“TCS”), a chart review/diagnosis coding vendor retained by Ingenix,
20    reported to Carol Thompson at Ingenix that “[s]ince 2005, TCS has partnered with
21    PacifiCare-United and Ingenix to support your HHC initiatives. TCS has successfully
22    completed 460,000 chart reviews for multiple United regions.”
23    167. In 2009, the UHG Managing Defendants significantly expanded the size of the
24    national Chart Review Program by providing Ingenix with the funds to acquire a coding
25    vendor called AIM Healthcare Services, Inc. and integrating Ingenix’s operations in
26    Santa Ana, California, and the AIM coding operations in Tennessee, and by providing
27    Ingenix with the funds to develop an in-house chart review computer database system
28    called ChartSync so that Ingenix’s in-house coders and third-party coding vendors could
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 1    electronically review medical records and electronically record the coding results of their
 2    reviews. At or about the same time, the UHG Managing Defendants also expanded the
 3    size of the Chart Review Program by providing Ingenix with the funds to open offices in
 4    foreign countries (the Philippines and India) where it could hire foreign workers to
 5    review beneficiaries’ medical records in order to try to find additional diagnosis codes.
 6    168. Due to the increased resources devoted to the Chart Review Program, the number
 7    of medical records reviewed in the hunt for additional codes significantly increased over
 8    time. For the first few years of the Chart Review Program, between 500,000 and
 9    600,000 charts were reviewed each year. According to a presentation by Dumcum,
10    600,000 charts were reviewed in 2006 and, as of September 21, 2007, 400,000 charts had
11    been reviewed so far that year with 200,000 charts remaining for review during the
12    fourth quarter of 2007.
13    169. By 2010, the number of chart reviews had increased substantially to
14    approximately 850,000 charts for that year. For 2011 to 2014, approximately 1.5 million
15    charts were reviewed each year. The Government believes that, after 2014, the national
16    Chart Review Program was most likely similar in size.
17    170. As part of this national Chart Review Program, the UHG Managing Defendants
18    focused primarily on the review of charts from providers paid on a fee-for-service basis.
19    Ingenix and then Optum or their vendors obtained medical records from thousands of
20    these providers throughout the United States. They or their vendors sent these medical
21    records to coders that they employed in Tennessee, India, and the Philippines. They also
22    hired coding vendors to review these medical records. Those vendors were located in
23    various locations within and outside of the United States.
24    171. Physician groups owned by one or more of the UHG Managing Defendants also
25    had chart review programs. WellMed had a group called DataRaps that conducted
26    reviews of its physicians’ medical records for patients in one or more Defendant MA
27    Organizations’ MA plans. Southwest Medical Associates conducted some of its own
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 1    reviews though it also relied on Ingenix’s/Optum’s coding operations in Tennessee and
 2    coding vendors for its chart reviews.
 3    172. In 2006, the Defendant MA Organizations obtained approximately $270 million in
 4    additional risk adjustment payments from the ADDS that were submitted on their behalf
 5    by the UHG Managing Defendants based on the national Chart Review Program. The
 6    return on investment was substantial (approximately $250 million) as it cost only
 7    approximately $18 million to review the charts in 2006.
 8    173. Not unexpectedly, as the number of medical records reviewed significantly
 9    increased over the years, so did risk adjustment payments from ADDS based on the
10    national Chart Review Program. Defendant MA Organizations received approximately
11    $426 million in additional risk adjustment payments from ADDs the UHG Managing
12    Defendants submitted to Medicare based on the medical record reviews conducted as
13    part of the Chart Review Program for the 2011 payment year, approximately $455
14    million for the 2012 payment year, approximately $758 million for the 2013 payment
15    year, and approximately $882 million for the 2014 payment year.
16    174. For payment years 2010 to 2015 combined, Defendant MA Organizations
17    obtained over $3 billion in additional risk adjustment payments from Medicare due to the
18    ADDs the UHG Managing Defendants submitted on their behalf based on medical
19    record reviews conducted as part of the national Chart Review Program.
20    175. United’s Chart Review Program was conducted according to an annual cycle. For
21    example, in the spring of 2012, Optum started its collection and review of medical
22    records relating to medical encounters in 2011 (i.e., with 2011 dates of service). These
23    efforts then intensified through the remainder of the year until the final deadline for
24    submitting diagnosis codes to Medicare for payment year 2012, which was February 15,
25    2013.
26    176. Prior to the start of each annual cycle, the UHG Managing Defendants’ senior
27    executives set a revenue target for the program. After chart reviews started, these senior
28    executives then closely monitored the progress of the program and, if the forecast did not
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 1    look like the program would achieve the revenue target, they made changes to the
 2    diagnostic coding being performed by the coders. For instance, when UnitedHealthcare
 3    Medicare & Retirement and Optum were not achieving the return on investment
 4    expected from chart reviews for the 2012 payment year, they “liberalized” coding
 5    policies and engaged in a “Recode Project” consisting of re-reviewing 900,000 charts
 6    that had already been mined once for additional diagnoses. They liberalized the coding
 7    policies to enable the coders to identify more diagnosis codes purportedly supported by
 8    the beneficiaries’ medical records. In this second-round review, the coders did identify
 9    more codes purportedly supported by the records based on the liberalized coding
10    policies, and UnitedHealthcare Medicare & Retirement and Optum submitted those
11    codes to Medicare for additional risk adjustment payments. Scott Theisen at
12    UnitedHealthcare Medicare & Retirement and Karen Erickson and Jon Bird at Optum
13    were involved in this “Recode Project.”
14    177. Despite their aggressive coding to submit as many ADDS as possible to meet their
15    annual revenue targets for their Chart Review Program, officers of UnitedHealthcare
16    Medicare & Retirement attested to the validity of all of these ADDS in the annual Risk
17    Adjustment Attestations submitted to Medicare and various senior management
18    employees of both UnitedHealthcare Medicare & Retirement and Optum attested to the
19    validity of all of these ADDS in approving the annual Risk Adjustment Attestations
20    submitted to Medicare. See infra at paragraphs 296-308 (describing this internal
21    approval process). If the results of these chart reviews were so reliable that they could
22    attest to the validity of all of the ADDS, then the results were of equal reliability for
23    them to have deleted all previously-submitted diagnoses invalidated by the reviews. To
24    the extent that Defendants call into question the results of their own chart reviews in not
25    finding support for and not validating hundreds of thousands of diagnoses, they also call
26    into question the overall reliability of the chart reviews and validity of the ADDS.
27    Under those circumstances, Defendants acted with reckless disregard for the truth by
28    submitting the ADDS and attesting to their validity, knowing they were not entitled to
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 1    payments by Medicare based on such unreliable data and the United States is entitled to
 2    recover those payments in this action.
 3                 B.     United Knew It Was Obligated To Look Both Ways At The
 4                        Results Of Its Chart Reviews And Make DELETES As
 5                        Well As ADDS
 6    178. By 2008, Relator Poehling and others began to question the practice of ignoring
 7    the negative results of blind chart reviews invalidating many provider-reported
 8    diagnoses. In May 2008, Relator Poehling participated in a meeting in which he
 9    discussed this issue with Will. She explained to Relator Poehling that, as part of the
10    Chart Review Program, Ovations and Ingenix did not look at whether provider-reported
11    diagnoses were not substantiated by the results of the coders’ blind chart reviews.
12    Poehling and Will discussed the idea of changing this process, comparing the results of
13    the blind chart reviews to the provider-reported diagnoses that Ovations and Ingenix had
14    submitted to CMS, and deleting the unsupported diagnoses.
15    179. Thereafter, the need to address problems with the diagnoses reported by providers
16    continued to be an issue. In March 2009, the question of how to address problems with
17    diagnoses reported by fee-for-service providers arose during a discussion among Ingenix
18    employees about the Internal Data Validation Program that Ingenix conducted for
19    Ovations and the Defendant MA Organizations. During that discussion, Ronnie Grower,
20    Vice President of Market Consultation for Ingenix, noted that the Internal Data
21    Validation Program excluded fee-for-service providers and questioned whether the UHG
22    Managing Defendants would have another program to address diagnoses reported by fee-
23    for-service providers given that “there are common coding errors that get reported across
24    all providers.” In fact, other than its short-lived Claims Verification Program, the UHG
25    Managing Defendants never had a medical record review program like the IDV or
26    RACCR Programs to address the validity (or lack thereof) of diagnoses reported to it by
27    its fee-for-service providers.
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 1    180. In 2009, these internal discussions continued. In early April 2009, Relator
 2    Poehling, Dumcum, Will, Kimberly Halva, Janice Redmond (the Senior Vice President
 3    of Market Outreach for Ingenix’s Risk Adjustment Group, who worked in Santa Ana,
 4    California) and others participated in a discussion about compliance risks, including
 5    provider over-coding (i.e., invalid coding). One of the items on the agenda that they
 6    discussed included “[a]uditing under & over coded conditions” as part of the chart
 7    review process, that is, “looking both ways.” A few weeks later, Relator Poehling again
 8    met with Will and others to discuss what to do when provider-reported diagnosis codes
 9    were inconsistent with the results of the coders’ blind chart reviews of the providers’
10    medical records. At this second meeting in April 2009, the participants began to design
11    a methodology for “looking both ways.” This led to subsequent discussions about
12    creating a Claims Verification Program in order to look both ways at the coders’ blind
13    chart review results and make DELETES as well as ADDS.
14    181. A few months later, in August 2009, in an internal presentation, Redmond noted
15    that chart reviews only looked for additional revenue and suggested that the process
16    should also include a certain amount of charts that are reviewed to determine the validity
17    of providers’ codes. Redmond was concerned that providers paid on a fee-for-service
18    basis were not being audited to validate their diagnoses. Her presentation stated:
19    “Known problematic codes are not audited across plans/providers raising the risk of
20    error.”
21    182. In early 2010, Will sent Dumcum a presentation proposing the Claims Verification
22    Program. The stated goal of the program was to improve the accuracy of the diagnosis
23    data that the UHG Managing Defendants submitted to CMS. Will believed that Claims
24    Verification would achieve this goal.
25    183. In May 2010, Relator Poehling discussed the potential creation of the Claims
26    Verification Program with Dumcum. Dumcum referenced the Department of Justice’s
27    enforcement of the FCA as a consideration.
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 1    184. According to Halva, while she was the UnitedHealthcare Medicare & Retirement
 2    Compliance Officer from 2010 to 2013, the “general consensus from the
 3    [UnitedHealthcare Medicare & Retirement] point of view was . . . that any time we
 4    opened a chart we should be looking both ways.”
 5    185.     In the fall of 2010, after two years of discussions, senior executives such as
 6    Thomas Paul, Cynthia Polich, and Lee Valenta acknowledged that the UHG Managing
 7    Defendants should “look both ways” at the results of their blind chart reviews. By at
 8    least that time, however, these Defendants should and could have compared the results of
 9    all chart reviews to the provider-reported diagnoses and deleted all of the invalid
10    provider-reported diagnoses that they previously had submitted to the Medicare
11    Program. They also should and could have done this contemporaneously with
12    submitting ADDS based on the same chart reviews. Instead, they embarked on a very
13    slow, phased development of their Claims Verification Program. The senior executives
14    authorized only a pilot test program to look at the negative results (i.e., the results
15    showing that provider-reported diagnoses were invalid) from only a very small sample of
16    chart reviews. Moreover, the Claims Verification process was designed to “save” – that
17    is, avoid deleting – the provider-reported diagnoses invalidated by the blind chart
18    reviews conducted as a part of the Chart Review Program. The UHG Managing
19    Defendants attempted to and sometimes did save some of these invalid codes by re-
20    reviewing the beneficiaries’ medical records, sometimes multiple times, to try to glean
21    any support, even doubtful or ambiguous support, for the provider-reported diagnoses at
22    issue.
23    186. In August 2011, Relator Poehling made clear to Scott Theisen, then Chief
24    Financial Officer of UnitedHealthcare Medicare & Retirement, that Poehling did not
25    believe it was appropriate to conduct chart reviews unless and until Claims Verification
26    was fully implemented and they were “looking both ways.” Theisen was one of the
27    senior managers charged with making decisions regarding the implementation and
28    design of the Claims Verification Program. At that time, in an email to Paul Bihm at
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 1    Optum, Poehling wrote: “You (and Scott [Theisen]) know where I stand on chart
 2    reviews without full CV in place … I wouldn’t do them. Scott, though, is the decision
 3    maker . . . .” At that time, Bihm was an Optum Senior Vice President of Client
 4    Management and had responsibilities relating to the Chart Review Program.
 5    187. In September 2011, Mary Hammond, Associate Director of Strategy and Support
 6    for UnitedHealthcare Medicare & Retirement’s risk adjustment team, attended an
 7    industry conference in Washington, D.C. on risk adjustment. She reported that it was
 8    “great to get a perspective on what the activity in DC may mean for risk adjustment.
 9    More audit protection (looking both ways compliance programs), . . . and less reliance
10    on chart review are the recommendations.” (Emphasis added.)
11    188. In approximately November 2011, a “factual and unbiased” presentation was
12    created for UHG’s Chief Executive Officer Steve Hemsley, to provide him information
13    about Optum’s and its competitors’ risk adjustment programs and other risk adjustment
14    services. The presentation described “Compliance” as “the True Value of Claims
15    Verification.” The presentation further noted that the medical record is the “source of
16    truth” and that looking at this “source of truth” had a negative revenue impact because
17    comparing provider-reported diagnoses with the information in the providers’ medical
18    records resulted in having to delete some of their diagnoses. In December 2011, a copy
19    of this presentation was sent by Karen Petroff, the Senior Vice President of Business
20    Development at Optum, to Dumcum and Eric Murphy at Optum. Murphy was the
21    President of Payer Solutions at Optum at the time.
22    189. In December 2012, Mike Jacobson, Program Business Analyst/Project
23    Management at Optum, sent Patty Brennan an updated version of Optum’s Business
24    Vision Document for the marketing of the Claims Verification Program to commercial
25    clients (i.e., third-party MA Organizations). Under the section titled “Business Segment
26    Strategies and Tactics,” the document stated that “Optum has an industry compliance
27    duty and responsibility to ensure that each HCC code is accurate and can be
28    substantiated within the medical charts.” Under the section titled “Competitive Analysis
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 1    – Market Research,” the document stated: “The marketplace will soon recognize the
 2    need and importance of performing due diligence on HCCs added during the chart
 3    review process but also verifying HCCs submitted to CMS can be substantiated within
 4    the medical chart according to CMS guidelines. For HCCs that cannot be substantiated
 5    within the medical chart, clients will need to perform the appropriate deletes in order to
 6    remain compliant with CMS guidelines.” At this time, Optum had already begun
 7    marketing Claims Verification or “looking both ways” chart reviews to commercial
 8    clients.
 9    190. In September 2012, the Chief Executive Officer of OptumInsight, William Miller,
10    informed the Government that the UHG Managing Defendants were developing a
11    Claims Verification Program to ensure the accuracy of the diagnosis data they submitted
12    to CMS and look both ways at the results of the chart reviews conducted as part of the
13    Chart Review Program. Miller further stated that unsupported diagnoses would be
14    deleted. The UHG Managing Defendants knew that this information was important to
15    the Government. They led the Government to believe that they were not deliberately
16    ignoring or recklessly disregarding the negative results of their Chart Review Program
17    showing that numerous provider-reported diagnoses that they had submitted for payment
18    were invalid.
19    191. Until 2012, UnitedHealthcare Medicare and Retirement and Optum allowed
20    coders to review medical records at providers’ offices if the providers did not want to
21    provide copies of their records. However, in 2012, in accordance with their
22    acknowledgement of their obligation to “look both ways,” these Defendants changed this
23    policy and restricted on-site reviews because they needed copies of the charts in order to
24    conduct Claims Verification. Mary Hammond, in an April 2012 email, explained this
25    decision: “M&R has made a decision on the chart reviews where providers are requiring
26    onsite coding. We will ask the [United] Provider Advocates to talk to the groups to try
27    to talk them out of it. If they won’t budge, then we will allow onsite coding if
28    OptumInsight has a solution for doing claims verification on those charts.”
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 1    192. Similarly, at around the same time, a decision was also made that Optum’s
 2    commercial clients were required to retain Optum to perform Claims Verification (i.e., to
 3    “look both ways”) if Optum performed chart reviews for them and submitted risk
 4    adjustment data, including diagnoses, to CMS on their behalf. According to Dumcum,
 5    Optum decided “that if we did chart review and submissions, that we then must do the
 6    two-way look. It became our policy of how we executed business at the time. So if they
 7    bought both, then we required that piece [i.e., Claims Verification] be implemented.”
 8    193. UnitedHealthcare has also consistently demanded that CMS and HHS OIG, when
 9    performing their audits, credit the Defendant MA Organizations for any additional
10    medical conditions that UnitedHealthcare believed were supported by the medical
11    records but that had not been reported by the providers. UnitedHealthcare took the firm
12    position with the Government that, in order to accurately reflect a patients’ true health
13    status, it was necessary to review patients’ medical records for both the under-reporting
14    (not reporting diagnoses supported by the beneficiaries’ medical records) and over-
15    reporting (the reporting of codes unsubstantiated by the beneficiaries’ medical records)
16    of medical conditions by providers. In fact, CMS RADV audits have historically
17    credited MA Organizations, including UnitedHealthcare, for additional diagnoses found
18    during such audits.
19    194. For example, in a February 2011 letter from Thomas Paul, the then Chief
20    Executive Officer of UnitedHealthcare Medicare & Retirement, to CMS concerning the
21    parties’ dispute about the preliminary results of CMS’ pilot RADV audit of one of the
22    Defendant MA Organizations, UnitedHealthcare argued that the dispute process
23    “incorrectly exclude[d] consideration of additional CMS-HCCs” supported by the
24    beneficiaries’ medical records. The letter stated that UnitedHealthcare identified
25    additional HCCs (i.e., additional diagnoses mapping to additional HCCs) in the medical
26    records and, if CMS refused to give it credit for them, it would challenge CMS legally.
27    In September 2012, in a letter from Theisen, the then Chief Financial Officer of
28    UnitedHealthcare Medicare & Retirement, to CMS about the same RADV audit,
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 1    UnitedHealthcare continued to complain that the audit incorrectly excluded
 2    consideration of additional HCCs and argued that the Defendant MA Organization
 3    should receive credit for the additional HCCs. The letter stated: “If [the MA
 4    Organization] is not credited for these incremental HCCs, then any adjustments made by
 5    CMS do not accurately reflect an enrollee’s comprehensive medical conditions. The
 6    goal of RADV audits should be to determine the full extent of enrollees’ medical
 7    conditions, and make overpayment and underpayment adjustments so that [MA
 8    Organizations] are paid commensurate with enrollees’ health status.” (Emphasis
 9    added.) Similarly, in a September 2012 letter from Thomas Paul to HHS OIG,
10    UnitedHealthcare stated that “the OIG should correct the invalid HCCs and credit [the
11    MA Organization] with the incidental HCCs documented in the submitted medical
12    records.”
13    195. ICE, the industry group to which several of the Defendants belonged and which
14    they financially supported, also opined that “looking both ways” was a “Best Practice.”
15    It issued a Best Practices document encouraging the industry to conduct chart reviews
16    that “looked both ways.” It described the advantages of such chart reviews as
17    “[p]romoting validation functions for diagnostic codes previously submitted by
18    providers” and “[p]roviding the ability to submit code corrections forward (additions and
19    deletions) to health plans upon the completion of review.”
20                C.     United’s Short-lived “Look Both Ways” Claims
21                       Verification Program
22    196. In September 2010, Lee Valenta, then Ingenix’s Chief Operating Officer, sent
23    Thomas Paul, then Chief Executive Officer of Ovations, a memorandum “summariz[ing]
24    Ingenix’s plans for implementing a claims verification program for charts reviewed by
25    Ingenix on behalf of Ovations Medicare Advantage Plans.” Valenta explained that the
26    “overarching aim” of the Claims Verification Program was “improving the quality of
27    member-level diagnosis information submitted to CMS.” He also explained that the
28    program’s purpose was to identify the provider-reported diagnoses that were not
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 1     validated by the blind medical record reviews conducted as part of the Chart Review
 2     Program and for another coder to conduct a second non-blind review to determine if the
 3     provider-reported diagnoses had been missed by the first blind coder.
 4     197. Valenta’s memorandum also set forth a three-phased approach for the
 5     development of the Claims Verification Program. The first phase, Phase I, was supposed
 6     to focus on a random sample of 850 beneficiaries in Ovations MA Plans whose medical
 7     records for encounters (i.e., provider office visits) in 2009 were included in the Chart
 8     Review Program in 2010 and had already been subject to a blind review as part of that
 9     Program. Phase I was supposed to start in October 2010 and be completed by January
10     31, 2011. The second phase, Phase II, was supposed to focus on a larger sample of
11     beneficiaries and, thus, a larger number of medical records for encounters in 2010. This
12     group was supposed to include all beneficiaries who had medical encounters with only
13     one provider during 2010. Phase II was supposed to start by May 2011. The final phase,
14     Phase III, was supposed to focus on all beneficiaries in Ovations’ MA Plans whose
15     medical records for medical encounters in 2011 were included in the national Chart
16     Review Program in 2012 and had already been subject to a blind review as part of that
17     Program. Phase III was supposed to be implemented in 2012.
18     198. In October 2010, Cindy Polich, then President of Ovations, which was in the
19     Public and Senior Markets Group (“PSMG”) that managed the Defendant MA
20     Organizations at the time, responded to Valenta’s memorandum. Polich agreed to his
21     proposal. Polich also acknowledged the need to improve PSMG’s risk adjustment
22     programs. She stated that “[w]hile Ingenix is implementing Phase II [of Claims
23     Verification], PSMG will conduct a comprehensive review of its current risk adjustment
24     strategies, including our chart review strategy. The purpose of this review is to
25     determine the future programs and approaches to be used to improve the accuracy of our
26     risk scores.”
27     199. A Claims Verification project management document, prepared by Optum,
28     Ingenix’s successor, described Claims Verification as “[a] risk adjustment chart audit
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 1     service designed to ensure that qualified patient diagnoses and conditions are identified
 2     and supported in the physician medical record documentation. This audit service
 3     identifies any discrepant coding patterns contained within the medical record
 4     documentation and the associated claims and encounters. This service includes the
 5     submission and delete process to CMS, financial reporting, and training/education for
 6     providers. Claims Verification will further supplement our efforts to assess coding
 7     accuracy and our ability to drive prospective improvements by engaging and educating
 8     providers.”
 9     200. At a meeting in September 2012, Theisen explained to Jason Bainbridge and
10     Karin O’Hara, both of whom worked for UnitedHealthcare Community & State, that
11     UHG decided to “look both ways” and implement Claims Verification in order to defend
12     the Chart Review Program in light of increased scrutiny on risk adjustment. According
13     to Relator Poehling’s notes, the meeting focused on the financial impact of Claims
14     Verification, and Theisen “said historically when we audited we only added codes.
15     UHG has decided from a defensibility standpt, & the increased scrutiny on risk
16     adjustment, that we would begin deleting unsupported codes as well. Scott [Theisen]
17     explained that [Optum] did a CV pilot on ~ 5k charts. Scott said we anticipated ~
18     $100M in give backs related to CV, but the pilot is showing ~ $225M/yr (extrapolating
19     results).” Other attendees at this meeting included, but were not limited to, Relator
20     Poehling, Jon Bird, William Hnath, and Melissa Sedor.
21     201. At some point in 2012, UnitedHealthcare Medicare & Retirement also started to
22     impose a “look both ways” requirement on providers with which it was sharing the cost
23     of chart reviews. Many, if not all, of these providers were incentivized capitated
24     providers. UnitedHealthcare Medicare & Retirement sent letters to these providers about
25     this requirement. Some of the letters expressly stated that UnitedHealthcare Medicare &
26     Retirement was agreeing to share in the cost of the chart reviews based on its
27     understanding that the provider would use the information gathered from the chart
28     reviews to verify the diagnosis data that it previously reported to UnitedHealthcare
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 1     Medicare & Retirement. In other of the letters, UnitedHealthcare Medicare &
 2     Retirement requested that the provider ensure that it uses the information gathered
 3     during the chart reviews to verify the diagnoses that it previously reported to
 4     UnitedHealthcare Medicare & Retirement. All of the letters further instructed the
 5     providers on how to submit to UnitedHealthcare Medicare & Retirement (via Optum) a
 6     data file of diagnosis codes that should be deleted (as well as those that should be added)
 7     as a result of the chart reviews. In addition, UnitedHealthcare Medicare & Retirement
 8     required all of the providers to complete and return a certification. Pursuant to the
 9     certification, the provider had to attest that it had compared diagnoses previously
10     reported to UnitedHealthcare Medicare & Retirement with the charts that it reviewed,
11     and that it had submitted to UnitedHealthcare Medicare & Retirement and Optum a data
12     file of diagnoses that it had determined should be added or deleted. Pursuant to the
13     certification, the provider also had to certify that the information in the data file was
14     accurate and truthful. There was an attachment to the letters that specified the fields for
15     the data file that the providers were required to use. One of the fields was for the
16     providers to identify diagnoses that needed to be deleted because they were not validated
17     by the chart reviews.
18     202. UnitedHealthcare Medicare & Retirement and Optum, however, took over three
19     years to develop the Claims Verification Program. Furthermore, the manner in which
20     they developed and then implemented the Program shows that they were never
21     committed to honoring their obligation to undertake good faith efforts to ensure the
22     validity of the risk adjustment data that they submitted to the Medicare Program. They
23     did not automatically delete the provider-reported diagnoses that were not supported by
24     the medical record reviews conducted as part of the Chart Review Program. Rather, they
25     considered these invalid diagnoses as mere “potential deletes” and instructed the coders
26     to re-review the medical records to try to avoid deleting them. Optum also trained the
27     Claims Verification coders that the goal of Claims Verification, above all else, was to
28     “validate” or “save” the potential deletes through finding any support for the diagnosis in
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 1     the beneficiary’s chart. Additionally, Optum instructed its coders to “save” these invalid
 2     diagnoses even if the information in the medical records was ambiguous.
 3     203. When performing Claims Verification, Optum also did not consult providers even
 4     when medical records were ambiguous concerning whether the beneficiaries actually had
 5     the medical conditions corresponding to the diagnosis codes.
 6     204. Optum also saved “potential deletes” by simply accepting the diagnoses reported
 7     by providers even when the medical conditions were not unambiguously documented in
 8     the beneficiaries’ medical records. Optum characterized this practice as deferring to the
 9     judgment of the provider or the provider’s administrative staff who assigned the
10     diagnosis codes. For example, if a chart was unclear, illegible, or missing, and even
11     though Optum could not identify any medical records documenting the medical
12     conditions identified by the provider-reported codes, it just accepted the codes and did
13     not delete them. Optum did this with either deliberate ignorance or reckless disregard
14     for the truth in light of the mountain of knowledge it possessed about the significant
15     percentage of invalid provider-reported diagnoses.
16     205. However, despite all its flaws, the Claims Verification Program confirmed what
17     UnitedHealthcare Medicare & Retirement and Optum already knew about the significant
18     error rate associated with provider-reported diagnoses that they submitted to the
19     Medicare Program for risk adjustment payments.
20     206. At the end of 2010, Ingenix, Optum’s predecessor, had conducted the first pilot
21     phase, Phase I, of its development of the Claims Verification Program. As specified in
22     Valenta’s memorandum, Phase I included a very small sample of medical records that
23     Ingenix had reviewed as part of the Chart Review Program for encounters (e.g., office
24     visits) that beneficiaries had with providers in 2009. A “CV Dashboard” summary from
25     December 2010 shows that out of the many hundreds of thousands of medical records
26     included in the Chart Review Program for 2009 encounters, only 843 records were
27     included in Phase I of the Claims Verification Program. By December 2010, the review
28     for 728 of those medical records had been completed. The results showed that 224 of the
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 1     728 medical records re-reviewed as part of Claims Verification (i.e., reviewed once as
 2     part of the Chart Review Program and then again as part of Phase I of the Claims
 3     Verification Program) had both at least one ADD (a diagnosis code that the provider had
 4     not reported) and at least one DELETE (a diagnosis code that was reported by the
 5     provider but not validated by the medical record) and 167 of the 728 medical records re-
 6     reviewed as part of Claims Verification had at least one DELETE but no ADDS.
 7     Furthermore, of the HCCs and the RxHCCs for which Ingenix looked for validation in
 8     these 728 records that it had re-reviewed, 19 percent of the HCCs and 15 percent of the
 9     RxHCCs did not validate. At the time that the summary was prepared, Ingenix was
10     conducting “follow-up” on 39 medical records. Of the HCCs and the RxHCCs for which
11     Ingenix looked for validation in these 39 medical records that it had re-reviewed, 47
12     percent of the HCCs and approximately 45 percent of the RxHCCs did not validate.
13     207. As part of Phase I, but only as part of Phase I, Ingenix sometimes contacted the
14     providers who gave it the medical records. It did this when the second non-blind review
15     of the records in Claims Verification failed to validate the diagnoses that the first blinded
16     review had failed to validate as part of the Chart Review Program. For some
17     beneficiaries, the providers responded that they should not have submitted their claims
18     (i.e., the claims which included the diagnoses). Consequently, the diagnoses should not
19     have been submitted to CMS. For some other beneficiaries, the providers did not have
20     additional records or their additional records did not support the diagnoses in question.
21     208. In mid-2011, Ingenix/Optum began conducting the second pilot phase, Phase II, of
22     the Claims Verification Program. Phase II began in the summer of 2011 and was
23     completed in early 2012. Out of the many hundreds of thousands of medical records
24     included in the Chart Review Program for 2010 medical encounters, only approximately
25     17,000 charts were included in Phase II. Coders tried to save as many “potential deletes”
26     as possible when reviewing these medical records as part of Phase II. Nonetheless, the
27     results of their Claims Verification reviews confirmed more invalid diagnoses
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 1     (DELETES) than the number of additional codes (ADDS) gleaned from the same
 2     records.
 3     209. In mid-2012, Optum began conducting a preliminary test or pilot for Phase III of
 4     the Claims Verification Program. This pilot included approximately 5,000 medical
 5     records relating to encounters (e.g., office visits) that beneficiaries had with providers
 6     during calendar year 2011. In September 2012, Theisen explained to others including
 7     Relator Poehling, that UnitedHealthcare Medicare & Retirement, relying on the results
 8     of this sample review, had increased its estimate of the financial impact of Claims
 9     Verification deletes. In October 2012, Theisen sent Daniel Schumacher, the then Chief
10     Financial Officer of Defendant UnitedHealthcare, and others a “CV III analysis – based
11     on 2011-2012 Chart review activity for 2011 DOS.” The document showed validation
12     rates based on the review of HCCs because the coders were instructed to find support for
13     any diagnosis that mapped to the HCC under review even if it was not the same
14     diagnosis reported by the provider that originally mapped to that HCC. The document
15     showed that the validation rate “[b]ased on results of CV3 pilot (5,000 chart sample)”
16     was 66.4 percent. In other words, only 66.4 percent of the HCCs reviewed were
17     supported by the beneficiaries’ medical records. That meant that 33.6 percent of the
18     HCCs were unsupported by the beneficiaries’ medical records even after
19     UnitedHealthcare Medicare & Retirement and Optum had them reviewed twice, once as
20     part of the Chart Review Program and again as part of the pilot Claims Verification
21     Phase III process. Based on these results, UnitedHealthcare Medicare & Retirement
22     estimated that the negative financial impact of Claims Verification in 2012 would be
23     $231 million based on the number of estimated “potential deletes” that it could not save
24     and would have to be made. It estimated that diagnoses mapping to 120,147 HCCs
25     would have to be deleted and that, on average, each delete would result in a $1,924
26     negative financial impact.
27     210. In or about October 2012, UnitedHealthcare Medicare & Retirement recorded in
28     its financial records a $208 million accrual for potential revenue reductions due to
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 1     deletes that would need to be made as part of the Claims Verification Program
 2     (hereinafter referred to as a “CV liability accrual”) for payment year 2012. Relator
 3     Poehling and Kyle Anderson were aware of this CV liability accrual. In late 2012, other
 4     individuals at UnitedHealthcare Medicare & Retirement and Optum, including Timothy
 5     Noel, Scott Theisen, and Jon Bird, were also aware of the CV liability accrual and/or the
 6     estimated negative financial impact of the Claims Verification Program.
 7     211. UnitedHealthcare Medicare & Retirement and Optum did not complete their pilot
 8     tests and start to implement their Claims Verification Program for charts relating to 2011
 9     medical encounters (i.e., with 2011 dates of service) until late 2012. Even after that,
10     they never fully implemented the program. They also continually changed the program
11     in order to limit its scope and created arbitrary rules to avoid looking at the negative
12     results of many of the blind chart reviews conducted as part of the Chart Review
13     Program. In addition, when they learned that their second review of the medical records
14     in Claims Verification was not saving a significant number of diagnoses from deletion,
15     they created another level of review. That is, it created a re-re-review or third review of
16     the beneficiaries’ medical records in order to keep trying to save the diagnoses from
17     deletion. They also limited the scope of Claims Verification by excluding certain
18     providers, including providers that they or their affiliates owned and operated. In 2014,
19     Defendants UHG and UnitedHealthcare then terminated CV without completing the
20     program for charts relating to 2012 medical encounters (with 2012 dates of service).
21     212. UnitedHealthcare Medicare & Retirement and Optum imposed several arbitrary
22     exclusionary rules to improperly disqualify many medical records reviewed as part of
23     their Chart Review Program from their Claims Verification Program. For medical
24     records for encounters in 2011 and 2012, they arbitrarily and improperly excluded
25     numerous medical records from Claims Verification. For example, they excluded
26     numerous charts from Claims Verification because the image of the chart was
27     purportedly “unavailable.” Yet, when making ADDS in the Chart Review Program, the
28     image of the chart or chart itself must have been available. But, instead of locating the
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 1     images or obtaining the charts for Claims Verification, they decided not to re-review the
 2     charts to save those diagnoses invalided by the results of their Chart Review Program.
 3     They also did not delete those invalid diagnoses.
 4     213. The re-reviews conducted as part of the Claims Verification Program did not save
 5     as many deletes as UnitedHealthcare Medicare & Retirement would have liked and, in
 6     2013, Theisen and others at UnitedHealthcare Medicare & Retirement became
 7     increasingly concerned about the financial impact of the deletes. UnitedHealthcare
 8     Medicare & Retirement decided that its coders were not saving enough “potential
 9     deletes.” Accordingly, sometime in 2013, UnitedHealthcare Medicare & Retirement
10     decided that a third review or a re-re-review of the medical records had to be conducted
11     to try to save more deletes.
12     214. Thus, if Optum’s internal coders were unable, despite their best efforts, to “save” a
13     diagnosis code, Optum sent that code to a coding consultant for re-re-review. Optum
14     knew, however, that the consultant engaged in a pattern of “saving” diagnoses without
15     supporting medical records in several circumstances, including when the chart was
16     scanned illegibly, when pages were missing from a chart and the diagnosis could not be
17     validated, and when the reported date of service did not appear in the chart. By
18     accepting validation of these diagnoses without supporting medical records, Optum
19     knowingly and improperly avoided its and UnitedHealthcare Medicare and Retirement’s
20     obligation to return monies wrongfully obtained from the Medicare Program.
21     215. In November 2013, Donald James, then Director of Program Strategy for Optum
22     in Santa Ana, California, reported to senior management that the Claims Verification
23     Program had not yet started for charts reviewed as part of the 2013 Chart Review
24     Program. In December 2013, Patty Brennan, then also in the Optum Santa Ana office,
25     reported to Dumcum that “[h]alf of the CV volume for 2012 DOS has been completed
26     but deletes are on hold.” She also informed him that UnitedHealthcare Medicare &
27     Retirement “[r]equested all CV deletes be held until further noticed so Ops is not going
28     to complete the second half of the volume at this time.”
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 1     216. When Steve Nelson became the Chief Executive Officer of UnitedHealthcare
 2     Medicare & Retirement in early 2014, he spoke with Steve Hemsley, then Chief
 3     Executive Officer of UHG, about whether UnitedHealthcare Medicare & Retirement
 4     should continue the Claims Verification Program. Hemsley encouraged Nelson to look
 5     into whether or not it should do so, formulate an opinion, and report back to him.
 6     217. In February 2014, Marc Beckmann, then in the Finance – Risk Adjustment
 7     Analysis Group at UnitedHealthcare Medicare & Retirement, sent information about CV
 8     liability accruals to Daniel Schumacher, the Chief Financial Officer of Defendant
 9     UnitedHealthcare, and Brian Thompson, the Chief Financial Officer for
10     UnitedHealthcare Medicare & Retirement. He estimated that the effect of Claims
11     Verification on UnitedHealthcare Medicare & Retirement’s revenue would be $208
12     million for payment year 2012, $125 million for payment year 2013, and either $125
13     million or $175 million (depending on the number of charts reviewed) for payment year
14     2014. This information was also provided to other individuals at UnitedHealthcare
15     Medicare & Retirement including, but not limited to, Jay Matushak, Marybeth Meyer,
16     and Kyle Anderson.
17     218. On March 3, 2014, Jon Bird, the Optum Senior Vice President of Risk and Quality
18     Analytics, participated in a meeting with Brian Thompson about the CV liability accrual
19     for 2013. Thompson wanted to “move toward the more conservative range of the
20     confidence interval (from 50% to 80%) resulting in [a] $29M higher CV estimate” for
21     the liability accrual. By March 3, 2014, UnitedHealthcare Medicare & Retirement’s
22     estimate of its CV liability accrual for 2013 already had been increased by over $50
23     million dollars from $125 million to $180 million.
24     219. Also, in February or March 2014, the financial managers at UnitedHealthcare
25     Medicare & Retirement, including Brian Thompson, performed a comparison of their
26     then-expected revenues for 2014 with the revenue estimated in UnitedHealthcare
27     Medicare & Retirement’s annual budget for 2014. They determined that there was going
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 1     to be a shortfall in their financial performance relative to that budget and they started to
 2     think about ways to eliminate the shortfall.
 3     220. In March 2014, Thompson sent Nelson “a current brain dump of ‘shut off/stop
 4     doing’ that is not yet valued/included in the road back to plan.” Part of the “brain dump”
 5     was to “shut off” or reduce compliance efforts. Thompson asked others at
 6     UnitedHealthcare Medicare & Retirement for other “shut offs.”
 7     221. Subsequently in March 2014, Marybeth Meyer, who ran the risk adjustment team
 8     at UnitedHealthcare Medicare & Retirement, reported to Thompson that the “CV
 9     estimate of $125M may be light (estimate for 2012 DOS/2013 payment year of
10     $167M).”
11     222. In late March or early April 2014, Nelson met with other Chief Executive Officers
12     at Defendant UnitedHealthcare to discuss UnitedHealthcare Medicare & Retirement’s
13     financial performance. A very detailed slide deck was created for that meeting. The
14     slide deck was sent by Schumacher to senior executives at UnitedHealthcare, including
15     Gail Boudreaux (who reported to Hemsley), Nelson, Brian Thompson, and Paul
16     Balthazor. The slide deck highlighted that UnitedHealthcare Medicare & Retirement
17     was projecting that its actual revenues for 2014 were going to miss the target set forth in
18     the annual budget by half of a billion dollars. It stated: “Best estimate of $500 million
19     budget miss.” It also stated that, because of that projected miss, UnitedHealthcare
20     Medicare & Retirement’s management was making a commitment to the senior
21     executives to “find $250 million to cut miss in half.” UnitedHealthcare Medicare &
22     Retirement referred to this “Management Commitment” as a $250M “good guy.”
23     223. Nelson and others, including Boudreaux (who reported to Hemsley), knew that, if
24     UnitedHealthcare Medicare & Retirement terminated the Claims Verification Program, it
25     could reduce the $500 million budget miss by not deleting the provider-reported
26     diagnoses invalidated by its chart reviews and reversing the CV liability accruals. This
27     was their “good guy.” But, it appears that UHG, UnitedHealthcare, and Optum were
28     concerned about the consequences of terminating the program and reverting to ignoring
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 1     the negative results of their chart reviews. They decided to ask CMS about the
 2     retroactivity of a proposed regulation requiring MA Organizations to design all medical
 3     record reviews to validate diagnoses submitted to CMS.
 4     224. Under Hemsley’s direction, Larry Renfro, the Chief Executive Officer of Optum,
 5     contacted senior government employees at CMS, including the Administrator of CMS,
 6     to ask whether the Defendants had a legal obligation to perform Claims Verification
 7     before the effective date of the proposed rule. These employees were not government
 8     attorneys and could not render the requested legal advice. Renfro, moreover, knew
 9     nothing about the UHG Managing Defendants’ Chart Review and Claims Verification
10     Programs and could not impart any meaningful information about these programs to the
11     government employees. Accordingly, Renfro could not and did not provide the senior
12     government employees with any description of the Claims Verification Program or its
13     purpose. Hemsley and his attorneys, however, continued to push Renfro to make further
14     contacts with these government employees when UHG, UnitedHealthcare, and Optum
15     did not obtain from these government employees the legal opinion they wanted.
16     225. On or before April 8, 2014, Renfro asked Karen Erickson, an Optum executive
17     who worked directly for him, for speaking points for a call with the Administrator of
18     CMS. On April 8, 2014, Erickson sent Renfro’s assistant, Juliet Domb, “aspirational”
19     talking points, that is, things that they wanted Renfro to get the CMS employees to say,
20     including “CV is not currently required” and that Defendants were “allowed to stop any
21     CV activities (including delete submission) currently underway.” (Emphasis in the
22     original.) In her email, Erickson told Domb: “I sent this to Marianne [Short] and Matt
23     Shors for editing – they will send final directly, and they know it has to be today.” The
24     same day, Renfro spoke to Hemsley and Short to obtain direction about what he should
25     say to the Administrator of CMS on the call that he had scheduled with the
26     Administrator. Renfro then purportedly spoke with the CMS Administrator and
27     purportedly dictated notes of the call to Domb, who wrote the notes by hand on Renfro’s
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 1     notepad and sent them to Short. According to Renfro, he dictated these notes from
 2     memory and he does not usually take notes, but was asked to do so by Short.
 3     226. On April 26, 2014, Short asked Renfro to again contact the Administrator of CMS.
 4     According to Brian Thompson (the Chief Financial Officer of UnitedHealthcare
 5     Medicare & Retirement in 2014), Renfro had not obtained the “clarity” they wanted
 6     from the Administrator about whether they were obligated to perform Claims
 7     Verification. Accordingly, on April 27, 2014, Renfro sent an email to the Administrator
 8     asking the same questions he had purportedly asked her on April 8 and to which she
 9     purportedly had responded on April 8. He also asked for a meeting with other
10     employees at CMS who were responsible for operating the MA Program. On April 27,
11     2017, Renfro reported to Hemsley and Short that CMS was arranging for the UHG
12     Managing Defendants to meet with these employees. On April 29, 2014, Hemsley sent
13     UnitedHealthcare’s attorney, Thad Johnson, to Washington, D.C. to speak with those
14     CMS employees responsible for the MA Program, including Cheri Rice, the Director of
15     the Medicare Plan Payment Group at CMS. Nelson, Schumacher, and an Optum
16     executive, Karen Erickson, also attended the meeting. At the meeting, when the UHG
17     Managing Defendants informed CMS about the possibility of terminating their Claims
18     Verification Program, CMS told them that they had a statutory obligation to report and
19     repay the Medicare Program for erroneous risk adjustment payments and that there were
20     FCA implications if they failed to do so. CMS also told the UHG Managing Defendants
21     that they could not ignore information in their possession showing that diagnoses may be
22     invalid and that they were obligated to delete invalid diagnoses. According to Erickson,
23     CMS told the UHG Managing Defendants that “if there was reason to have knowledge
24     that something had been begun and we were [i.e., Defendants were] far enough along
25     that there was knowledge that something might not be supported that we needed to
26     continue the investigation into those numbers, or those codes.” Erickson further recalled
27     CMS stating that, if they had “knowledge of things that might not be supported we [i.e.,
28     the Defendants] needed to continue the investigation.” According to Schumacher, CMS
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 1     also told them that CMS did not have sufficient information about the Claims
 2     Verification Program to provide further guidance.
 3     227. On April 30, 2014, Nelson sent an email to Cheri Rice at CMS about the meeting
 4     between the UHG Managing Defendants and CMS on April 29, 2014. He stated: “[A]s
 5     we discussed yesterday, CMS recently issued a proposed rule that would, if finalized,
 6     require MA plans to design any medical record reviews to determine the accuracy of risk
 7     adjustment diagnoses associated with those records. During our conversation yesterday
 8     and other recent conversations, CMS confirmed to us that these requirements do not
 9     apply until the effective date of the rule, and that MA plans are thus not currently
10     required to design their medical record reviews to determine the accuracy of risk
11     adjustment diagnoses. We currently have a process through which we review certain
12     medical records to determine the accuracy of risk adjustment diagnoses and submit
13     appropriate deletes. This process already has resulted in the identification of and, in
14     some instances, the submission of deletes for 2012 dates of service. But based on the
15     proposed rule, including the preamble, and recent conversations with CMS, we
16     suspended that process for 2012 dates of service while we consider whether to make
17     changes. Pursuant to our discussion, however, we will soon submit for deletion those
18     diagnosis codes that have undergone a complete review and that we have therefore
19     identified as appropriate deletes. In the near future, we will determine whether to
20     continue our review process for the diagnosis codes which were still under review at the
21     time we suspended our process. In the meantime we will not delete these codes.”
22     228. On May 2, 2014, Cheri Rice replied to Nelson’s email: “[R]egardless of the
23     effective date of the proposed requirement related to medical record reviews, there are
24     other laws that do impose standards, requirements and responsibilities on MA plans in
25     connection with the federal payments they receive from CMS. We cannot provide
26     advice to United about the scope of those other laws. Nor can we provide advice on
27     whether United’s plan[ned] course of action and/or purported limits on the scope of its
28     [Risk Adjustment Attestation, submitted April 30, 2014] are compliant with such other
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 1     laws. Your statement concerning the data submissions that have already been made and
 2     United’s plans for future action will be included in our records and we will proceed with
 3     our evaluation and use of the risk adjustment data consistent with 42 CFR § 422.308, §
 4     422.310, and other applicable law.”
 5     229. According to Schumacher and Nelson, Rice’s May 2, 2014 email did not say
 6     anything that was inconsistent with what CMS said in the meeting on April 29, 2014.
 7     After Rice sent her May 2 email, the Department of Justice sent a letter to Defendants’
 8     counsel emphasizing that the FCA is one of the “other laws” that imposes standards,
 9     requirements, and responsibilities on MA Organizations and Related Entities in
10     connection with the federal payments received from the Medicare Program.
11     230. On May 5, 2014, Jay Matushak informed Jeffrey Putman, UHG’s Controller who
12     reported to Hemsley, and others (including Schumacher and Brian Thompson) that
13     “M&R CV delete, good guy, is ~$250M for the year (note this is just the M&R piece and
14     there is an incremental component at C&S).” On the same date, Brian Thompson also
15     informed Putnam and others (including Matushak and Schumacher) that
16     UnitedHealthcare Medicare & Retirement had “not made a final determination to our CV
17     policy,” “[o]ur RAF counsel will make that determination,” and that “determination will
18     not occur until later in May most likely.” According to Schumacher, the $250 million
19     was the estimated amount of the deletes from Claims Verification for 2014 and prior
20     years and, thus, the CV liability accruals that had been recorded for 2014 and prior years.
21     The “good guy” was the hoped-for release or reversal of those accruals.
22     UnitedHealthcare Medicare & Retirement knew the accruals were likely underestimated
23     and the financial impact likely greater if it did not terminate the Claims Verification
24     Program.
25     231. Despite CMS’ warnings in the April 29 meeting and Cheri Rice’s May 2 email,
26     Nelson, Schumacher, and Brian Thompson decided to go forward with the idea of
27     terminating the Claims Verification Program. This decision was reported to Hemsley
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 1     and, according to Nelson, Hemsley could have reversed this decision but instead he
 2     supported it.
 3     232. Despite the warnings, UnitedHealthcare Medicare & Retirement also decided not
 4     to delete or otherwise report to CMS at least 100,000 invalid diagnoses about which it
 5     had actual knowledge based on more than one review of the patients’ medical records
 6     for encounters in 2011 and 2012 (i.e., encounters with 2011 and 2012 dates of service).
 7     The single damages to the Medicare Program arising from its submission of and failure
 8     to delete just these invalid diagnoses is approximately $190 million under Part C alone.
 9     233. After they terminated the Claims Verification Program, UnitedHealthcare
10     (including UnitedHealthcare Medicare & Retirement and UnitedHealthcare Community
11     & State) and Optum reverted to “looking one way” at the results of their chart reviews,
12     making only ADDS, and knowingly and improperly failing to delete invalid provider-
13     reported diagnoses and repay the Medicare Program for them.
14     234. At the time they decided to terminate the Claims Verification Program, Steve
15     Nelson, Dan Schumacher, and Brian Thompson knew that their decision would enable
16     UnitedHealthcare Medicare & Retirement to reverse its CV liability accruals by more
17     than $250 million dollars. Hemsley also was aware that terminating Claims Verification
18     would enable UnitedHealthcare Medicare & Retirement to achieve this financial benefit.
19     This was important to all of them because they wanted to represent to investors that
20     UnitedHealthcare Medicare & Retirement’s actual revenues were on target. An internal
21     document relating to their second quarter 2014 “earnings release” issued in July 2014
22     states: “Q2 was on track and we are building momentum that will take us through the
23     year and into 2015. Internal: Important to note that 2014 benefits from the one-time
24     claims verification policy change which investors are unaware of.” (Emphasis in the
25     original.) On July 11, 2014, this internal document was sent to Nelson and Thompson,
26     among others.
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 1                  D.     United Failed to Delete Diagnoses Invalidated By Its Own
 2                         Chart Review Program
 3     235. The results of the UHG Managing Defendants’ national Chart Review Program
 4     provided them information about a significant number of invalid provider-reported
 5     diagnoses that should not have been, but were, submitted by them on behalf of the
 6     Defendant MA Organizations to the Medicare Program for risk adjustment payments.
 7     For example, for the 2011 payment year (involving payments based on diagnoses with
 8     2010 dates of service), UnitedHealthcare Medicare & Retirement and Optum submitted
 9     at least 197,000 diagnoses that were invalidated by the medical record reviews
10     conducted as part of their Chart Review Program. But, for that year, they deleted only a
11     very few (only about 1,800) of these invalid diagnoses based on the results of Phase II of
12     the Claims Verification Program. For the 2012 payment year (involving payments based
13     on diagnoses with 2011 dates of service), UnitedHealthcare Medicare & Retirement and
14     Optum submitted at least 222,329 diagnoses that were invalidated by the medical record
15     reviews conducted as part of their national Chart Review Program. Based on the results
16     of the Claims Verification Program for charts with 2011 dates of service, they deleted
17     approximately 120,000 of these invalid diagnoses despite their arbitrary exclusionary
18     rules and attempts to save these deletes. For the 2013 payment year (involving payments
19     based on diagnoses with 2012 dates of service), UnitedHealthcare Medicare &
20     Retirement and Optum submitted at least 285,122 diagnoses that were invalidated by the
21     medical record reviews conducted as part of their national Chart Review Program.
22     Based on the results of the Claims Verification Program for charts with 2012 dates of
23     service, they deleted approximately 27,000 of these invalid diagnoses despite their
24     arbitrary exclusionary rules, multiple attempts to save these deletes, and failure to
25     complete the program. For the 2014 payment year (involving payments based on
26     diagnoses with 2013 dates of service), UnitedHealthcare Medicare & Retirement and
27     Optum submitted at least 199,039 diagnoses that were invalidated by the medical record
28     reviews conducted as part of their Chart Review Program. Because UHG,
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 1     UnitedHealthcare, and Optum terminated the Claims Verification Program, they did not
 2     delete any of these invalid diagnoses. These numbers apply to invalid diagnoses relating
 3     to risk adjustment payments under Part C only and not also Part D.
 4     236. Accordingly, the UHG Managing Defendants knowingly and improperly failed to
 5     delete or otherwise repay Medicare for most of the diagnoses invalidated by their
 6     national Chart Review Program over the last decade.
 7     237. For example: for the 2011 payment year, they failed to repay the Medicare
 8     Program at least $377,734,792 by failing to look both ways and delete diagnoses
 9     invalidated by the Chart Review Program; for the 2012 payment year, they failed to
10     repay the Medicare Program at least $213,978,134 by failing to look both ways and
11     delete diagnoses invalidated by the Chart Review Program; for the 2013 payment year,
12     they failed to repay the Medicare Program at least $317,329,602 by failing to look both
13     ways and delete diagnoses invalidated by the Chart Review Program; and for the 2014
14     payment year, they failed to repay the Medicare Program at least $234,159,775 by
15     failing to look both ways and delete diagnoses invalidated by the Chart Review Program.
16     These numbers apply to the failure to make repayments relating to risk adjustment
17     payments under Part C only and not also Part D.
18     238. Examples of beneficiaries with invalid diagnoses about which Defendants knew
19     but failed to delete based on its Chart Review Programs for payment years 2011 through
20     2014 are set forth in Exhibit 13 to this Complaint.
21           III.   The RACCR Program
22     239. The UHG Managing Defendants (which, in this section, refers to Ingenix or
23     Optum, depending on the time period, and Ovations or UnitedHealthcare Medicare &
24     Retirement, depending on the time period) negotiated agreements with some of the
25     largest healthcare provider groups that tied the provider groups’ compensation to their
26     beneficiaries’ risk scores. The UHG Managing Defendants knew that this compensation
27     structure created a financial incentive for the provider groups to increase the number and
28     severity of diagnoses they reported and to report invalid diagnoses. Nonetheless, while
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 1     the UHG Managing Defendants were scouring millions of medical records through the
 2     Chart Review Program to identify additional diagnoses and increase their revenue, their
 3     effort to identify the invalid codes submitted by these incentivized providers was limited
 4     to the RACCR Program. Moreover, the UHG Managing Defendants designed and
 5     implemented the RACCR Program to limit its scope and to minimize the number of
 6     invalid diagnoses for which the UHG Managing Defendants would have to return
 7     overpayments to CMS. They failed to delete invalid diagnosis codes identified through
 8     the RACCR Program, and eventually restructured the RACCR program to become just
 9     another program to identify additional diagnoses and to increase revenue, rather than a
10     program to remedy the known problem of invalid coding by incentivized providers.
11                  A.    Defendants Knew That Their Financially-Incentivized
12                        Providers Were Reporting Invalid Codes
13     240. As discussed above, the UHG Managing Defendants entered into financial
14     arrangements with capitated and gainsharing providers that were tied to the risk
15     adjustment payments that the Defendant MA Organizations received from the Medicare
16     Program. As a result, these providers benefited financially from any increase in risk
17     adjustment payments resulting from the diagnoses they reported to the UHG Managing
18     Defendants for beneficiaries enrolled in the Defendant MA Organizations’ Plans.
19     241. The UHG Managing Defendants knew that these compensation arrangements
20     created a strong financial incentive for these providers to increase the number and
21     severity of diagnoses they reported for each beneficiary, and in some cases to report
22     invalid diagnosis codes.
23     242. Early on, Ingenix implemented the Internal Data Validation (“IDV”) reviews
24     discussed earlier in this Amended Complaint. In or about 2010, Ovations (or its
25     successor, UnitedHealthcare Medicare & Retirement) and Ingenix expanded and
26     changed the name of that program to RACCR. Ingenix was responsible for conducting
27     the RACCR Program until Optum succeeded it in 2011, after which Optum was
28     responsible for conducting the program. Likewise, Ovations was responsible for
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 1     managing the RACCR Program until UnitedHealthcare Medicare & Retirement
 2     succeeded it and assumed responsibility for the program in 2010.
 3     243. Although the IDV and RACCR Programs were extremely limited in scope and
 4     utility, they confirmed what the UHG Managing Defendants already knew: that there
 5     were serious problems with the diagnoses being reported by a number of the financially-
 6     incentivized providers, including WellMed (which UHG acquired in 2011).
 7                  B.     UnitedHealthcare Structured The RACCR Program To
 8                         Limit The Number Of Invalid Diagnosis Codes It Identified
 9     244. The UHG Managing Defendants knew they had an obligation to review diagnoses
10     reported by incentivized providers to determine their validity. In an April 23, 2012
11     email to many United Healthcare executives and managers (including Scott Theisen,
12     Keith Dobbins, Michael McCarthy, and Kimberly Halva), Mary Hammond, one of the
13     UnitedHealthcare employees who oversaw the RACCR program, described RACCR as
14     “an important part of Medicare & Retirement’s efforts to meet CMS requirements to
15     submit accurate risk adjustment data.” Later, in a June 22, 2012 agenda for a meeting
16     attended by Keith Dobbins, Kim Halva, Benjamin Poehling, and others, Mary Hammond
17     stated that the answer to “Why RACCRs?” was that “We have an obligation to submit
18     accurate Dx data to CMS.”
19     245. Despite the UHG Managing Defendants’ understanding that the RACCR Program
20     was part of UHG’s effort to comply with CMS’s accuracy requirements, they structured
21     the RACCR Program to limit its utility in identifying invalid diagnosis codes. There
22     were various fundamental limitations on the RACCR Program.
23     246. First, the UHG Managing Defendants excluded from their RACCR Program any
24     incentivized providers who cared for fewer than 500 beneficiaries in a Plan. This
25     resulted in the exclusion of approximately 40 percent of the financially-incentivized
26     providers from the RACCR Program for medical encounters in 2008, 2009, and 2010
27     (i.e., with dates of service in those years).
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 1     247. Second, for the incentivized provider groups with 500 beneficiaries or more, the
 2     UHG Managing Defendants did not review the medical documentation for any diagnoses
 3     unless the provider group was an extreme outlier in reporting diagnoses that mapped to
 4     one or more HCCs. For medical encounters in 2008, 2009, and 2010 (i.e., with dates of
 5     service in those years), the UHG Managing Defendants defined an outlier as a provider
 6     that reported diagnoses mapping to a particular HCC more than three times as often as
 7     the average national prevalence rate for that HCC for all beneficiaries in the Defendant
 8     MA Organizations’ MA Plans. For example, if 15 percent of the beneficiaries in these
 9     MA Plans nationwide were reported by providers to have a diagnosis that mapped to
10     HCC 52 (Drug/Alcohol Dependence), the UHG Managing Defendants did not consider
11     the incentivized provider an outlier unless it reported diagnoses mapping to HCC 52 for
12     more than 45 percent of its patients enrolled in a Defendant MA Organization’s Plan.
13     Combined with the exclusion of providers with less than 500 beneficiaries, this resulted
14     in a total exclusion of over 80 percent of the financially-incentivized providers for
15     medical encounters in 2008, 2009, and 2010.
16     248. For medical encounters in 2011 and 2012, the UHG Managing Defendants further
17     limited which providers would qualify as outliers in order to reduce the number of
18     providers and HCCs subject to review. Instead of using a national average prevalence
19     rate for each HCC based on diagnoses reported by all of the providers in the Defendant
20     MA Organizations’ MA Plans, the UHG Managing Defendants used the average rate at
21     which only financially-incentivized providers reported diagnoses mapping to each HCC.
22     Thus, an incentivized provider was considered an outlier only if it reported diagnoses
23     mapping to an HCC greater than two standard deviations above the rate that the HCC
24     was coded by other incentivized providers, that is, providers who also had a financial
25     incentive to invalidly code.
26     249. A large percentage of the outliers were located in the Central District of
27     California. They are listed in Exhibit 14 to this Complaint.
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 1     250. Third, after limiting the program to only extreme outliers, the UHG Managing
 2     Defendants conducted an initial review of just a small sample of beneficiaries for whom
 3     the provider had reported diagnoses mapping to the outlier HCC or HCCs (as used
 4     herein, an “outlier HCC” is one that meets the criteria identified in Paragraphs 246 and
 5     247 above for a particular provider and a particular encounter year). For medical
 6     encounters in 2008, 2009, and 2010, the initial sample size for even the largest provider
 7     groups was never more than 30 beneficiaries per outlier HCC, and was often as few as
 8     10 beneficiaries per outlier HCC. The UHG Managing Defendants purposefully kept the
 9     sample size small to ensure the samples were not statistically significant, in the hope of
10     preserving the ability to argue later that they were unable to extrapolate the results of
11     their sample reviews to all of the diagnoses reported by the provider that mapped to the
12     outlier HCC. For 2011 and 2012 medical encounters, the UHG Managing Defendants
13     increased the initial sample size to 50 beneficiaries per provider for each outlier HCC.
14     251. Fourth, after reviewing the medical records for the beneficiaries in the sample to
15     determine if the diagnoses were valid, the UHG Managing Defendants gave a provider a
16     “passing” grade if anything less than 20 percent of the diagnoses were determined to be
17     invalid. Accordingly, even if 19 percent of the diagnoses in the sample were invalid, the
18     provider passed and no further review was conducted.
19     252. Fifth, if a provider failed the initial review for a particular outlier HCC, the UHG
20     Managing Defendants often added only a few additional beneficiaries to the sample (i.e.,
21     additional beneficiaries for whom the provider had reported diagnoses mapping to the
22     outlier HCC). The UHG Managing Defendants called this slightly larger sample an
23     “incremental sample.” If they were successful in decreasing the invalidation rate to
24     below 20 percent based on increasing the sample size, the UHG Managing Defendants
25     considered the provider group to have a passing grade for that HCC. Accordingly, if 19
26     percent of the diagnoses in the “incremental sample” were invalid, the provider passed
27     and no further review was conducted.
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                                                    120
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 1     253. Sixth, when the UHG Managing Defendants determined that a provider failed the
 2     incremental sample review for an outlier HCC, their RACCR policy specified that, with
 3     limited exceptions, all diagnoses reported by that provider mapping to the outlier HCC
 4     should be reviewed. In other words, once it was established that a provider reported
 5     diagnoses mapping to a particular HCC three times or more than the national average
 6     and that 20 percent or more of the diagnoses in a sample review were not supported by
 7     the beneficiaries’ medical records and that increasing the sample size did not reduce the
 8     percentage of unsupported codes, even the UHG Managing Defendants recognized that,
 9     with limited exceptions, a complete review of the medical records for all beneficiaries
10     for whom the provider had reported diagnoses mapping to the outlier HCC was essential.
11     But in most cases, the UHG Managing Defendants did not conduct these 100 percent
12     reviews themselves. Instead, as part of the RACCR Program, the UHG Managing
13     Defendants purported to require the financially incentivized providers – the very
14     providers who had over-reported the diagnoses at issue – to conduct these 100 percent
15     reviews.
16                  C.      Despite Its Limited Scope, The RACCR Program
17                          Confirmed That Financially Incentivized Providers Were
18                          Submitting Invalid Diagnosis Codes
19     254. Despite the many flaws of the RACCR Program, the UHG Managing Defendants
20     knew from the results of their small sample reviews and the 100 percent reviews that
21     were actually conducted that significant problems existed with diagnoses reported by
22     financially-incentivized providers.
23     255. By the end of March 2011, the UHG Managing Defendants were analyzing final
24     results of RACCR sample analyses for encounters in 2008 and 2009, and had determined
25     that a majority of the outlier HCCs analyzed in those years had validation rates below 80
26     percent, according to a March 29, 2011 email and spreadsheet that Benjamin Poehling
27     sent to Paul Bihm.
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 1     256. By mid-February 2012, the UHG Managing Defendants reviewed samples for
 2     encounters in 2010 and, again, found a substantial number of outlier HCCs that had
 3     validation rates below 80 percent, according to a February 13, 2012 email and supporting
 4     materials that Mary Hammond sent to Benjamin Poehling.
 5     257. Overall, for the sample reviews for 2008, 2009, and 2010 encounters, nearly half
 6     (49.61 percent) of the outlier HCCs reviewed failed the 80 percent validation test. Over
 7     a third (37.01 percent) of all sampled diagnoses were not supported by the beneficiaries’
 8     medical records. On April 23, 2012, Mary Hammond reported to numerous of the
 9     employees of the UHG Managing Defendants (including Scott Theisen, Michael
10     McCarthy, Kimberly Halva, Keith Dobbins, and others) that Optum had calculated the
11     final results for samples from encounters in 2008, 2009, and 2010, and had identified the
12     providers who had failed the 80% validation test.
13     258. For the sample reviews for 2011 encounters, more than half (57.34 percent) of the
14     outlier HCCs reviewed failed the 80 percent validation test, and over 30 percent of all
15     sampled diagnoses reviewed for that year were not supported by the beneficiaries’
16     medical records, according to an August 8, 2013 email and supporting documentation
17     from Optum’s Tracey Bradberry to Scott Hughes at Optum and Melissa Ferron, the
18     President of iCodify, a diagnosis coding consultant.
19     259. For the sample reviews for 2012 encounters, more than half of the outlier HCCs
20     failed the 80 percent validation test, and more than a third (38 percent) of all sampled
21     diagnoses were invalid, according to a July 2, 2014 presentation by Marybeth Meyer.
22     260. The problems with incentivized providers’ invalid diagnoses were not isolated
23     incidents, but in many circumstances reflected a clear pattern of miscoding by provider
24     groups. Although the UHG Managing Defendants purposefully reviewed only a small
25     sample of medical records each year, they knew that certain provider groups were
26     consistently identified as extreme outliers on certain HCCs and failed the 80 percent
27     sample validation test year after year. For example:
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 1           •      Every year from 2008 through 2011, Edinger Medical Group was an
 2     extreme outlier for Spinal Cord Disorders/Injuries (HCC 69). Over those four years,
 3     Optum (or its predecessor, Ingenix) reviewed medical records for a total of 126
 4     beneficiaries that Edinger diagnosed with Spinal Cord Disorders/Injuries and determined
 5     that the medical records of only two of those beneficiaries actually supported those
 6     diagnoses. (Under the RACCR Program, Edinger or the UHG Managing Defendants
 7     should have conducted 100 percent reviews of its diagnoses that mapped to this HCC for
 8     the years 2008 through 2011, but they did not do so.)
 9           •      Every year from 2008 through 2012, HealthCarePartners was an extreme
10     outlier for Drug/Alcohol Psychosis (HCC 51). During those five years,
11     HealthCarePartners’s highest sample validation rate for this HCC was 57.14 percent.
12     HealthCarePartners conducted 100 percent reviews for 2008, 2009, and 2011, and even
13     HealthCarePartners recognized that over a third of the diagnoses it reported were not
14     supported by its medical records. (Under the RACCR Program, HealthCarePartners or
15     the UHG Managing Defendants should have conducted 100 percent reviews for 2010
16     and 2012, but they did not do so.)
17           •      Every year from 2008 through 2012, a provider named CAIPA was an
18     extreme outlier for Chronic Hepatitis (HCC 27). During those five years, CAIPA’s
19     highest sample validation rate for this HCC was 76.92 percent. CAIPA conducted 100
20     percent reviews for 2008 and 2009 encounters, and its highest self-audit validation rate
21     was 56.73 percent. (Under the RACCR Program, CAIPA or the UHG Managing
22     Defendants should have conducted a 100 percent reviews for 2010 through 2012, but
23     they did not do so.)
24           •      Every year from 2008 through 2012, Hemet Community Medical Group
25     was an extreme outlier for Spinal Cord Disorders/Injuries (HCC 69). During those five
26     years, Hemet’s highest sample validation rate for this HCC was 50 percent. Hemet
27     conducted 100 percent reviews for 2008 through 2011, and its highest self-audit
28     validation rate also was 50 percent. (Under the RACCR Program, Hemet or the UHG
                                                  123
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 1     Managing Defendants should have conducted a 100 percent review for 2012, but they
 2     did not do so.)
 3           •       Every year from 2008 through 2012, WellMed was an extreme outlier for
 4     Disorders of Immunity (HCC 45). During those five years, WellMed’s highest sample
 5     validation rate for this HCC was 56.00 percent. WellMed conducted 100 percent
 6     reviews for 2008, 2009 and 2011, and its highest self-audit validation rate was 63.64
 7     percent. (Under the RACCR Program, WellMed or the UHG Managing Defendants
 8     should have conducted a 100 percent review for 2010 and 2012 encounters, but they did
 9     not do so.)
10     261. In those cases in which providers performed 100 percent reviews, the results
11     confirmed that the providers had initially submitted numerous invalid codes. Marybeth
12     Meyer and Scott Hughes’s RACCR tracking spreadsheet indicated that more than 65
13     percent of the HCCs that providers reviewed in conducting 100 percent reviews had
14     validation rates below 80 percent. The RACCR “master tracking” documents that
15     Hughes updated regularly for Marybeth Meyer from 2013 through 2015 showed that
16     validation rates for problematic HCCs did not improve over time.
17     262. The UHG Managing Defendants’ executives were routinely informed of RACCR
18     results. Beginning in 2011 and until at least 2014, the UHG Managing Defendants held
19     frequent meetings – usually weekly – concerning the status of the RACCR Program and
20     its results, with regular attendance by those responsible for the RACCR Program
21     (including, at various times, Kim Halva, Keith Dobbins, Marybeth Meyer, Benjamin
22     Poehling, Patty Brennan, Mary Hammond, Scott Hughes, and Pam Thomsen). During
23     these meetings, participants discussed the status and results of RACCR reviews, coding
24     results for individual practice groups, provider meetings to discuss results and 100
25     percent reviews, how 100 percent reviews would be handled in cases of provider
26     resistance, the financial impact of RACCR reviews, and changes to the RACCR
27     Program.
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 1     263. At least as early as February 14, 2012, Scott Theisen, Mary Hammond, and
 2     Benjamin Poehling met to discuss the deletion of codes resulting from the IDV and
 3     RACCR Programs for encounters in 2008, 2009, and 2010, and whether those deletions
 4     had been submitted. In March 2012, Theisen asked Hammond, Dumcum, Poehling, and
 5     Paul Bihm to pull together summary data concerning RACCR sample results for
 6     discussions with the incentivized providers. Theisen continued to be actively involved
 7     with some of the large incentivized providers that month, reviewing HealthCarePartners’
 8     results with Hammond and asking Hammond to identify the volume of codes that might
 9     be reviewed if WellMed were asked to do a 100 percent review so that he could provide
10     a “worst case” scenario to John Way. In April 2012, Poehling updated Way regarding
11     the status of WellMed’s RACCR review, and Kimberly Fadden wrote to a number of
12     employees of the UHG Managing Defendants, including Jeff Dumcum, Stephanie Will,
13     and Jon Bird, noting that, among other things, there were then 40 to 42 provider groups
14     in the 100 percent review process. The UHG Managing Defendants continued to
15     provide periodic overviews or status updates concerning the RACCR Program to their
16     executives and responsible employees. For example, in October 2013, Hammond sent
17     Karen Erickson, Jon Bird, Scott Theisen, Jeff Dumcum, Patty Brennan, Marybeth
18     Meyer, and others a “two-page detailed document that outlines the status, by provider
19     group and year, of the 2008-2012 RACCR program.”
20     264. The UHG Managing Defendants also kept their financial teams apprised of the
21     status of the RACCR Program so that they could monitor, report, and account for its
22     financial impact. For example, at some time before April 4, 2012, Jon Bird and Scott
23     Theisen began discussing a rough estimate of the financial impact of the deletion of
24     diagnosis codes as a result of RACCR. Theisen, Jon Bird, Bill Hnath, Melissa Sedor,
25     and others also attended a December 3, 2012 meeting discussing, among other things,
26     the financial effect of the IDV (i.e., RACCR) Program, including the deletion of
27     thousands of diagnosis codes as a result of that program. As set forth in more detail
28     below, the UHG Managing Defendants’ financial teams, including, at various times,
                                                  125
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 1     Theisen, Brian Thompson, Sedor and Hnath, also calculated liability accruals that
 2     UnitedHealthcare Medicare & Retirement took in 2012 and 2013 to account for the
 3     financial effect of the diagnosis codes that would have to be deleted as a result of the
 4     RACCR Program.
 5                  D.     UnitedHealthcare Knew It Was Obligated To Delete
 6                         Invalid Diagnosis Codes Identified Through The RACCR
 7                         Reviews
 8     265. The Managing Defendants knew that they were required to submit accurate
 9     diagnosis data to the Medicare Program. First, as described above, many of those
10     executives understood that RACCR was an important part of UnitedHealthcare Medicare
11     & Retirement’s efforts to meet CMS’s requirements regarding the submission of
12     accurate risk adjustment data, which necessarily implied the correction of inaccurate data
13     identified through the program.
14     266. Second, the UHG Managing Defendants’ conduct demonstrated their knowledge
15     that they were required to delete invalid diagnosis codes identified through the RACCR
16     Program. From 2012 through 2015, the Managing Defendants deleted – albeit belatedly
17     – many invalid diagnosis codes submitted to CMS for encounters from 2008 through
18     2013, after determining, through the RACCR Program, that those codes were invalid.
19     267. Third, UnitedHealthcare Medicare & Retirement’s practice of booking contra-
20     revenue accruals for the value of the deletions it had to submit as a result of the RACCR
21     Program demonstrated that the UHG Managing Defendants knew of their obligation to
22     return overpayments discovered through that program to the Government. Pursuant to
23     Statement of Financial Accounting Standards No. 5, Accounting for Contingencies, an
24     estimated loss from a loss contingency shall be accrued by a charge to income if both:
25     (a) a liability or impairment of an asset is “probable”; and (b) the amount of the loss can
26     be reasonably estimated. Thus, the accrual of loss contingencies relating to RACCR
27     reflected an acknowledgement that the return of an overpayment to the Government was
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 1     “probable,” and that UnitedHealthcare could reasonably estimate the amount of the
 2     overpayment to be returned.
 3     268. Beginning in 2012, UnitedHealthcare began taking liability accruals to account for
 4     changes in its revenue that it expected to incur as a result of deletion of invalid codes
 5     identified through the RACCR Program. By end of year 2012, it calculated that it would
 6     have to reduce its revenue by $79 million to account for its deletion of invalid codes
 7     resulting from RACCR reviews (including expected 100 percent reviews) of medical
 8     encounters in 2008, 2009, and 2010. That $79 million was less than the total amount of
 9     overpayment that it estimated it owed the United States, since it included both a
10     reduction in revenue resulting from the expected return of the overpayment and an offset
11     for the amount of money that it expected to recover from the incentivized providers,
12     which would have to share a portion of the burden of overpayment.
13     269. Accordingly, UnitedHealthcare took a liability accrual of $79 million. It shared
14     this calculation with Deloitte and Touche in connection with that firm’s audit of UHG’s
15     financial statements, as part of UnitedHealthcare’s quarterly RAF Accounting Treatment
16     for Q4 2012 and Risk Adjustment Factor Revenue and Receivable Accounting for 2012.
17     Bill Hnath and Melissa Sedor told UHG’s Deloitte auditors that the $79 million liability
18     accrual was “related to overpayments by CMS” that were identified through the RACCR
19     Program.
20     270. Scott Theisen was aware of the existence of a RACCR liability, and the
21     expectation that UnitedHealthcare would take an accrual for it, at least as early as
22     October 9, 2012, when Melissa Sedor sent him and Bill Hnath an August 2012 RAF
23     Financial Summary showing a $97.5 million exposure (i.e., amount of overpayment to
24     be returned) relating to the RACCR Program for encounters in 2008, 2009, and 2010.
25     271. In December 2013, Anne Reis, UnitedHealthcare Medicare & Retirement’s
26     Associate Director of Revenue, shared risk adjustment accruals with UnitedHealthcare
27     executives, including Scott Theisen, Brian Thompson, Bill Hnath, and Marybeth Meyer.
28     Those accruals included an additional liability accrual of $34.5 million for RACCR
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 1     overpayments for the 2012 date of service year (2013 payment year), increasing the total
 2     liability accrual for the RACCR Program to $90.7 million for the 2008-2012 date of
 3     service years (2009-2013 payment years). In taking a liability accrual for the 2012 date
 4     of service year, UnitedHealthcare determined that it was probable that RACCR reviews
 5     for the 2012 date of service year would result in the identification of deletes of diagnoses
 6     reported by incentivized providers for medical encounters in 2012, as these reviews had
 7     done in previous years.
 8     272. The accuracy of the risk adjustment data that UnitedHealthcare and others
 9     submitted to CMS on behalf of the Defendant MA Organizations was material to the
10     government’s decision to pay and to the amount of risk adjustment payments. The
11     submission of inaccurate diagnosis data from incentivized providers directly resulted in
12     increases in risk adjustment payments that the Government made to the Defendant MA
13     Organizations.
14     273. Similarly, when the UHG Management Defendants deleted inaccurate diagnoses –
15     as they did when inaccurate diagnoses were identified in sample RACCR reviews or 100
16     percent reviews under the RACCR Program – the Government was able to offset its
17     subsequent payments to the Defendant MA Organizations by the value of those
18     deletions. UnitedHealthcare Medicare & Retirement’s and Optum’s failure to delete
19     unsupported codes because of their failure to conduct or complete 100 percent reviews
20     when their sample reviews identified Provider/HCC combinations with unacceptably
21     high error rates was material because if they had conducted the 100 percent reviews and
22     submitted deletes for the inaccurate diagnosis codes found in those reviews, those
23     deletions would have resulted in further offsets and, thus, reductions of payments to the
24     Defendant MA Organizations.
25                  E.    Defendants Failed To Follow Their Own RACCR Protocol
26                        Requiring 100 Percent Reviews
27     274. As set forth above, the RACCR Program provided that if the sample review of an
28     outlier HCC showed that less than 80 percent of the diagnoses were supported by the
                                                   128
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 1     medical record, the provider would be required to perform a 100 percent review of all
 2     instances of that outlier HCC coded by that provider for the date-of-service year at issue.
 3     This requirement reflects a recognition by the UHG Managing Defendants that if a
 4     provider codes a diagnosis three times as often as the national average rate and a sample
 5     review shows that more than 1 in 5 diagnoses are not supported by the medical record,
 6     then the provider’s other uses of the same diagnosis code are highly likely to include
 7     invalid diagnoses and must be reviewed for accuracy. Nonetheless, despite this
 8     requirement of the RACCR Program, the UHG Managing Defendants frequently did not
 9     require providers to perform 100 percent reviews of problematic HCCs for which sample
10     results showed unacceptably high error rates.
11     275. Not surprisingly, many providers were very resistant to performing 100 percent
12     reviews. Sometimes, the providers reviewed the records for only some, but not all,
13     additional beneficiaries for whom they had reported diagnoses mapping to the outlier
14     HCC. Sometimes, they did nothing.
15     276. For medical encounters in 2008 to 2010, at least 58 provider groups should have
16     performed 100 percent reviews because they failed the sample validation test for at least
17     one outlier HCC. Combined, these providers should have conducted 100 percent
18     reviews relating to 192 problematic HCCs. However, the providers only conducted
19     reviews of 143 of the 192 HCCs. Thus, a quarter of all outlier HCCs that failed the
20     sample validation test were not further reviewed by either the provider groups or
21     UnitedHealthcare. Similarly, for 2011 encounters, 100 percent reviews were conducted
22     for only 69 of 82 HCCs that failed Optum’s sample validation test. Because the UHG
23     Managing Defendants did not require provider to perform 100 percent reviews of these
24     high-frequency but low-validating codes, they were able to avoid deleting the invalid
25     codes among them.
26     277. For example, for 2010 encounters, Edinger Medical Group coded Drug/Alcohol
27     Dependence (HCC 52) at a rate greater than three times the national rate. Optum (or its
28     predecessor, Ingenix) determined that only 70 percent of the diagnoses in its sample
                                                   129
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 1     were supported by medical record documentation. Because 30 percent of the sampled
 2     diagnoses were invalid, the UHG Managing Defendants should have required Edinger to
 3     review the additional 66 Edinger beneficiaries with a diagnosis mapping to HCC 52 that
 4     were not included in the sample (or the UHG Managing Defendants should have
 5     performed that review themselves). Nonetheless, the UHG Managing Defendants did
 6     not require Edinger to do this review and they did nothing further to examine Edinger’s
 7     additional diagnoses mapping to HCC 52 that were not included in the sample.
 8     278. Additional examples of provider groups that failed to conduct 100 percent reviews
 9     for particular HCCs are shown in the chart attached as Exhibit 15 to this Complaint. The
10     UHG Managing Defendants also did not conduct the 100 percent reviews of these
11     problematic HCCs.
12     279. Moreover, even when a financially incentivized provider group conducted a 100
13     percent review, the UHG Managing Defendants knew they could not rely on the
14     accuracy of that review. For example, in a draft “WellMed RACCR Audit Status
15     Summary as of 2-9-12” that Mary Hammond circulated to Benjamin Poehling for
16     discussion with John Way in February 2012, Hammond reported that WellMed did a
17     self-audit for eight HCCs, but that the UHG Managing Defendants determined that “70%
18     of the codes [WellMed] indicated were properly documented actually were not supported
19     in the medical record.” Hammond’s summary also stated that, based on sample reviews
20     for medical encounters in 2008, 2009, and 2010, “WellMed failed to achieve an
21     acceptable validation rate for multiple HCCs …, as defined by the RACCR audit
22     program policy and procedure.”
23                 F.     Even After Identifying Miscoding By Providers,
24                        Defendants Failed To Delete Invalid Codes
25     280. Even when the UHG Managing Defendants determined that diagnoses in a sample
26     review or 100 percent review were not supported by the medical records,
27     UnitedHealthcare Medicare & Retirement did not always delete them. For example:
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 1                For 2008 medical encounters, the UHG Managing Defendants conducted a
 2          sample review for Edinger Medical Group of diagnoses mapping to Drug/Alcohol
 3          Dependence (HCC 52) and Major Complications of Medical Care & Trauma
 4          (HCC 164). Optum’s (or Ingenix’s) coders determined that “[t]here was no
 5          clinical documentation to support the diagnoses” mapping to HCC 52 for six
 6          beneficiaries and that the diagnosis mapping to HCC 164 was the “wrong code”
 7          for one beneficiary. (For all examples, further information to identify or aid in
 8          identifying the beneficiaries will be separately provided to the Defendants.) On
 9          January 23, 2013, Mary Hammond recommended to Keith Dobbins and Marybeth
10          Meyer that these results be put “on hold.” The UHG Managing Defendants never
11          deleted these codes.
12                For 2008 medical encounters, Optum (or its predecessor, Ingenix)
13          conducted a sample review for Family Practice Medical Group’s diagnoses
14          mapping to Drug/Alcohol Dependence (HCC 52). For two beneficiaries, Optum’s
15          (or Ingenix’s) coder concluded there was “no clinical documentation to support
16          the diagnoses.” In the Corrective Action Plan for the sample review, the reviewer
17          gave the provider “the benefit of the doubt” for the two diagnoses, despite noting
18          that “if these were submitted for a CMS or OIG audit, they may have been
19          rejected.”
20                In a sample review for Sharp-Rees Sealy for Vascular Disease (HCC 105)
21          for 2011, the UHG Managing Defendants failed to delete a diagnosis for
22          Beneficiary AA even though Optum’s (or Ingenix’s) coder, iCodify, determined it
23          was the “wrong code.”
24                In a sample review for HealthCarePartners for Protein-Calorie Malnutrition
25          (HCC 21) for 2011, the UHG Managing Defendants failed to delete a diagnosis for
26          Beneficiary BB even though Optum’s (or Ingenix’s) coder, iCodify, determined it
27          was the “wrong code.”
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 1                 In a sample review for Mercy Physicians Medical Group for Protein-Calorie
 2           Malnutrition (HCC 21) for 2011, the UHG Managing Defendants failed to delete a
 3           diagnosis for Beneficiary CC even though Optum’s (or Ingenix’s) coders, under
 4           the supervision of Tracey Bradberry, an Optum Operations Manager, determined
 5           that it was the “wrong code.”
 6                 In a sample review for WellMed for Major Complications of Medical Care
 7           and Trauma (HCC 164) for 2011, the UHG Managing Defendants did not delete a
 8           diagnosis for Beneficiary DD even though Optum’s (or Ingenix’s) coder noted the
 9           “dx [was] not documented” in the record.
10                 In a sample review for HealthCarePartners for Pneumococcal Pneumonia,
11           Emphysema, Lung Abscess (HCC 112) for 2012, the UHG Managing Defendants
12           did not delete a diagnosis code for Beneficiary EE even though Optum’s (or
13           Ingenix’s) coder determined the “dx [was] not documented.”
14                 In a sample review for WellMed for Disorders of Immunity (HCC 45) for
15           2011, the UHG Managing Defendants did not delete a diagnosis code for
16           Beneficiary FF even though Optum’s (or Ingenix’s) coder determined the
17           diagnosis in the record was “not a current condition.”
18     281. For some providers, the UHG Managing Defendants simply agreed not to delete
19     invalid codes. In January 2013, Keith Dobbins was informed that the UHG Managing
20     Defendants had not yet submitted deletes reflecting invalid codes found in RACCR
21     sample reviews of Edinger and WellMed diagnoses for encounters in 2008, 2009, and
22     2010. Optum kept those deletes “on hold,” meaning that the UHG Managing Defendants
23     did not submit them, despite knowledge that the underlying codes had led to improper
24     payments from CMS.
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 1                   G.   UnitedHealthcare Medicare & Retirement Discontinued
 2                        100 Percent Reviews And Converted The RACCR
 3                        Program Into A Revenue Generating Program
 4     282. By early 2014, UnitedHealthcare Medicare & Retirement knew, based on its
 5     observation of the results of the RACCR Program (as set forth above), that many of its
 6     large incentivized providers had reported unacceptably high rates of invalid diagnoses
 7     for numerous conditions. However, rather than redoubling its efforts to address invalid
 8     coding by incentivized providers, UnitedHealthcare Medicare & Retirement had Optum
 9     restructure the RACCR Program to turn it into just another chart review program focused
10     on making ADDS. By July 2014, Optum made changes to the RACCR Program that
11     effectively terminated the program as a tool for remedying the known problem of invalid
12     coding by incentivized providers and refunding Medicare for risk adjustment payments
13     based on those providers’ invalid diagnoses.
14     283. First, UnitedHealthcare Medicare & Retirement stopped requiring any 100 percent
15     reviews when the sample reviews failed the 80 percent sample validation test. At the
16     time it made this decision, it was conducting RACCR sample reviews for 2012 DOS
17     medical encounters. Accordingly, no 100 percent reviews were conducted for any
18     outlier HCCs associated with 2012 medical encounters.
19     284. For 2012 DOS, there were 21 provider groups that had failed the 80 percent
20     sample validation test for at least one outlier HCC. Optum had determined that the
21     average invalidation rate was 34.73 percent for these 21 providers based on the sample
22     reviews of their outlier HCCs. The UHG Managing Defendants knew from prior years
23     that 100 percent reviews would result in the identification of more deletes. Nonetheless,
24     they failed to require 100 percent reviews of the outlier HCCs or perform reviews
25     themselves.
26     285. Second, for dates of service years after 2012, the UHG Managing Defendants
27     stopped selecting sample beneficiaries for reviews based on whether the providers had
28     submitted diagnoses for them mapping to outlier HCCs. Instead, they began selecting
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 1     beneficiaries and medical records based on what they believed would yield additional
 2     codes and result in increased risk adjustment payments.
 3     286. Third, starting with 2013 DOS medical encounters, UnitedHealthcare Medicare &
 4     Retirement and Optum reviewed even fewer medical records than in previous years (less
 5     than 100 total) for each incentivized provider group. Thus, they reviewed only several
 6     thousand medical records as part of this new program.
 7     287. By making these changes, the UHG Managing Defendants and Optum effectively
 8     terminated the RACCR Program as an effort to correct the submission of invalid
 9     diagnosis codes. Instead, they deliberately avoided identifying (and, thus, deleting)
10     invalid diagnoses reported by their financially-incentivized providers and repaying
11     Medicare for risk adjustment payments based on them.
12     288. Executives at Optum and UnitedHealthcare, including Scott Theisen, Jeff
13     Dumcum, Karen Erickson, Brian Thompson, and Keith Dobbins, were aware that the
14     changes to the RACCR Program for 2013 DOS and future years created a program that
15     no longer targeted outlier HCCs by provider, but instead selected beneficiaries and
16     medical records based on methods that Optum believed would yield additional codes and
17     result in increased risk adjustment payments. They knew that there was no replacement
18     program put into place to target the outlier HCCs and providers that had previously been
19     identified by the RACCR program. They knew that by stopping its program to look for
20     inaccurate codes, outlier providers who had failed the 80 percent validation tests would
21     continue to submit inaccurate codes to UnitedHealthcare, causing the submission of
22     inaccurate codes to CMS.
23                  H.    RACCR-Related Falsehoods In UnitedHealthcare’s And
24                        Optum’s Attestations
25     289. As discussed in more detail below, Defendant UnitedHealthcare, on behalf of the
26     Defendant MA Organizations, submitted a Risk Adjustment Attestation to the Medicare
27     Program each year after the final risk adjustment submission deadline. See infra
28
                                                  134
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 1     paragraphs 309 to 327. Defendant Optum approved these Attestations in order for
 2     UnitedHealthcare to submit them. Id.
 3     290. In March 2012, Scott Theisen signed an Attestation on behalf of United’s
 4     Medicare & Retirement health plans certifying to the accuracy of UnitedHealthcare’s
 5     data for the 2010 date of service year (2011 payment year). By that date, the members of
 6     UHG Management Defendants’ RACCR team (including Michael McCarthy, Keith
 7     Dobbins, Kim Halva, Benjamin Poehling, and Mary Hammond) knew that the RACCR
 8     Program had identified thousands of invalid codes mapping to outlier HCCs from
 9     encounters in 2010, that those codes had not yet been deleted, and that efforts were
10     underway to identify the providers that would be required to conduct 100 percent
11     reviews for encounters in 2010 because some of their diagnosis codes did not pass the 80
12     percent sample validation test.
13     291. In April 2013, Scott Theisen signed an Attestation on behalf of
14     UnitedHealthcare’s Medicare & Retirement health plans certifying to the accuracy of
15     UnitedHealthcare’s data for the 2011 date of service year (2012 payment year). By that
16     date, Theisen, along with the members of UHG Management Defendants’ RACCR team
17     (including Marybeth Meyer, Keith Dobbins, Kim Halva, Patty Brennan, Benjamin
18     Poehling, and Scott Hughes) knew that the RACCR Program had identified thousands of
19     invalid codes mapping to HCCs from encounters in 2011, that those codes had not yet
20     been deleted, and that efforts were underway to identify the providers that would be
21     required to conduct 100 percent reviews for encounters in 2011 because some of their
22     diagnosis codes did not pass the 80 percent sample validation test.
23     292. In April 2014, Brian Thompson signed an Attestation on behalf of
24     UnitedHealthcare’s Medicare & Retirement health plans certifying to the accuracy of
25     UnitedHealthcare’s data for the 2012 date of service year (2013 payment year). By that
26     date, the members of UHG Management Defendants’ RACCR team (including Marybeth
27     Meyer, Keith Dobbins, Kim Halva, Scott Theisen, Scott Hughes, and Tracey Bradberry)
28     knew that the RACCR Program had identified thousands of invalid codes mapping to
                                                  135
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 1     HCCs from encounters in 2012 through sample reviews, and that those codes had not yet
 2     been deleted. Additionally, Thompson was aware that there was a contra-revenue
 3     accrual in the amount of $34.5 million for anticipated RACCR deletes for the 2012 date
 4     of service year alone.
 5           IV.    Defendants’ False Risk Adjustment Attestations
 6     293. The UHG Managing Defendants submitted or caused the submission, on behalf of
 7     the Defendant MA Organizations, of the annual Risk Adjustment Attestations to the
 8     Medicare Program after the final submission deadline but before the final reconciliation
 9     payment each year. Officers of Defendants Ovations and UnitedHealthcare reviewed
10     and signed these Attestations. Defendant Optum and its predecessor Ingenix reviewed
11     and approved these Attestations. These Defendants knew that the Defendant MA
12     Organizations were required to submit truthful Risk Adjustment Attestations to the
13     Medicare Program. Their officers and employees (e.g., Jeffrey Dumcum, Stephanie
14     Will, Jon Bird, Patty Brennan, Rebecca Martin, Scott Theisen, Relator Poehling, Mary
15     Hammond) were aware of the obligations for deleting invalid diagnoses from RAPs or
16     otherwise reporting and repaying risk adjustment overpayments by other means. Their
17     officers and employees (e.g., Jeffrey Dumcum, Stephanie Will, Jon Bird, Patty Brennan,
18     Rebecca Martin, Scott Theisen, Relator Poehling, Mary Hammond) also knew that, if
19     they deleted or withdrew invalid diagnoses from RAPS prior to the submission of an
20     Attestation, Medicare would not pay for them or would recover any erroneous payments
21     associated with them. However, Defendants failed to do this and knowingly submitted
22     or caused the submission of false Attestations. They did this with actual knowledge that
23     the Attestations were false or acted in deliberate ignorance or reckless disregard of the
24     falsity of the Attestations.
25     294. Starting with the Attestation for payment year 2008 (if not for earlier Attestations)
26     and continuing forward, attorneys for one or more of the UHG Managing Defendants
27     added a footnote to the Attestations which stated that the Attestations were “based on
28     facts reasonably available or made available to” the Defendant MA Organizations as of
                                                   136
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 1     the date of the Attestations. Optum and its predecessor Ingenix knew about this footnote
 2     because its senior management, including Karen Erickson, Jeff Dumcum and Scott
 3     Theisen, reviewed the Attestations and approved them prior to their submission to the
 4     Medicare Program. The officers of Ovations and UnitedHealthcare who signed the
 5     Attestations also knew about this footnote. Even without this footnote, the Attestations
 6     themselves state that they must be made based on information available to the MA
 7     Organizations: “Based on best knowledge, information, and belief as of the date
 8     indicated below, all information submitted to CMS in such report [i.e., the risk
 9     adjustment data reported for the payment year at issue] and not subsequently deleted
10     prior to the date hereof is accurate, complete, and truthful.” (Emphasis added).
11     295. Information and facts reasonably available or made available to the Defendant
12     MA Organizations and the groups and entities that managed them at the time the
13     Attestations were submitted included the results of the medical record reviews conducted
14     as part of the Chart Review, Claims Verification, and RACCR Programs. In particular,
15     the results of the Chart Review Program were available before the final submission
16     deadline each year as the Chart Review Program ended when additional diagnoses could
17     no longer be submitted. Thus, the results of the Chart Review Program were
18     “information” and “facts reasonably available” before Ingenix and Optum approved the
19     Attestations and before Ovations and UnitedHealthcare executed and submitted the
20     Attestations to CMS on behalf of the Defendant MA Organizations. However, these
21     Defendants knowingly failed to delete numerous diagnoses that they had previously-
22     submitted that were unsupported and invalidated by their own chart reviews.
23                  A.    Defendants’ Internal Attestation Approval Process
24     296. Generally, the Chief Financial Officers of the groups with responsibility for
25     managing the Defendant MA Organizations owned by UHG were the officers designated
26     to sign and execute the annual Risk Adjustment Attestations on behalf of the Defendant
27     MA Organizations. Over the relevant time period, these groups included, but were not
28     limited to, Secure Horizons, the Public & Seniors Markets Group, Ovations,
                                                  137
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 1     UnitedHealthcare Medicare & Retirement, and UnitedHealthcare Community & States.
 2     They were “responsible for establishing and maintaining adequate internal controls over
 3     completion of attestations” submitted to the Medicare Program. They used a form to
 4     “confirm that the appropriate legal, regulatory, and business owners” reviewed and
 5     approved the attestations. Id. These legal, regulatory, and business owners were
 6     required to sign Internal Approval Forms in order for the designated officials to sign the
 7     Risk Adjustment Attestations.
 8     297. Part C regulation, 42 C.F.R. § 422.504(1), and the agreements between the MA
 9     Organizations and CMS required that this internal approval process include any related
10     entity, contractor or subcontractor of the Defendant MA Organizations that generated or
11     submitted risk adjustment data on their behalf. Furthermore, if a related entity generated
12     data relating to an MA Organization’s claims for payments from the Medicare Program,
13     the related entity (as well as the MA Organization) must certify the accuracy and
14     truthfulness of the data. Id. at § 422.504(l)(3). The contracts stated: “If such risk
15     adjustment data are generated by a related entity, contractor, or subcontractor of an MA
16     Organization, such entity, contractor, or subcontractor must also attest to (based on best
17     knowledge, information, and belief, as of the date specified on the attestation form) the
18     accuracy, completeness, and truthfulness of the data.” See Exhibits 1-7, attached hereto
19     (Article IV, Section D.2). Optum (and its predecessor, Ingenix), Ovations, and
20     UnitedHealthcare Medicare &Retirement understood this requirement as shown by the
21     previously-described MOU that obligated Optum to attest to the validity of the risk
22     adjustment data that it submitted to the Medicare Program on behalf of the Defendant
23     MA Organizations. See supra paragraphs 83-86.
24     298. During the time period relevant to this Complaint, the “business owners” that
25     signed off on the Internal Approval Forms were executives of Optum and Ingenix. One
26     of these business owners was Jeffrey Dumcum, who ran the Risk Adjustment Group at
27     Ingenix and then Optum. Dumcum’s internal attestations stated that he had reviewed the
28     content of the Risk Adjustment Attestations to be submitted by the managing entity (e.g.,
                                                   138
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 1     Ovations or UnitedHealthcare) to the Medicare Program and confirmed that the
 2     Attestations were factually accurate. For example, on March 26, 2010, Dumcum sent an
 3     email to Emily Vue, a Senior Regulatory Affairs Analyst for “Ovations – PSMG,
 4     UnitedHealth Group, Inc.,” stating that he approved the Risk Adjustment Attestation for
 5     John Larsen, the Chief Financial Officer of the Ovation Public & Senior Markets Group,
 6     to submit to Medicare for payment year 2009. On March 24, 2011, Dumcum sent an
 7     email to Barbara Carlson, a Senior Regulatory Affairs Analyst for UnitedHealthcare
 8     Medicare & Retirement, stating that he approved the Risk Adjustment Attestation for
 9     Scott Theisen, the Chief Financial Officer of UnitedHealthcare Medicare & Retirement,
10     to submit to Medicare for payment year 2010. On March 8, 2012, Dumcum sent an
11     email to Sandy Rick, a Senior Regulatory Affairs Analyst for UnitedHealthcare
12     Medicare & Retirement, stating that he approved the Risk Adjustment Attestation for
13     Mr. Theisen to submit to Medicare for payment year 2011.
14     299. Mr. Dumcum approved the Larsen and Theisen Risk Adjustment Attestations after
15     reviewing them and the footnotes added by the attorneys to them, including the footnote
16     stating that the Attestations were based on information available to the Defendant MA
17     Organizations about the accuracy and truthfulness of the diagnosis data that was
18     submitted on their behalf to the Medicare Program for risk adjustment payments.
19     However, Dumcum deliberately ignored or recklessly disregarded information available
20     to the Defendant MA Organizations and the entities that managed them (including
21     Ovations, UnitedHealthcare, Ingenix, and Optum, depending on the time period) about
22     invalid diagnoses, that is, he deliberately ignored and recklessly disregarded the negative
23     results of the medical record reviews conducted as part of the Chart Review, Claims
24     Verification, and RACCR Programs. Accordingly, Dumcum, as a senior executive of
25     Defendant Optum (and its predecessor, Ingenix), caused false Risk Adjustment
26     Attestations to be submitted to the Medicare Program.
27     300. For example, in March 2010, when Dumcum approved the Larsen Attestation for
28     payment year 2009, his Risk Adjustment Group at Ingenix possessed information about
                                                   139
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 1     the negative results of the Chart Review Program focused on the review of medical
 2     records for medical encounters in date of service year 2008. Also, in March 2010,
 3     Dumcum knew (or deliberately ignored or recklessly disregarded) that the managing
 4     entities were not deleting or withdrawing the diagnoses unsubstantiated and invalidated
 5     by those chart reviews. At that time, Dumcum also knew (or deliberately ignored or
 6     recklessly disregarded) that these managing entities and the MA Organizations had an
 7     obligation to delete or withdraw those invalid diagnoses. In fact, in 2009 prior to
 8     Dumcum’s approval of the Larsen Attestation, Dumcum knew that his Risk Adjustment
 9     Group had already started discussing “looking both ways” at the results of chart reviews
10     and the methodology to do so in order to make DELETES as well as ADDS. See supra
11     paragraphs 180-182. Nonetheless, Dumcum signed the Internal Approval Form and
12     caused Larsen to submit a false Attestation to the Medicare Program.
13     301. As another example, in March 2011, when Dumcum approved the Theisen
14     Attestation for payment year 2010, his Risk Adjustment Group at Optum possessed
15     information about the negative results of the Chart Review Program focused on the
16     review of medical records for medical encounters in date of service year 2009. Also, in
17     March 2011, Dumcum knew (or deliberately ignored or recklessly disregarded) that
18     neither Optum nor UnitedHealthcare were deleting or withdrawing the diagnoses
19     invalidated by those chart reviews because they were not supported by the beneficiaries’
20     medical records. At that time, Dumcum also knew (or deliberately ignored or recklessly
21     disregarded) that both UnitedHealthcare and Optum had an obligation to delete or
22     withdraw those invalid diagnoses. In fact, in the fall of 2010 prior to Dumcum’s
23     approval of the Theisen Attestation, Dumcum knew that senior executives of Ingenix and
24     Ovations had already acknowledged that they should be “looking both ways” at the
25     results of the chart reviews to make DELETES as well as ADDS. See supra paragraphs
26     185 and 196-198. In December 2010, the results of the first pilot phase (Phase I) of the
27     Claims Verification Program, which showed that provider-reported diagnoses were
28     unsupported for over 50 percent of the medical records reviewed, were also known by or
                                                   140
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 1     available to Dumcum. See supra paragraph 206. Nonetheless, Dumcum signed the
 2     Internal Approval Form and caused Theisen to submit a false Attestation to the Medicare
 3     Program.
 4     302. In addition, in March 2012, when Dumcum approved the Theisen Attestation for
 5     payment year 2011, his risk adjustment group at Optum possessed information about the
 6     negative results of the Chart Review Program focused on the review of medical records
 7     for medical encounters in date of service year 2010. Also, in March 2012, Dumcum
 8     knew (or deliberately ignored or recklessly disregarded) that neither Optum nor
 9     UnitedHealthcare were deleting or withdrawing the diagnoses invalidated by those chart
10     reviews, i.e., those diagnoses not supported by the beneficiaries’ medical records. At
11     that time, Dumcum also knew (or deliberately ignored or recklessly disregarded) that
12     both UnitedHealthcare and Optum had an obligation to delete or withdraw those invalid
13     diagnoses but were not doing so. In fact, by the time that Dumcum approved Theisen’s
14     Attestation in March 2012, Optum had completed the second pilot phase (Phase II) of the
15     Claims Verification Program on 17,398 charts and the results were striking. Optum
16     identified 4,786 invalid diagnoses to be deleted, which was greater than the number of
17     additional diagnoses (ADDS) identified by the coders based on their review of the same
18     medical records. And, as previously stated, in February 2012, Dumcum, who was
19     responsible for the Claims Verification Program, met with Relator Poehling and Theisen
20     and reported: “I’m deleting as much as I’m adding at the end of the day. And I don’t
21     know if—you know, what I want to do.” He also stated: “we’re getting more and more
22     red here,” and that Claims Verification “eats in very substantially” to the revenue from
23     ADDS from chart reviews. Nonetheless, Dumcum signed the Internal Approval Form
24     and caused Theisen to submit a false Attestation.
25     303. Another “business owner” who executed the Internal Approval Form was Karen
26     Erickson, an Executive Vice President of Optum. On April 3, 2013, Erickson approved
27     Risk Adjustment Attestations for Scott Theisen, the Chief Financial Officer of
28     UnitedHealthcare Medicare & Retirement, and Paul Balthazor, the Chief Financial
                                                  141
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 1     Officer of UnitedHealthcare Community & State, to submit to Medicare for payment
 2     year 2012. Erickson’s internal attestation stated that she had reviewed the content of the
 3     Theisen and Balthazor Risk Adjustment Attestations and confirmed that the Attestations
 4     were factually accurate. Because she reviewed these Risk Adjustment Attestations she
 5     knew about the footnotes that UnitedHealthcare included in the Attestations, stating that
 6     the Attestations were based on information available to the Defendant MA
 7     Organizations. In April 2013, Erickson knew (or deliberately ignored or recklessly
 8     disregarded) that this information included the negative results of the Chart Reviews
 9     focused on the review of medical records for medical encounters in date of service year
10     2011. Also, in April 2013, Erickson knew (or deliberately ignored or recklessly
11     disregarded) that neither Optum nor UnitedHealthcare were deleting or withdrawing all
12     of the diagnoses invalidated by those chart reviews because they were not supported by
13     the beneficiaries’ medical records. At that time, Erickson also knew (or deliberately
14     ignored or recklessly disregarded) that both UnitedHealthcare and Optum had an
15     obligation to delete or withdraw all invalid diagnoses. In addition, prior to approving the
16     Attestations in 2013, Erickson, who was part of the team that developed the operational
17     plan for Claims Verification, knew and was concerned about the error rates based on
18     chart reviews conducted as part of the Claims Verification Program. Nonetheless,
19     Erickson signed the Internal Approval Forms and caused Theisen and Balthazor to
20     submit false Attestations.
21     304. In addition, on April 17 and 21, 2014, Erickson approved Risk Adjustment
22     Attestations for Brian Thompson, the Chief Financial Officer of UnitedHealthcare
23     Medicare & Retirement, and for Paul Balthazor, the Chief Financial Officer of
24     UnitedHealthcare Community & State, to submit to Medicare for payment year 2013.
25     Erickson’s internal attestation stated that she reviewed the content of the Thompson and
26     Balthazor Risk Adjustment Attestations and confirmed that the Attestations were
27     factually accurate. Because she reviewed these Risk Adjustment Attestations she knew
28     about the footnotes that UnitedHealthcare included in the Attestations, stating that the
                                                   142
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 1     Attestations were based on information available to the Defendant MA Organizations.
 2     In April 2014, Erickson knew (or deliberately ignored or recklessly disregarded) that this
 3     information included the negative results of the Chart Reviews focused on the review of
 4     medical records for medical encounters in date of service year 2012. Also, in April
 5     2014, Erickson knew (or deliberately ignored or recklessly disregarded) that neither
 6     Optum nor UnitedHealthcare were deleting or withdrawing all of the diagnoses
 7     invalidated by those chart reviews because they were not supported by the beneficiaries’
 8     medical records. At that time, Erickson also knew (or deliberately ignored or recklessly
 9     disregarded) that both UnitedHealthcare and Optum had an obligation to delete or
10     withdraw all invalid diagnoses. Nonetheless, Erickson signed the Internal Approval
11     Forms and caused Thompson and Balthazor to submit false Attestations.
12     305. During the time period relevant to this Complaint, one of the “regulatory owners”
13     that executed the Internal Approval Form was David Walsh, the Senior Director of
14     Regulatory Affairs for UnitedHealthcare. He attested that he had reviewed the content
15     of the Risk Adjustment Attestation “to confirm that it complies with applicable
16     regulatory requirements and determined that it is appropriate for the designated
17     executive to proceed with signature.” However, Walsh deliberately ignored or recklessly
18     disregarded the negative results of the Chart Review Program. He also ignored and
19     disregarded that Defendants had failed to comply with the requirements that diagnoses
20     must be supported by patients’ medical records and those diagnoses that are not
21     supported by the patients’ medical records must be deleted from RAPS or otherwise
22     reported to CMS and corrected to repay or avoid any overpayment.
23     306. During the time period relevant to this Complaint, one of the “legal owners” that
24     executed the Internal Approval Form was UnitedHealthcare’s Senior General Counsel
25     Keith Dobbins. For example, on March 26, 2010, Dobbins approved the Risk
26     Adjustment Attestation for John Larsen to submit to the Medicare Program for payment
27     year 2009. Dobbins attested that he had reviewed the content of the Risk Adjustment
28     Attestation to confirm that it complied with “applicable legal requirements” and was
                                                  143
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 1     “appropriate” for Larsen to sign. (emphasis in the original). As another example, on
 2     March 25, 2011, Dobbins approved the Risk Adjustment Attestation for Scott Theisen,
 3     the Chief Financial Officer of UnitedHealthcare Medicare & Retirement, to submit to the
 4     Medicare Program for payment year 2010. Again, Dobbins attested that he reviewed the
 5     content of the Attestation to confirm that it complied with “applicable legal
 6     requirements” and was “appropriate” for Theisen to submit to the Medicare Program for
 7     payment year 2011. In addition, on March 9, 2012, Dobbins approved the Risk
 8     Adjustment Attestation for Scott Theisen, the Chief Financial Officer of
 9     UnitedHealthcare Medicare & Retirement, to submit to the Medicare Program for
10     payment year 2011. Again, Dobbins attested that he reviewed the content of the
11     Attestation to confirm that it complied with “applicable legal requirements” and was
12     “appropriate” for Theisen to submit to the Medicare Program for payment year 2011.
13     On April 30, 2014, Dobbins also approved the Risk Adjustment Attestation for Brian
14     Thompson, the Chief Financial Officer of UnitedHealthcare Medicare & Retirement, to
15     submit to Medicare for payment year 2013. Again, Dobbins attested that he reviewed
16     the content of the Attestation to confirm that it complied with “applicable legal
17     requirements” and was “appropriate” for Theisen to submit to the Medicare Program for
18     payment year 2011. On information and belief, Dobbins approved other Risk
19     Adjustment Attestations for other payment years and attested to their accuracy.
20     307. Each time Dobbins approved the Attestations, he knew (or deliberately ignored or
21     recklessly disregarded) that information available to the Defendant MA Organizations
22     included the negative results of the chart reviews for the date of service years at issue.
23     Also, he knew (or deliberately ignored or recklessly disregarded) that neither
24     Ingenix/Optum nor Ovations/UnitedHealthcare (depending on the time period) were
25     deleting or withdrawing all of the diagnoses invalidated by those chart reviews because
26     they were not supported by the beneficiaries’ medical records. At that time, he also
27     knew (or deliberately ignored or recklessly disregarded) that both Ingenix/Optum and
28     Ovations/UnitedHealthcare had an obligation to delete or withdraw all invalid diagnoses.
                                                    144
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 1     308. During the years relevant to his approvals, Dobbins was a member of
 2     UnitedHealthcare’s Risk Adjustment Compliance Oversight Committee and Optum’s
 3     Clinical Programs and Compliance Oversight Committee. During those years, Dobbins
 4     also attended various meetings involving the work that Ingenix and then Optum
 5     performed for Ovations and then UnitedHealthcare. As a member of these committees
 6     and a participant in these meetings, Dobbins was included in numerous discussions
 7     about the validity of the risk adjustment data submitted to the Medicare Program, the
 8     Chart Review Program, the development and results of the Claims Verification Program,
 9     and the RACCR Program. Dobbins was also one of the individuals who was responsible
10     for reviewing quarterly compliance scorecards that included detailed information about
11     the Chart Review, Claims Verification, and RACCR Programs. Despite these
12     compliance responsibilities and this knowledge, Dobbins ignored and disregarded that
13     Ovations, UnitedHealthcare, Optum, and Ingenix had failed to comply with the
14     requirements that diagnoses must be supported by patients’ medical records and that
15     diagnoses unsupported by patients’ medical records must be deleted from RAPS or
16     otherwise reported to CMS and corrected to repay or avoid any overpayments.
17                  B.    The False Attestations Submitted To The Government
18     309. On March 19, 2009, John Way executed and submitted or caused to be submitted
19     to the Medicare Program an “Attestation of Risk Adjustment Data Information Relating
20     to CMS Payment to a Medicare Advantage Organization.” He submitted this Attestation
21     “[o]n behalf of the UnitedHealth Group entities listed in Attachment 1.” This Attestation
22     related to risk adjustment data, that is, diagnoses, which Ovations and/or
23     UnitedHealthcare and Ingenix submitted on behalf of many of the Defendant MA
24     Organizations for risk adjustment payments for payment year 2008. See Exhibit 16,
25     attached hereto. The Risk Adjustment data, that is, the diagnoses, were related to
26     medical encounters that occurred in date of service year 2007. Way signed the
27     Attestation as “Chief Financial Officer, SecureHorizons.” At this time, March 2009,
28     SecureHorizons was an internal group within Ovations or UnitedHealthcare. Way added
                                                  145
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 1     a footnote to the Attestation which stated that the Attestation was “based on facts
 2     reasonably available or made available to the MA Organization as of the date of” the
 3     Attestation. The Attestation itself said it was made based on information available to the
 4     MA Organizations. In March 2009, information and facts reasonably available to the
 5     Defendant MA Organizations, Ovations and/or UnitedHealthcare, and Ingenix included
 6     the negative results of the Chart Review Program for 2007 date of service medical
 7     encounters.
 8     310. In March 2009, when Way signed the Attestation, he deliberately ignored or
 9     recklessly disregarded the negative results of the Chart Review Program relating to
10     medical encounters with 2007 dates of service. Way also ignored and disregarded that
11     Defendants had failed to comply with the requirements that diagnoses must be supported
12     by patients’ medical records and those diagnoses that are not supported by patients’
13     medical records are invalid and must be deleted from RAPS or otherwise reported to
14     CMS and corrected to repay or avoid any overpayment. In addition, at this time, Relator
15     Poehling was a direct report to Way, Relator Poehling and Way had numerous
16     conversations about risk adjustment programs, and Relator Poehling voiced his concerns
17     to Way about Ovations failure to “look both ways” at the results of medical record
18     reviews conducted as part of the Chart Review Program.
19     311. On March 18, 2009, Kara Rios executed and submitted or caused to be submitted
20     to the Medicare Program an “Attestation of Risk Adjustment Data Information Relating
21     to CMS Payment to a Medicare Advantage Organization.” She submitted this
22     Attestation “[o]n behalf of the UnitedHealth Group entities listed in Attachment 1.” This
23     Attestation related to Risk Adjustment data, that is, diagnoses, that Ovations (or the
24     group known as AmeriChoice, which, on information and belief, was located within
25     Ovations at this time) and Ingenix submitted on behalf of certain Defendant MA
26     Organizations for Risk Adjustment payments for payment year 2008. The Risk
27     Adjustment data, that is, the diagnoses, were related to medical encounters that occurred
28     in date of service year 2007. Rios signed the Attestation as “Chief Financial Officer,
                                                   146
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 1     AmeriChoice.” Rios added a footnote to the Attestation which stated that the Attestation
 2     was “based on facts reasonably available or made available to the MA Organization as of
 3     the date of” the Attestation. The Attestation itself said it was made based on information
 4     available to the MA Organizations. In March 2009, information and facts reasonably
 5     available to all Defendants included the negative results of the Chart Review Program.
 6     312. On March 2, 2009, Jonathan Bunker executed and submitted or caused to be
 7     submitted to the Medicare Program an “Attestation of Risk Adjustment Data Information
 8     Relating to CMS Payment to a Medicare Advantage Organization.” He submitted this
 9     Attestation “[o]n behalf of Sierra Health and Life Insurance Company, Inc.,” a
10     Defendant MA Organization. This Attestation was for payment year 2008. The Risk
11     Adjustment data, that is, the diagnoses, were related to medical encounters that occurred
12     in date of service year 2007. Bunker signed the Attestation as President of Sierra Health
13     and Life Insurance Company, Inc. At this time, March 2009, Sierra Health and Life
14     Insurance Company, Inc. was an MA Organization owned by UHG and managed by
15     UnitedHealthcare. The Attestation was submitted to the Medicare Program by Shelly
16     Cranley, the Director of Regulatory Affairs for UnitedHealthcare.
17     313. On March 2, 2009, Jonathan Bunker executed and submitted or caused to be
18     submitted to the Medicare Program another “Attestation of Risk Adjustment Data
19     Information Relating to CMS Payment to a Medicare Advantage Organization.” He
20     submitted this Attestation “[o]n behalf of Health Plan of Nevada, Inc.,” a Defendant MA
21     Organization, and its MA Plans. This Attestation was for payment year 2008. The Risk
22     Adjustment data, that is, the diagnoses, were related to medical encounters that occurred
23     in date of service year 2007. Bunker signed the Attestation as President of Health Plan
24     of Nevada, Inc. At this time, March 2009, Health Plan of Nevada, Inc. was an MA
25     Organization owned by UHG and managed by UnitedHealthcare. The Attestation was
26     submitted to the Medicare Program by Shelly Cranley, the Director of Regulatory
27     Affairs for UnitedHealthcare.
28
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 1     314. On March 19, 2009, Justin Roth executed and submitted or caused to be submitted
 2     to the Medicare Program another “Attestation of Risk Adjustment Data Information
 3     Relating to CMS Payment to a Medicare Advantage Organization.” This Attestation was
 4     for payment year 2008. The Risk Adjustment data, that is, the diagnoses, were related to
 5     medical encounters that occurred in date of service year 2007. Roth signed the
 6     Attestation as “Chief Financial Officer of Evercare” and stated that the Attestation was
 7     signed “[o]n behalf of the UnitedHealth Group entities listed in Attachment 1,” which
 8     included various Defendant MA Organizations, including many United Healthcare
 9     Insurance Company MA Organizations, Oxford Health Plans of New Jersey, Inc., and
10     Evercare of Texas. At this time, March 2009, these MA Organizations were owned by
11     UHG and managed by UnitedHealthcare. The Attestation stated that it was based on
12     information and facts reasonably available or made available to the MA Organizations
13     listed in Attachment 1 at the time the Attestation was submitted.
14     315.   On March 26, 2010, John Larsen executed and submitted or caused to be
15     submitted to CMS an “Attestation of Risk Adjustment Data Information Relating to
16     CMS Payment to a Medicare Advantage Organization.” He submitted this Attestation
17     “[o]n behalf of the UnitedHealth Group entities listed in Attachment 1.” These entities
18     included numerous Defendant MA Organizations. This Attestation related to Risk
19     Adjustment data, that is, diagnoses, that Optum (or its predecessors Ingenix) and
20     Ovations and/or UnitedHealthcare submitted on behalf of these MA Organizations to
21     Medicare for Risk Adjustment payments for payment year 2009. See Exhibit 17,
22     attached hereto. The Risk Adjustment data, that is, the diagnoses, were related to
23     medical encounters that occurred in date of service year 2008. Larsen signed the
24     Attestation as “Chief Financial Officer, Public & Senior Markets Group.” At this time,
25     the Public & Senior Markets Group included Ovations. Larsen added a footnote to his
26     Risk Adjustment Attestation which stated that the Attestation was “based on facts
27     reasonably available or made available to the MA Organization as of the date of” the
28     Attestation. The Attestation itself stated that it was based on information available to the
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 1     MA Organizations. In March 2010, information and facts reasonably available to the
 2     Defendant MA Organizations included the negative results of the Chart Review Program
 3     relating to medical encounters that occurred in 2008.
 4     316. When Larsen signed the Attestation, he deliberately ignored or recklessly
 5     disregarded the negative results of the Chart Review Program. Larsen also ignored or
 6     disregarded that Defendants had failed to comply with the requirements that diagnoses
 7     must be supported by patients’ medical records and that diagnoses that are not supported
 8     by patients’ medical records are invalid and must be deleted from RAPS or otherwise
 9     reported to CMS and corrected to repay or avoid any overpayment. During the relevant
10     time period, Larsen was involved in meetings concerning the Chart Review Program and
11     knew that the Public & Senior Markets Group could have “looked both ways” at the
12     results of the chart reviews but was not doing so and, thus, that the Public & Senior
13     Markets Group was not reporting to CMS those provider-reported codes that were not
14     supported by the beneficiaries’ medical records.
15     317. On March 25, 2011, Scott Theisen executed and submitted or caused to be
16     submitted to CMS an “Attestation of Risk Adjustment Data Information Relating to
17     CMS Payment to a Medicare Advantage Organization.” He submitted this Attestation
18     “[o]n behalf of the UnitedHealth Group entities listed in Attachment 1.” This Attestation
19     related to Risk Adjustment data, that is, diagnoses, that UnitedHealthcare and Optum (or
20     its predecessor Ingenix) submitted on behalf of numerous Defendant MA Organizations
21     to Medicare for risk adjustment payments for payment year 2010. See Exhibit 18,
22     attached hereto. The risk adjustment data, that is, the diagnoses, were related to medical
23     encounters that occurred in date of service year 2009. Theisen signed the Attestation as
24     “Chief Financial Officer, UnitedHealthcare Medicare & Retirement.” Theisen added a
25     footnote to his Risk Adjustment Attestation which stated that the Attestation was “based
26     on facts reasonably available or made available to the MA Organization as of the date
27     of” the Attestation. The Attestation itself stated that it was made based on information
28     available to the Defendant MA Organizations. In March 2011, information and facts
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 1     reasonably available to the Defendant MA Organizations, UnitedHealthcare, and Optum
 2     (or its predecessor, Ingenix) included the negative results of the Chart Review Program
 3     relating to medical encounters in 2009.
 4     318. On March 9, 2012, Scott Theisen executed and submitted or caused to be
 5     submitted to CMS an “Attestation of Risk Adjustment Data Information Relating to
 6     CMS Payment to a Medicare Advantage Organization.” He submitted this Attestation
 7     “[o]n behalf of the UnitedHealth Group entities listed in Attachment 1.” This Attestation
 8     related to Risk Adjustment data, that is, diagnoses, that UnitedHealth and Optum
 9     submitted to on behalf of numerous MA Organizations to Medicare for risk adjustment
10     payments for payment year 2011. See Exhibit 19, attached hereto. The risk adjustment
11     data, that is, the diagnoses, were related to medical encounters that occurred in date of
12     service year 2010. Theisen signed the Attestation as “Chief Financial Officer,
13     UnitedHealthcare Medicare & Retirement. The Attestation stated that it was based on
14     information available to the MA Organizations. It also included a footnote that stated
15     the Attestation was “based on facts reasonably available or made available to the MA
16     Organization as of the date” of the Attestation. In March 2012, information and facts
17     reasonably available to all Defendants included the negative results of the medical record
18     reviews conducted as part of the Chart Review Program for payment year 2011 (date of
19     service year 2010).
20     319. On April 9, 2013, Scott Theisen executed and submitted or caused to be submitted
21     to CMS an “Attestation of Risk Adjustment Data Information Relating to CMS Payment
22     to a Medicare Advantage Organization.” He submitted this Attestation “[o]n behalf of
23     the UnitedHealth Group entities listed in Attachment A.” This Attestation related to
24     Risk Adjustment data, that is, diagnoses, that UnitedHealthcare and Optum submitted on
25     behalf of numerous MA Organizations to Medicare for risk adjustment payments for
26     payment year 2012. See Exhibit 20, attached hereto. The risk adjustment data, that is,
27     the diagnoses, were related to medical encounters that occurred in date of service year
28     2011. Theisen signed the Attestation as “Chief Financial Officer, UnitedHealthcare
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 1     Medicare & Retirement.” The Attestation stated that it was based on information
 2     available to the MA Organizations and also included a footnote stating that the
 3     Attestation was “based on facts reasonably available or made available to the MA
 4     Organization as of the date of” the Attestation. In March 2013, information and facts
 5     reasonably available to the MA Organizations, UnitedHealthcare, and Optum included
 6     the negative results of the medical record reviews conducted as part of the Chart Review
 7     Program for payment year 2012 (date of service year 2011).
 8     320. Each time Theisen signed the Attestations, he deliberately ignored or recklessly
 9     disregarded the negative results of the Chart Review Program for the 2010, 2011, and
10     2012 payment years and 2009, 2010, and 2011 date of service years at issue. Theisen
11     also ignored or disregarded that the Defendant MA Organizations, UnitedHealthcare,
12     and Optum (or its predecessor, Ingenix) had failed to comply with the requirements that
13     diagnoses must be supported by patients’ medical records and that those diagnoses that
14     are not supported by patients’ medical records are invalid and must be deleted from
15     RAPS or otherwise reported to CMS and corrected to repay or avoid any overpayments.
16     321. During the years in which he was Chief Financial Officer of UnitedHealthcare
17     Medicare & Retirement and approved the Attestations, Theisen was co-chair and
18     business lead of UnitedHealthcare Medicare & Retirement’s Financial Compliance
19     Oversight Committee. He also attended quarterly meetings with UnitedHealthcare
20     Medicare & Retirement’s Compliance Committee, comprised of UnitedHealthcare
21     Medicare & Retirement’s executive leadership team; Executive Steering Committee
22     meetings; and meetings to identify and evaluate corporate risks. As a member of these
23     committees, a participant in these meetings, and in fulfilling his duties as
24     UnitedHealthcare Medicare & Retirement’s Chief Financial Officer, Theisen was
25     involved in discussions about the Chart Review Program, the implementation and results
26     of the Claims Verification Program, and the RACCR Program. During this time period,
27     Theisen had authority to make decisions on behalf of UnitedHealthcare, including how
28     much to spend on the Chart Review Program, how many charts to include in the Chart
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 1     Review Program, and whether to submit DELETES based on information available to
 2     UnitedHealthcare. He also had authority to make similar decisions about the RACCR
 3     Program.
 4     322. In addition, Theisen was aware of the significant number of invalid provider-
 5     reported diagnoses based on the results of the Chart Review and Claims Verification
 6     Programs. For example, when Theisen executed the Risk Adjustment Attestation in
 7     March 2011, the results of the first pilot phase (Phase I) of the Claims Verification
 8     Program were available. As previously explained, those results showed that provider-
 9     reported diagnoses were unsupported for over 50 percent of the medical records
10     reviewed. See supra paragraph 206. As another example, in February 2012 prior to his
11     signing the March 2012 Attestation, Theisen (as well as Dumcum and Relator Poehling)
12     had actual knowledge of the strikingly negative results of the Claims Verification Phase
13     II pilot program showing that there were more DELETES than ADDS. See supra
14     paragraph 158. In addition, on April 3, 2013, when Theisen executed and submitted the
15     Risk Adjustment Attestations for payment year 2012, the information available to the
16     Defendants MA Organizations, UnitedHealthcare Medicare & Retirement (including
17     Theisen), and Optum included the results of the chart reviews for 2011 dates of service,
18     which showed that they had submitted at least 100,000 diagnoses that were invalid, but
19     had not been deleted (and never were deleted). See supra paragraph 235. Yet, Theisen
20     attested that these invalid diagnoses were accurate and truthful.
21     323. On March 25, 2011, Brian Thompson, the Chief Financial Officer of
22     UnitedHealthcare Community & State, executed and submitted or caused to be
23     submitted an “Attestation of Risk Adjustment Data Information Relating to CMS
24     Payment to a Medicare Advantage Organization.” He submitted this Attestation on
25     behalf of “the UnitedHealth Group entities listed in Attachment 1.” This Attestation
26     related to risk adjustment data, that is, diagnoses, that UnitedHealthcare and Optum (or
27     its predecessor, Ingenix) submitted on behalf of certain of the Defendant MA
28     Organizations to Medicare for payment year 2010. The data related to the 2009 date of
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 1     service year. The Attestation as based on information and facts reasonably available to
 2     the MA Organizations, including the negative results of the Chart Review Program based
 3     on medical record reviews for date of service year 2009. Information and facts available
 4     to the MA Organizations, UnitedHealthcare, and Optum (or its predecessor, Ingenix)
 5     included the results of the medical record reviews conducted as part of the Chart Review
 6     Program for medical encounters during the 2009 date of service year. However,
 7     Thompson and these Defendants deliberately ignored or recklessly disregarded the
 8     negative results of these chart reviews. They also ignored or disregarded that the
 9     Defendant MA Organizations, UnitedHealthcare, and Optum (or its predecessor,
10     Ingenix) had failed to comply with the requirements that diagnoses must be supported by
11     patients’ medical records and that those diagnoses that are not supported by patients’
12     medical records are invalid and must be deleted from RAPS or otherwise reported to
13     CMS and corrected to repay or avoid any overpayments.
14     324. On March 29, 2012, Paul Balthazor, the Chief Financial Officer of
15     UnitedHealthcare Community & State, executed and submitted or caused to be
16     submitted an “Attestation of Risk Adjustment Data Information Relating to CMS
17     Payment to a Medicare Advantage Organization.” He submitted this Attestation on
18     behalf of “the UnitedHealth Group entities listed in Attachment 1.” This Attestation
19     related to risk adjustment data, that is, diagnoses, that UnitedHealthcare and Optum (or
20     its predecessor, Ingenix) submitted on behalf of certain of the Defendant MA
21     Organizations to Medicare for payment year 2011. The data related to 2010 date of
22     service year. The Attestation was based on information and facts reasonably available to
23     the MA Organizations, UnitedHealthcare, and Optum including the negative results of
24     the medical record reviews conducted as part of the Chart Review Program for the 2010
25     date of service year. However, Balthazor and these Defendants deliberately ignored or
26     recklessly disregarded the negative results of these chart reviews. They also ignored or
27     disregarded that the Defendant MA Organizations, UnitedHealthcare, and Optum had
28     failed to comply with the requirements that diagnoses must be supported by patients’
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 1     medical records and that those diagnoses that are not supported by patients’ medical
 2     records are invalid and must be deleted from RAPS or otherwise reported to CMS and
 3     corrected to repay or avoid any overpayments. In April 2013, Balthazor also executed
 4     the Risk Adjustment Attestation for the MA Organizations managed by
 5     UnitedHealthcare Community & State for payment year 2012 (date of service year
 6     2011). For this year too, Balthazor and the Defendant MA Organizations,
 7     UnitedHealthcare, and Optum ignored the results of the chart reviews and their
 8     obligations to delete invalid diagnoses.
 9     325. On April 30, 2014, Brian Thompson executed and submitted or caused to be
10     submitted Risk Adjustment Attestations on behalf of all of the Defendant MA
11     Organizations managed by UnitedHealthcare Medicare & Retirement at that time. (On
12     the same date, Paul Balthazor executed and submitted or caused to be submitted Risk
13     Adjustment Attestations on behalf of all Defendant MA Organizations managed by
14     UnitedHealthcare Community & State at the time.) An example of one of Thompson’s
15     Attestations includes the Attestation he submitted “[o]n behalf of the UnitedHealth of
16     California.” See Exhibit 21, attached hereto. This Attestation related to risk adjustment
17     data, that is, diagnoses, which UnitedHealthcare and Optum submitted on behalf of
18     UnitedHealthcare of California to the Government for risk adjustment payments for
19     payment year 2013. The risk adjustment data, that is, the diagnoses, were related to
20     medical encounters that occurred in date of service year 2012. At the time Thompson
21     signed this Attestation he was the Chief Financial Officer of UnitedHealthcare Medicare
22     & Retirement. The Attestation was based on information available to the MA
23     Organizations. UnitedHealthcare could not add a footnote to the Attestation because it
24     was submitted electronically. However, Steve Nelson, the Chief Executive Officer of
25     UnitedHealthcare Medicare & Retirement, sent CMS an email on April 30, 2014, stating
26     that the Attestation was “based on facts reasonably available or made available to us as
27     of the date of” the Attestation. (Emphasis added). In April 2014, facts reasonably
28     available to all the Defendant MA Organizations, UnitedHealthcare, and Optum included
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 1     the negative results of the Chart Review and Claims Verification Programs relating to
 2     medical encounters in 2012. Other information and facts that were available included,
 3     for instance, millions of dollars of invalid diagnoses about which United had actual
 4     knowledge but never deleted. See supra paragraph 232.
 5     326. In April 2014, when Thompson signed the Attestation, he deliberately ignored or
 6     recklessly disregarded the negative results of the Chart Review Program. Thompson
 7     also ignored that Defendants had failed to comply with the requirements that diagnoses
 8     must be supported by patients’ medical records and that those diagnoses that are not
 9     supported by patients’ medical records must be deleted from RAPS or otherwise
10     reported to CMS and corrected to repay or avoid any overpayment. At the time that
11     Thompson submitted the Attestation on April 30, 2014, he knew about the actual or
12     estimated adverse financial impact of DELTES from the Chart Review and Claims
13     Verification Programs for payment year 2013 (date of service year 2012) and he knew
14     about CV liability accruals. See supra paragraphs 217-221. Furthermore, on April 30,
15     2014, the date the Attestations were submitted for the 2013 payment year, the
16     information available to the Defendant MA Organizations, UnitedHealthcare Medicare
17     & Retirement (including Thompson), and Optum included the results of the chart
18     reviews for the date of service year 2012, which showed that at least 250,000 diagnoses
19     were invalid. See supra paragraph 235. Yet, Thompson certified that this invalid data
20     was accurate and truthful even though the invalid diagnoses had not been deleted (and
21     never have been).
22     327. On June 26, 2015 and June 7, 2016, Thompson executed and submitted or caused
23     to be submitted Risk Adjustment Attestations on behalf of all of the Defendant MA
24     Organizations managed by UnitedHealthcare Medicare & Retirement on those dates.
25     (On the same dates, UnitedHealthcare Community & State also submitted Risk
26     Adjustment Attestations for the Defendant MA Organizations that it managed.) These
27     Attestations related to risk adjustment data, that is, diagnoses, which UnitedHealthcare
28     and Optum submitted on behalf of these MA Organizations to the Government for risk
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 1     adjustment payments for payment years 2014 and 2015. The risk adjustment data, that
 2     is, the diagnoses, were related to medical encounters that occurred in date of service
 3     years 2013 and 2014. At the time Thompson signed these Attestations he was the Chief
 4     Financial Officer of UnitedHealthcare Medicare & Retirement. The Attestations were
 5     the same as those for prior years (except that they did not have footnotes.) The
 6     Attestations were based on information available to the MA Organizations, including
 7     information about diagnoses unsupported and, thus, invalidated by the chart reviews for
 8     the dates of service years at issue. On June 26, 2015, the date the Attestations were
 9     submitted for the 2014 payment year, the information available to the Defendant MA
10     Organizations, UnitedHealthcare Medicare & Retirement (including Thompson), and
11     Optum were the results of the chart reviews for date of service year 2013, which showed
12     that at least 199, 039 diagnoses were invalid. See supra paragraph 235. Yet, Thompson
13     certified that this invalid data was accurate and truthful even though the invalid codes
14     had not been deleted (and never have been).
15           V.     Diagnoses Solely Determine Risk Adjustment Payments Based
16                  On Health Status
17     328. The diagnostic data submitted by an MA Organizations are not merely ancillary to
18     its claims for risk adjustment payments. Rather, the diagnoses are the sole determinant
19     in the calculation of any risk adjustment payment based on a beneficiary’s health status.
20     The submissions of diagnoses are themselves claims for risk adjustment payments and
21     are inexorably material to any payment based on the beneficiary’s health status. The
22     diagnoses are the raison d’etre of RAPS submissions, i.e., risk adjustment claims.
23     329. As emphasized throughout this Amended Complaint, the Government has never
24     agreed to make risk adjustment payments based on invalid diagnoses, and MA
25     Organizations are required by their contracts with CMS, federal regulations, and CMS
26     instructions (e.g., the Managed Care Manual and Participant Guide) to delete invalid
27     diagnoses. Moreover, no statute or regulation entitles an MA Organization to risk
28     adjustment payments based on invalid diagnoses, including payments based on
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 1     diagnoses that are unsubstantiated by the beneficiaries’ medical records. See Swoben,
 2     848 F.3d at 1179 (rejecting arguments that MA Organizations are allowed to ignore
 3     information about invalid diagnoses based on their own chart reviews and that they are
 4     not obligated to delete such invalid diagnoses submitted by them for risk adjustment
 5     payments).
 6     330. When MA Organizations provide CMS with information identifying specific
 7     invalid diagnoses that were submitted for payment (such as by deleting the invalid
 8     diagnoses in the RAPS system) and, thus, CMS has actual knowledge about the specific
 9     invalid diagnoses that were submitted for payment (such as because they were deleted in
10     the RAPS system), Medicare recovers the associated overpayments. See United States
11     ex rel. Campie v. Gilead Sciences, Inc., 862 F.3d 890, 906 (9th Cir. 2017) (holding that,
12     in assessing materiality, the court must examine what the agency does when it has actual
13     knowledge of the regulatory violation). There is no way that CMS can obtain this actual
14     knowledge about invalid diagnoses by looking at an Attestation. The falsity of the
15     Attestation is not apparent on the face of the document. Someone must inform CMS that
16     the MA Organization has information showing that its diagnoses are invalid and that it
17     failed to delete those invalid diagnoses.
18     331. The UHG Managing Defendants and the Defendant MA Organizations knew that
19     they were required to delete invalid diagnoses that they had submitted for payment and,
20     in fact, they did this by making deletes in the RAPS system. For example, as previously
21     explained, based on their short-lived Claims Verification Program, UnitedHealthcare
22     Medicare & Retirement and Optum deleted diagnoses from the RAPS system. They also
23     deleted some invalid diagnoses from the RAPS system based on their RACCR reviews.
24     332. In addition, in the past, when UnitedHealthcare has informed CMS that it is in
25     possession of information about invalid diagnoses that it had submitted and requested
26     some direction with respect to deleting the invalid diagnoses, CMS has worked with it to
27     recover the overpayments. In 2010 and 2011, CMS did this when Joseph Keen, the
28     Chief Compliance Audit Officer at UnitedHealthcare, informed it about risk adjustment
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 1     data that UnitedHealthcare had submitted that included invalid diagnoses. Importantly,
 2     CMS also asked Keen a series of questions to obtain information about the invalid
 3     diagnoses, an explanation why the deletes were being made after the final submission
 4     deadline for the payment year (because, if made prior to the deadline, CMS would have
 5     been able to offset the overpayment as a part of the final reconciliation payment
 6     process), and for an explanation of the steps that UnitedHealthcare was taking to ensure
 7     that deletes were made in a timely manner. Keen responded that UnitedHealthcare was
 8     “continuing to conduct targeted chart validation reviews to determine if the member-
 9     diagnoses reviewed are supported by a medical record. These reviews continue and we
10     may need to delete certain risk adjustment data in the future. We will promptly notify
11     CMS of any risk adjustment data determined through these reviews to have been
12     incorrectly submitted.”
13     333. If Defendants had complied with their obligation to delete invalid diagnoses from
14     RAPS, Medicare’s Risk Adjustment System (“RAS”) would have processed the
15     corrected data and recalculated the risk score for the beneficiaries for whom an invalid
16     diagnosis had been deleted. The degree of the change in the payment amount for that
17     beneficiary would have depended on the HCC to which the invalid diagnosis was
18     grouped. The risk adjustment reconciliation payment system would have made these
19     adjustments automatically if the DELETES were made in RAPS. The system would
20     have done this as part of the final reconciliation payment process or future
21     reconciliations conducted by CMS for the payment year at issue.
22     334. If an MA Organization does not comply with its express obligation to delete the
23     invalid diagnoses from RAPS prior to the final submission deadline, Medicare pays for
24     the invalid diagnoses as part of its final reconciliation payment to the MA Organization
25     or, if it already paid for the invalid diagnosis, does not recover the overpayment as part
26     of the final reconciliation payment process. If the MA Organization never deletes the
27     invalid diagnoses from RAPS, Medicare does not recover the overpayment when future
28     payment reconciliations are done for the payment year at issue. Accordingly, the
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 1     diagnostic information submitted by an MA Organization is not merely ancillary to its
 2     claim for risk adjustment payments, it is the sole determinant in the calculation of the
 3     amount (if any) of the risk adjustment payments made by Medicare based on the health
 4     status of a beneficiary and, therefore, inexorably material to the amount (if any) paid.
 5     335. A false Risk Adjustment Attestation, by its very nature, is also material as it
 6     relates directly to the data element – diagnoses – that is the sole determinant of risk
 7     adjustment payments based on health status. Submission of invalid diagnoses and
 8     failing to delete them are not minor or insubstantial infractions of the MA Organization’s
 9     obligations to Medicare with which they pledge to comply. Keen, the UnitedHealthcare
10     Chief Compliance Audit Officer, and others at UnitedHealthcare and Optum were aware
11     of these obligations.
12     336. The purpose of the Risk Adjustment Attestation is, first, to remind MA
13     Organizations that they may not ignore or disregard information about invalid diagnoses,
14     such as (but not limited to) the negative results of chart reviews showing that diagnoses
15     previously submitted for payment are unsupported by the charts; and, second, to enforce
16     the fundamental program requirement that MA Organizations delete invalid diagnoses.
17     See 65 Fed. Reg. 40,170, 40,268 (June 29, 2000) (noting that “certifications would help
18     ensure accurate data submissions”). When MA Organizations do not comply with these
19     payment data integrity requirements of the MA Program (which are reiterated and
20     enforced by the Attestations), the result is the submission of and/or failure to delete false
21     diagnostic data and, thus, the submission of false Attestations that the data is accurate
22     and truthful. When MA Organizations do this by deliberately ignoring or recklessly
23     disregarding information about invalid diagnoses and, thus fail to delete invalid
24     diagnoses, as Defendants here have done, they are unable to represent that their data is
25     accurate, complete, and truthful, as the Attestations require. Moreover, in that situation,
26     their Attestations are “knowingly” false, as the term knowingly is defined in the FCA.
27     337. The Risk Adjustment Attestation itself includes language warning about the
28     serious legal implications of making false representations about diagnoses. It states that
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 1     “[t]he MA Organization acknowledges . . . that misrepresentations to CMS about the
 2     accuracy of such [risk adjustment] information may result in Federal civil action and/or
 3     criminal prosecution.” See Exhibits 15-21. Risk adjustment Attestations thus are
 4     intended to serve as a powerful deterrent against an MA Organization’s “knowingly”
 5     submitting false claims for payment. United States ex rel. Swoben v. UnitedHealthcare
 6     Insurance Co. et al., 848 F.3d 1161, 1168 (9th Cir. 2016) (characterizing certifications
 7     “[a]s a further bulwark against fraud”).
 8     338. Defendants’ knowledge of the importance of the Attestations is demonstrated by
 9     the footnotes that UnitedHealthcare and other UHG Managing Defendants added to the
10     Attestations they submitted on behalf of the Defendant MA Organizations, such as the
11     footnotes that stated the Attestations should not be construed as representations that the
12     data may not require subsequent modification should additional information become
13     available. See Exhibits 15-20. According to Dumcum, UnitedHealthcare’s counsel
14     added these footnotes.
15     339. Defendants’ knowledge of the importance of the Attestations is also demonstrated
16     by the meeting they requested with CMS in April 2014. As previously explained, on
17     April 29, 2014, Steve Hemsley, Defendant UHG’s Chief Executive Officer, sent
18     UnitedHealthcare’s attorney Thad Johnson, UnitedHealthcare Medicare & Retirement’s
19     Chief Executive Officer Steve Nelson, UnitedHealthcare’s Chief Financial Officer
20     Daniel Schumacher, and Optum executive Karen Erickson, to meet with CMS
21     employees responsible for the MA Program, including Cheri Rice, the Director of the
22     Medicare Plan Payment Group at CMS. Defendant UHG and its subsidiaries,
23     UnitedHealthcare and Optum, asked for this meeting on very short (just a few days)
24     notice because the Chief Financial Officer of UnitedHealthcare Medicare & Retirement,
25     Brian Thompson, had to execute and submit the Risk Adjustment Attestations for the
26     Defendant MA Organizations on April 30, 2014. Defendants UHG, UnitedHealthcare
27     and Optum wanted to disclose to CMS, before the Attestations were submitted, that they
28     were in possession of information from chart reviews (the nature and mechanics of
                                                   160
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 1     which they did not describe in any detail) about invalid diagnoses (which were not
 2     specifically identified to CMS) that they had submitted to the Government but had not
 3     deleted. They apparently believed that this sort of very vague disclosure would
 4     somehow render the Attestations truthful even if they did not delete the invalid diagnoses
 5     from RAPS.
 6     340. In addition, for many years, Jeffrey Dumcum, the senior executive overseeing all
 7     risk adjustment programs and activities at Ingenix and then Optum, was also aware of
 8     the FCA implications of ignoring information about invalid diagnoses. He told Poehling
 9     that the Department of Justice’s enforcement of the FCA was a consideration in deciding
10     to delete diagnoses when the results of blind chart reviews showed that they were
11     unsupported by the patients’ medical records. In fact, Optum even decided that all of its
12     clients (its commercial clients as well as its internal client, UnitedHealthcare) had to look
13     both ways at the results of blind chart reviews and delete diagnosis codes invalidated by
14     the chart reviews if Optum was responsible for submitting risk adjustment data to CMS
15     on their behalf. This requirement was most likely imposed by Optum (at least for some
16     period of time) because Optum had to execute the internal attestations certifying the
17     accuracy and truthfulness of the diagnoses it submitted to Medicare on behalf of its
18     clients and, perhaps, it was also concerned about violating the FCA by causing its MA
19     Organization clients to submit false Attestations. Accordingly, like UHG and
20     UnitedHealthcare, Optum was aware that the Attestations required it to make deletes
21     based on information available to it about the negative results of chart reviews.
22                                  FIRST CLAIM FOR RELIEF
23                             False Claims Act: Reverse False Claims
24                  31 U.S.C. § 3729(a)(1)(G) (formerly 31 U.S.C. § 3729(a)(7))
25     341. The United States repeats and re-alleges the allegations contained in Paragraphs 1
26     to 340 above as though they are fully set forth herein.
27     342. Defendants violated the second part of 31 U.S.C. § 3729(a)(1)(G) as follows:
28     Defendants knowingly (as “knowingly” is defined by 31 U.S.C. § 3729(b)(1)) concealed
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 1     or knowingly and improperly avoided or decreased an obligation to pay or transmit
 2     money or property to the Government. Specifically, Defendants knowingly concealed or
 3     knowingly and improperly avoided or decreased an obligation to repay risk adjustment
 4     payments to which they were not entitled from the Medicare Program. In particular,
 5     Defendants knowingly and improperly failed to delete in the RAPS system the invalid
 6     diagnoses that had been submitted to the Medicare Program for risk adjustment
 7     payments which were made by the Medicare Program to them or knowingly and
 8     improperly failed to otherwise return to the Medicare Program the overpayments based
 9     on the invalid diagnoses.
10     343. By virtue of the said acts of concealment and/or improper avoidance, the United
11     States incurred damages and therefore is entitled to multiple damages under the False
12     Claims Act, plus a civil penalty for each violation of the Act.
13                                 SECOND CLAIM FOR RELIEF
14                False Claims Act: Presentation of False or Fraudulent Claims
15                  31 U.S.C. § 3729(a)(1)(A) (formerly 31 U.S.C. § 3729(a)(1))
16     344. The United States repeats and re-alleges the allegations contained in Paragraphs 1
17     to 340 above as though they are fully set forth herein.
18     345. Defendants violated 31 U.S.C. § 3729(a)(1)(A) as follows: Defendants knowingly
19     (as “knowingly” is defined by 31 U.S.C. § 3729(b)(1)) presented or caused to be
20     presented a false or fraudulent claim for payment or approval. Specifically, Defendants
21     knowingly presented or caused to be presented to the Medicare Program a false or
22     fraudulent Risk Adjustment Attestation claiming risk adjustment payments from the
23     Medicare Program.
24     346. Defendants violated former 31 U.S.C. § 3729(a)(1) as follows: Defendants
25     knowingly presented, or caused to be presented, to the Government a false or fraudulent
26     claim for payment or approval. Specifically, Defendants knowingly presented or caused
27     to be presented to the Medicare Program a false or fraudulent Risk Adjustment
28     Attestation claiming risk adjustment payments from the Medicare Program.
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 1     347. By virtue of the said false or fraudulent claim, the United States incurred damages
 2     and therefore is entitled to multiple damages under the False Claims Act, plus a civil
 3     penalty for each violation of the Act.
 4                                  THIRD CLAIM FOR RELIEF
 5               False Claims Act: Making or Using False Records or Statements
 6                  31 U.S.C. § 3729(a)(1)(B) (formerly 31 U.S.C. § 3729(a)(2))
 7     348. The United States repeats and re-alleges the allegations contained in Paragraphs 1
 8     to 340 above as though they are fully set forth herein.
 9     349. Defendants violated 31 U.S.C. § 3729(a)(1)(B) as follows: Defendants knowingly
10     (as “knowingly” is defined by 31 U.S.C. § 3729(b)(1)) made, used, or caused to be made
11     or used, a false record or statement material to a false or fraudulent claim. Specifically,
12     Defendants knowingly made, used, or caused to be made or used a false Risk
13     Adjustment Attestation material to a false or fraudulent claim for risk adjustment
14     payments from the Medicare Program.
15     350. Defendants violated former 31 U.S.C. § 3729(a)(2) as follows: Defendants
16     knowingly made, used, or caused to be made or used, a false record or statement to get a
17     false or fraudulent claim paid or approved by the Government. Specifically, Defendants
18     knowingly made, used, or caused to be made or used a false Risk Adjustment Attestation
19     to get a false or fraudulent claim for risk adjustment payments paid or approved by the
20     Medicare Program.
21     351. By virtue of the said false record or statement, the United States incurred damages
22     and therefore is entitled to multiple damages under the False Claims Act, plus a civil
23     penalty for each violation of the Act.
24                                FOURTH CLAIM FOR RELIEF
25                             False Claims Act: Reverse False Claims
26                  31 U.S.C. § 3729(a)(1)(G) (formerly 31 U.S.C. § 3729(a)(7))
27     352. The United States repeats and re-alleges the allegations contained in Paragraphs 1
28     to 340 above as though they are fully set forth herein.
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 1     353. Defendants violated the first part of 31 U.S.C. § 3729(a)(1)(G) as follows:
 2     Defendants knowingly (as “knowingly” is defined by 31 U.S.C. § 3729(b)(1)) made,
 3     used, or caused to be made or used, a false record or statement material to an obligation
 4     to pay or transmit money or property to the Government. Specifically, Defendants
 5     knowingly made, used, or caused to be made or used a false Risk Adjustment Attestation
 6     material to an obligation to repay risk adjustment payments to which they were not
 7     entitled from the Medicare Program.
 8     354. Defendants also violated former 31 U.S.C. § 3729(a)(7) as follows: Defendants
 9     knowingly (as “knowingly” is defined by 31 U.S.C. § 3729(b)(1)) made, used, or caused
10     to be made or used, a false record or statement to conceal, avoid or decrease an
11     obligation to pay or transmit money or property to the Government. Specifically,
12     Defendants knowingly made, used, or caused to be made or used, a false Risk
13     Adjustment Attestation to conceal, avoid or decrease an obligation to repay risk
14     adjustment payments to which they were not entitled from the Medicare Program.
15     355. By virtue of the said false record, statement, and other acts of concealment and
16     improper avoidance, the United States incurred damages and therefore is entitled to
17     multiple damages under the False Claims Act, plus a civil penalty for each violation of
18     the Act.
19                                  FIFTH CLAIM FOR RELIEF
20                                        Unjust Enrichment
21     356. The United States repeats and re-alleges the allegations contained in Paragraphs 1
22     to 340 above as though they are fully set forth herein.
23     357. Defendants have received money from the United States to which Defendants
24     were not entitled, which unjustly enriched Defendants, and for which Defendants must
25     make restitution. Defendants received such money by claiming and retaining Medicare
26     risk adjustment payments based on invalid risk adjustment data. In equity and good
27     conscience, such money belongs to the United States and to the Medicare Program.
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 1     358. The United States is entitled to recover such money from Defendants in an amount
 2     to be determined at trial.
 3                                  SIXTH CLAIM FOR RELIEF
 4                                       Payment by Mistake
 5     359. The United States repeats and re-alleges the allegations contained in Paragraphs 1
 6     to 340 above as though they are fully set forth herein.
 7     360. The United States paid money to Defendants as a result of a mistaken
 8     understanding. Specifically, the United States paid Defendants claims for risk
 9     adjustment payments under the mistaken understanding that such claims were based on
10     valid risk adjustment data. Had the United States known the truth, it would not have
11     paid such claims. Payment was therefore by mistake.
12     361. As a result of such mistaken payments, the United States has sustained damages
13     for which Defendants are liable in the amount to be determined at trial.
14                                             PRAYER
15           WHEREFORE, the United States requests that judgment be entered in its favor
16     and against Defendants as follows:
17     362. On Claims I, II, III, and IV (False Claims Act), against all Defendants jointly and
18     severally, for the amount of the United States’ damages, trebled as required by law,
19     together with the maximum civil penalties allowed by law, costs, post-judgment interest,
20     and such other and further relief as the Court may deem appropriate;
21     363. On Claim V (Unjust Enrichment), against all Defendants jointly and severally, for
22     an amount equal to the monies that Defendants obtained from the United States without
23     right and by which Defendants have been unjustly enriched, plus costs, pre- and post-
24     judgment interest, and such other and further relief as the Court may deem appropriate;
25     and
26     364. On Claim VI (Payment By Mistake), against Defendants for an amount equal to
27     the United States’ damages, plus costs, pre- and post-judgment interest, and such other
28     and further relief as the Court may deem appropriate.
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 1                                DEMAND FOR JURY TRIAL
 2          The United States of America hereby demands a trial by jury.
 3     Dated: November 17, 2017
 4                                         Respectfully submitted,
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